                         EXHIBIT A




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                                                                                                                       'F°8"°.
   STATE OF NORTH CAROLINA
                                                                                                                                In The General Court Of Justice
                    CHEROKEE                             County                                                             ❑ District Ox Superior Court Division
 Name And Address 01PIa1n0// 1
 BRIAN HOGAN et. al,                                                                                                            GENERA L
                                                                                                                CIVIL ACTION COVER SHEET
                                                                                                      Q INITIAL FILING              ❑SUBSEQUENT FILING
 Name And Address ofPlamtuf2                                                                         Rule 5(b), General Rules of Praclfce For Superior and District Courts
 H.H. HOGAN et. al.                                                                           Name And Address OfAftomey Or Party, if Not Represented (complete for(n(tla!
                                                                                              appearance or change o/address)
                                                                                              DAVID A. WI7EWICKRAMA.
                                                                                              95 DEPOT STREET
                      VERSUS
 Name O/pefentlanti                                                                           WAYNESVILLE                                            NC                  28786
 CHEROKEE COUNTY et. al.                                                                      Telephone No.                        Cellular Telephone No.
                                                                                                         $28-452-5801
                                                                                              NC AHomey Bar No.     Attorney E-Mall Address
                                                                                              30694                 davidwijel7(a~yahoo.com
summons sudmrtted ~
                           Yes Q No                                                               Q Initial Appearance in Case                       I ❑Change of Address
Name OfDefendant 2                                                                           Name OfFirm
                                                                                             LAW OFFICE OP DAVID A. WIJEWICKRAMA, PLLC
                                                                                             FAX No.
                                                                                                                         828-454-1990
                                                                                             Counsellor
Summons Submitted                                                                            QX All Plaint(ffs ~ All Defendaltts ~ Only (list party(les) represented)
                       ❑Yes❑ No

❑X Jury Demanded In Pleading                                                                 ❑ Amount in controversy does not exceed $15,000
   Complex LlUgation                                                                         ~ St(pulate to arbitration

                                                                          TYPE OF PLEADING
   (check a!/ that apply)                                                               (check all that apply)
❑ Atnend (AMND)                                                                     ❑Failure To Stale A Claim (FASC)
~. Amended Mswer/Reply (AMND-Response)                                              ❑Implementation Of Wage Withholding In Non-IV-D Cases (OTHR)
❑ Amended Complaint (AMND)                                                          ❑Improper Venue/Division (IMVN)
❑ Assess Costs (COS'n                                                               ❑Including Attorney's Fees CATTY)
❑ AnswedReply (ANSW-Response) (see Nofe)                                            ❑Intervene (INTR)
❑ Change Venue (CHVN)                                                               ❑ Interplead (OTHR)
Q Complaint (COMP)                                                                  ❑Lack Of Jurisdiction (Person) (LJPN)
❑ Confession Of Judgment (CNJF)                                                     ❑Lack Of Jurisdict(on (Subject Matter) (LJSM)
❑ Consent Order (CONS)                                                              ❑Modification Of Chlid Support In IV-D Actions (MSUP)
❑ Consolidate (CNSL)                                                                ❑Notice Of Dismissal With Or Without PreJudfce (VOLD)
❑ Contempt (CNTP)                                                                   ❑Petition To Sue As Indigent (OTHR)
❑ Continue (CNTN)                                                                   ❑Rule 12 Motion In Lieu Of Answer (MDLA)
❑ Compel (CMPL) ~                                                                   ❑Sanctions (SANG)
❑ Counterclaim (CTCL) Assess Courf Costs                                            ❑Set Aside (OTHR)
❑ Crossclaim (list on back) {CRSS) Assess Court Costs                               ❑Show Cause (SHOW]
❑ D(smiss (DISM) Assess Court Costs                                                 ❑Transfer (TRFR)
❑ Exempt/Waive Mediation (EXMD)                                                     ❑Third Party Compiafnt (list Thfrd Party Defendants on back) (TPCL)
❑ Extend Statute Of Llmllations, Rule 9 (ESOL)                                      ❑Vacate/Modify Judgment (VCMDj
❑ Extend Time For Complaint (EXCO)                                                  ❑Withdraw As Counsel (WDCN)
❑ Failure To Joln Necessary Parly (FJNP)                                            ❑Other (specify andIlst each separately)




NOTH: All Clings !n civil actions sha!! include as the first page of the Bling a coversheet summarizing the critical elements of the firing fn a format prescrl6ed by the AdminlstraUve
      Oh7ce of the Courts, and the Clerk of Superior Court shall require a party to refrle a filing which does not include (he required coversheet. Forsubsequent filings In civil
      actions, the fll/ng partymusf eltherinclude a General Civil (AOC-CV-751), Motion (AOC•CV-752), or CourtActlon (AOC-CV-753) coversheet.
 AOC-CV-751, Rev, 1/14                                                                   (Over)
 m 2014 Adm(Nstrative Office of the Courts




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                                                              CLAIMS FOR RELIEF
   ❑ Administrative Appeal (ADMA)                   ~~ Limited Driving Privilege -Out-Of-State            ❑Product Liability (PROD)
      Appointment Of Receiver (APRC)                      Convictions (PLDP)                              ❑Real Property (RLPR)
   ❑ Attachmenf/Garnishment (ATTC)                  ❑Medical Malpractice (MDML)                           ❑Specific Pertormance (SPPR)
   ❑ Claim And Delivery (CLMD)                      ❑ Minor Sedlement (MSTL)                              ~ Other (specify and list each separately)
   ❑ Collection On Account (ACCT                    ❑Money Owed (MNYO)                                       1983 claims and others
   ❑ Condemnation (CNQM)                            ❑Negligence -Motor Vehicle (MVNG)
   ❑ Contract (CN7R)                                ~ Negligence -Other (NEGO)
   ❑ Discovery Scheduling Order (DSCH)              ❑Motor Vehicle Lien G.S. 44A (MVLN)
   ❑ Injunction (INJU)                              ❑Possession Of Personal Property          P)

  Date                                                                      Slgnatu    Atf         arty
                                      3/14/2018
   FEES IN G.S. 7A-308 APPLY
   Assert Right Of Access (ARAB)
   Substitution Of Trustee (Judicial Foreclosure) (RSOT)
   Supplemental Procedures (SUPR)

   PF20 HAC VICE FEES APPLY
   Motion For Out-OfState Attorney To Appear In NC Courts In A Civil Or Criminal Matter (Out-OF-State Attorney/Pro Hac
   Vice Fee)

  No. ❑Additional Plaintiffs)




                                                                                                                                         Summons
 No.     Qx Additional Defendants)                ❑Third Party Defendants)
                                                                                                                                         Submitted
   2     CH~ROKE~ COUNTYDEPAItT'MENT OF SOCIAI, SERVICES                                                                                 OX Yes Q No

   3 ~ SCOTT LINDSAY                                                                                                                    ~ ~X Yes ❑ Na

   4     CINDY PALMER                                                                                                                       Yes ~ No

                                                                                                                                            Yes ~ No

                                                                                                                                        ❑Yes ❑ No
Plaintl/f(s) Against Whom Counfercfalm Asserted




 AOC-CV-751, Side Two, Rev. 1/14
 OO 2014 Adm(nistrative Office of the Courts




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 STATE OF NORTH CAROLINA                               IN THE GENERAI, COURT OF NSTICE
 COUNTY OF CHEROKEE                                    SUP~R.IOR COURT DIVISION
                                                       FILE NO.: 18-CVS-


 BRIAN HOGAN, both on his own behalf a,nd
 as representative of all unnamed class
 members who are similarly situated;
 BRIAN HOGAN, as parent and next friend of
 H.H., both on her owri behalf and as a                             COMPLAINT
 representative of all unnamed crass members              (Petition for Class Certiffcation)
 who are similarly situated                                    (Ja~ry Tarial Demanded)

                        Plaintiffs,

                  v.

  CHEROKEE COUNTY;
 CHEROKEE COUNTY DEPARTMENT OF
 SOCIAL SERVICES;
 SCOTT LINDSAY, in both his individual
 capacity and his official capacity as attorney
 for Cherokee County Deparanent of Social
 Services; CINDY PALMER, in both her
 individual capacity and her official capacity as
 Director of Cherokee County Department of
 Social Services;
 DSS SUPERVISOR DOE #1, both in lus/her
 individual capacity and his/her official
 capacity as an employee of Cherokee County
 Department of Social Services; and
 DSS SOCIAL WORKER DOE #1, both in
 his/her individual capacity and his/her official
 capacity as an employee of Cherokee County
 Department of Social Services;

                       Defendants,


       NOW COME the Plaintiffs, by and through undersigned counsel, and allege the

following Claims for Relief seeking recovery of damages and for injuries incurred as a proximate

cause of the acts and omissions of Defendant puxsuant to N.C.R. Civ. P. 1, 3, 4, 8, and 9, axising




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from the conduct of the Defendants in their official and individual capacities, as described more

particularly in this complaint:

                                      INTRODUCTION

   1, This action arises from multiple evezits, transactions and occurrences referenced and

      described in this complaint, including unlawful Custody and Visitation Agreements

      (hereinafter "CVA"), unlawful Powers Of Attorney (hereinafter "POA") and other

      similarly substantive documents and agreements that remove a minor child from his/her

      proper custodial parent or court-appointed foster parent, as well as the impact of such

      agreements affecting the parenUchild relationship of other persons and their children.

      Copies of representative CVAs are attached as E~ibit A; a copy of a representative POA

      is attached as Exhibit B.

  2. Plaintiff Brian Hogan (hereinafter "Hogan" or "Plaintiff') brings this action fox damages

      and a xedress of hai7ns suffered by himself, as well as the damages and harms suffered by

      all other members of a class of similarly-situated parents, who have been damaged and

      hartxzed as the result of like conduct by Defendant Cherokee County Department of Social

     Services (hereinafter "CCDSS"), their agents and employees, who are state actors as

     defined by law.

 3. Hogan also bzu~gs this action as parent and next friend of H.H., his biological child who is

     a minor, for damages and redress of hai~rns suffered by H.H., as well as the damages and

     harms suffered by all other members of a class of similarly-situated minor children who

     have had been damaged and harmed as the result of like conduct by Defendant CCDSS,

     their agents and employees, who are state actors as defined by law.




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                                  TIES ANll JURISDICTION

 4. Plaintiff Hogan brings this action for redress of harms suffered himself as well as the

    harms suffered by all other members of a class of similarly situated parents, who have had

    been harmed as the result of like conduct by Defendant Cherokee County Department of

    Social Services (hereinafter "CCDSS"), their agents and employees, who are state actors

    as defined by law.

5. This action arises from a series of discrete events, transactions and occurrences referenced

    and described in this complaint, including the pattern and practice of CCDSS using

    unlawful CVAs and POAs and other similarly substantive agreements to remove minor

    children from their proper custodial parent, as well as the effects such agreements have on

   the parenilchild relationship of other persons and their children.

6. The named Plaintiff is a citizen and resident.of Cherokee County, North Carolina.

7. All other unnamed class members were, at the times of the events giving rise to this

   litigation, either citizens and residenfis of Cherokee County, North Carolina or, by the

   actions of the Defendants as more fully described below, had significant contact with

   Cherokee County, North Carolina.

8. Defendant Cherokee County (hereinafter "Cherokee County") is a political subdivision of

   the State of North Carolina, organized and governed by the laws of the State of Noxth

   Carolina.

9. Defendant CCDSS is an agency organized under the laws of the State of North Carolina

   and operated pursuant to administrative regulations promulgated by the North Carolina

   Department of Health and Human Services; its activities and operations are carried out by

   agents and employees of Cherokee County.



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 10. Defendant Scott Lindsay (hereinafter "Lindsay") is and has been at all ~•elevant times the

    Department of Social Services (hereinafter "DSS") attorney for Cherokee County, an

    agent and employee of Cherokee County and CCDSS.

11. Defendant Lindsay is a government actor as it relates to the allegations set fo~-~h herein.

12. Defendant Lindsay exercised personal and professional deliberation, made decisions and

    exercised personal and professional judgment as set forth herein.

13. Defendant Lindsay has been trained for over 18 years in the rules, regulations, policies

    and procedures of the Department of Social Services as promulgated by the NCDHHS and

    the associated laws of the state of North Carolina. Defendant Lindsay, as an agent of and

    policy maker for CCDSS, is statutorily obligated to act in the best interest of each minor

    child and to ensure each child's health and safety at all times when acting in regard to

   CCDSS or its duties. He is further obligated to follow all the laws of the State of North

   Carolina at all times.

14. Defendant Lindsay has been continuously employed as both the attorney for Cherokee

   County and CCDSS simultaneously for many years.

15. Defendant Cindy Palmer (hereinafCer "Palmer") is the director of CCDSS and has been an

   agent or employee of Cherokee County at all relevant times. Defendant Palrr~er is a health

   and commuiuty worker.

16. Defendant Palmer has been Director of CCDSS for approximately two years and

   previously was the interim directox.       Her predecessors as Directors wexe agents or

   employees of Cherokee County at all relevant times, and were health and community

   workers for CCDSS.




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 17. Defendant Palmer holds a public office created by state statute whereby she exercises a

    position of power and discretion, as allowed by law as set forth in N,C. Gen. Stat. § 7B-

    100 et. seq.

 18. Defendant Palmer was trained in the rules, regulations, policies and procedures of the

    Department of Social Sez•vices as promulgated by the NCDHHS and the associated laws of

    the state of North Carolina after assuming her responsibilities and duties.

19. Defendant Palmer exercised personal and professional deliberation, made decisions and

    exercised personal and professional judgment as set forth herein.

20. Defendant Palmer, as director• of CCDSS, has both the authority and responsibility to set

    and oversee all policies and practices of CCDSS, including those complained of in this

    action.

21. As Director of CCDSS, Defendant Palmer had a duty of her office to, at all times, act in

    the best interest of each minor child upon whom CCDSS takes action.

22. Defendant Palmer is an official policy maker for Cherokee County.

23. Defendant Palmer is a public officer as defined by law.

24. Defendant CCDSS Supervisor Doe #1, and all other unnamed CCDSS supervisors, are

   and have been at all relevant times agents and employees of Cherokee County, whose

   positions of employment include the authority and xesponsibility to carry out the policies

   of Defendants Cherokee County, CCDSS, and Palmer. They also have the responsibility

   and authority to oversee the activities of CCDSS social workers. CCDSS Supervisor Doe

   #1 is and all other CCDSS Supervisors ate health and community workers.

25. Defendant Social Worker Doe #l, and all other unnamed CCDSS social workexs, are and

   have been at all relevant times agents and employees of Cherokee County, whose



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     positions of employment include the duty of carrying out the policies and practices of

    Defendants Cherokee County, CCDSS, Palmer, and Lindsay. Social Worker Doe #1 is

    and all other CCDSS Social Workers are health and conununity workers.

 26. The defendant social workers and supervisors were state actors as it relates to the

    allegations as set forth herein.

27. The defendant social workers and supervisors exercised personal and professional

    deliberation, made decisions and exercised personal and professional judgment as set forth

    herein.

28. The identities of all Defendants who are or have been social workers, supervisors,

    directors, health and community workers, and others who tools part in, were involved in,

    or had knowledge of the process of removing minor children from proper custodial parents

    without lawful authority and in derogation of the rights and privileges of those parents and

    minor children, have yet to be identified, and will be identified through discovery dtuing

    both the class certification process and the merits of this action. Plaintiffs reserve their

    right to amend this Complaint to add those persons as Defendants to this case as they

    become known.

29. Each and every agent and employee of CCDSS, including each and every past and present

   social worker, supervisor, attorney, and director, is obligated to act, at all tunes, in the best

   interest of each minor child upon whom CCDSS takes any action.

30. Defendants' Lindsay and Palmer are citizens and residents of Cherokee County, North

   Carolina.

31. The unlawful acts and/or omissions which are the subject of this action tools place in

   Cherokee County, North Carolina.




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 32. Venue is proper in the Cherokee County, North Carolina pursuant to N.C. Gen. Stat. §§ 1-

    77 and 1-82.

33. The amount in controversy exceeds $25,000.00, and therefore the Superior Court is the

    proper division of the General Court of Justice for trial pursuant to N,C. Gen. Stat. § 7A-

    243.

34. Defendants are not entitled to absolute, prosecutorial, or governmental immunity because,

    inter alia, the actions complained of herein were not undertaken during the process of

    prosecuting any claim of abuse, neglect, or dependency in a proceeding before the District

    Court of Cherokee County.

35. Alternatively, all of the Defendants and those yet to be known have waived any

    governmental immunity that may arguably apply, pursuant to N.C. Gen. Sta.t. § 153A-435

    by the ptuchase of insurance and/or participation in the North Carolina Association of

    County Commissioners Risk Management Pool, which provides coverage for the acts and

   onussions alleged against the Defendants herein.

36. Each Claim for Relief against each Defendant zs brought against that Defendant in both

   his/her individual and official capacities.

37. Each Defendant, both those known and yet to be identified through discovery in this

   action, committed the acts complained of herein while acting in boih their individual and

   official capacities.




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        I+ACTS RELEVANT TO PLAINTIFr HOGAN'S CLAIMS FOR RELIEF

38. Plaintiffs adopt and incorporate by reference all allegatiozis of this Complaint as if fully

    set out herein.

39, Plaintiff Hogan is the biological father of a minor child, H.H., born January 16, 2006.

    They both reside in Cherokee County, North Carolina.

40. On or about September 14, 2015, CCDSS received a repot~t of suspected neglect involving

    Hogan, H.H., and H.H.'s another, Amanda Edmondson. Amanda Edmondson is a citizen

    and resident of Cherokee County, North Carolina.

41, CCDSS conducted an investigation into the report and ultimately filed a juvenile petition

   alleging abuse, neglect, andlor dependency of H.H. in 2015. This juvenile petition is

   contained within Cherokee County File Number 15-JA-73.

42. The District Court of Cherokee County ultimately rendered an order of adjudication and

   disposition on January 14, 2016, and said ordex was signed and entered on April 1, 2016,

43. The April 1, 2016 Order was entered by the Honorable Tessa Sellers, Dishict Court Judge

   presiding, and placed custody of the minor child with Plaintiff Hogan. The decision to

   return H.H. to the custody of Hogan was entered after hearing with the consent of CCDSS

   and H.H.'s guardian ad litexn, The April 1, 2016 order (hereinafter the "Judge Sellers

   Order") is attached as Exhibit C.

       a. During the course of the litigation axising from the Juvenile Petition filed in

           Cherokee County 1S-JA-73 ("In re H.H."), Hogan was represented by court-

           appointed counsel Melissa Jackson.

       b. CCDSS, Defendant Lindsay, and other Defendant social workers and health and

           community workers participated in and were patties to In re H.I~




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 44. Defendant Palmer was the director of CCDSS during the investigation and litigation of the

    juvenile action involving Hogan and H.H. She exeY•cised full supez•visory authority and

    had final authority over all decisions, policies, and actions of CCDSS and its employees

    during the investigation leading to the filing of In re 1=1.H. and the subsequent juvenile

    court proceedings.

45. Further, Defendant Palmer was the director of CCDSS and exercised full supervisory

    authority and had final authority over all decisions, policies, and actions of CCDSS and its

    employees at all times relevant to the allegations contained within this Complaint.

46. Defendant Lindsay represented CCDSS during the proceedings of In t~e H.H., and, upon

    information a belief, provided advice and guidance to CCDSS during the investigation

    leading to the filing of In re H.H..

47. further, Defendant Lindsay has represented CCDSS and provided advice and guidance to

   CCDSS regarding alI its investigations and practices dut~ing all times relevant to the

   allegations contained within this Complaint.

48. On or about November 21, 2016, CCDSS again contacted Hogan regarding concerns

   involving Hogan and H.H. An agent of CCDSS requested that Hogan come to CCDSS's

   office.

49. Hogan attended a meeting at CCDSS's office. Present at this meeting were Hogan and

   Laurel Smith, a social worker for CCDSS.

50. During this meeting, CCDSS by and thz~ough its social worker Laurel Smith, requested

   that Plaintiff agree to and sign a CVA, which purportedly removed custody of H.H. from

   Plaintiff and placed physical and legal custody of the minor child with the minor child's

   paternal grandfather, Wa~7•en Hogan.



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 51. Warren Hogan (hereinafter "Grandfather") is the paternal grandfather of the minor child.

     Grandfather' is a citizen and resident of Cherokee County, North Carolina.

 52. Plaintiff Hogan has learning disabilities and is unable to adequately read and write.

 53. CCDSS was aware of Hogan's disabilities at all relevant times.

 54. CCDSS agents made a number• of statements to Hogan at the tine Hogan was presented

    with the CVA, which included:

         a. That this CVA was entered in lieu of court involvement;

         b. That Hogan would be subjected to adverse legal proceedings and other

              consequences if he did not sign the CVA;

         c. Other false threatening, and coercive statements, including, upon information and

              belief, that if Hogan did not acquiesce to the CVA:

                  i. Your child will be adopted out and you will never see her again.

                 ii. Your child will be placed in foster care and you won't see her.

                iii. Your child will be placed in a location where you will have little or no

                     contact with her.

55. Plaintiff Hogan was not represented by counsel at the time of the November 21, 2016

   meeting.     His appointed counsel from In re H.H. had been released from further

   representation following entry of the Judge Sellez•s Order.

56, Plaintiff Hogan was neither advised nor given an opportunity to contact independent legal

   counsel when confronted with and unlawfully pzessured to sign the unlawful CVA.

57. CCDSS never contacted Hogan's prior attorney regarding the meeting or the CVA.

58. Under the provisions of N.C. Gen. Stat. § 7B-100 et seq., Plaintiff Hogan was entitled to

   counsel prior to any adversarial event that would result in him losing custody.



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 59. On November 21, 2016, Plaintiff Hogan, because of tl~e fraud, coercion, and

     misrepresentations made to him by CCDSS and its agents and employees described

     herein., agreed to and signed the CVA putporting to remove H.H. from Hogan's custody

    and placing her• in the custody of Grandfather. A true and accurate copy of the CVA is

    attached as E~ibit D.

 60. Laurel Sinith, who was a social worker for CCDSS at the tizr~.e, effected this CVA at the

    direction of and with the approval of Defendants Lindsay and Palmer,

61. As a result of the Hogan CVA, H.H. was removed from Plaintiff's care, custody, and

    control and placed with the paternal grandfather in direct violation of the Judge Seller's

    Order.

62. As a result of the CVA and the unlawful conduct of CCDSS, its agents and employees,

    Hogan was not allowed to see, visit, care for, or otherwise interact with H.H. If Hogan

    and H.H. had any contact at all, it was de mznimis, permitted no meaningful contact, and

    did not permit Hogan to exercise his rights as a parent to be a paxent to his child.

63. On December 4, 2017, Plaintiff Hogan attempted to lawfully obtain his daughter H.H. by

    contacting the Cherokee County Sheriff's Office.

64. Notably, Cody Williams, a deputy of the Cherokee County Sheriff's Office, reviewed the

    Judge Sellers' Order and concluded that it was not a valid Court Order. On information

    and belief, Defendant Lindsay was either directly or indirectly involved in Deputy

    Williams reaching this decision.

65. On December 6, 2017, Plaintiff attennpted to pick up the minor child from school, He had

   in his possession a certified true copy of the Judge Sellers Order.

66. School officials would not release the minor child to Plaintiff.



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        a. School officials contacted the Azldrews Police Department and the paternal

            grandfather.

        b. Paternal grandfather appeared with a copy of the unlawful CVA.

        c. Officers prevented Plaintiff fiotn retrieving the minor child upon the tlu~eat or

            arrest.

        d. Upon information and belief, Defendant Lindsay was either directly or indirectly

            involved in enforcing the unlawful CVA, and denying I-~ogan access to and

            custody of H.H.

67. On December 7, 2017, attorney Melissa Jackson filed on Plaintiff's behalf a motion in

   Cherokee County 15-JA-73 to enforce the Judge Sellers Order.

68. On December 13, 2017, the Honorable Monica H. Leslie heard attorney Melissa Jackson's

   motion to enforce the Judge Sellers Order.

69. When asked by the Court what legal authority DSS had for the execution of the CVA,

   Defendant Lindsay admitted that there was, "none."

70. Defendant Lindsay further'informed the Court, at that time, that he was aware of 20 of

   such agreements drafted by himself or at his direction.

       a. At all relevant times, Defendant Lindsay was operating within the scope and

           authority of his position as the attorney fox CCDSS.

       b. At all relevant tunes, CCDSS, by and through its employees was aware of

           Defendant Lindsay's conduct. As a direct anal proximate result of their deliberate

           indifference, CCDSS effected the loss and deprivations referenced in this

           complaint and the policy, pattern, and did nothing to object or intervene.




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         c. On at least one occasion, a CCDSS social worker, Katie B~•own, inquired about

             whether the CVAs or substantively similar agreements were legal, and Defendant

             Lindsay assured her that such agreements were legal and enforceable.

         d, Defendant Lindsay's conduct was grossly negligent, intentional, willful, and

             without legal authority and done with reckless disregard of the plaintiffs or their

             constitutionally protected rights.

71, Judge Leslie entered an Ordez• on December 13, 2017 holding that the CVA was not a

    valid legal document, not enforceable or binding, is null and void, and the previous order

    entered by Judge Sellers was valid and full legal custody and control of H.H. was to be

    returned to Plaintiff Hogan.

72. After entering her order in regard to Hogan's CVA on December 13, 2017, Judge Leslie

    reported CCDSS and Defendant Lindsay to the N.C. Department of Health and Human

   Services (hereinafter "DHHS").

73. Following Judge Leslie's report to DHHS regarding CCDSS and Defendant Lindsay's

   actions, the DHHS became aware of the practice of entering into CVAs, POAs and other

   such agreements as used in Plaintiff's case.

74. DHHS advised in a December 20, 2017, letter to all county directors of social services that

    `facilitating such private custody agreements without the oversight of the Court falls

   outside of both law and policy. " A true and accurate copy of this letter is attached as

   E~chibit E.

75. As a proximate xesult of Defendants' conduct, Hogan suffered sadness; pain and

   emotional distress as:




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        a. Hogan was denied the opportunity to provide care, love, and affection to minor

            child.

        b. H.H. lost the services, care, protection, and. assistance of Hogan.

        c. Hogan and H.H. lost society, companionship, comfort, guidance, kindly offices,

            and advice of each other.

76. Plaintiff Hogan's damages are more than $25,000.00.

  FACTS SPECIFIC TO UNNAMED CLASS MEMBERS' CLAIMS FOR RELIEIt'

77. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein,

78. A CVA was used not only in Hogan's case, but also in numerous other• cases by CCDSS

   with modifications being made as necessary to account for the individual circumstances of

   each child and the placement that CCDSS had chosen.

79. Upon information and belief:

        a. The Hogan CVA was one of several that Ms. Smith and other agents and

           employees of CCDSS effected for CCDSS at Defendant Lindsay's direction and

           approval while employed by and acting on behalf of CCDSS as director,

           supervisor, social worker or similarly situated person.

       b, At vazious times, these documents were xeferred to as "Custody and Visitation

           Agreements,"     "CVAs,"     "Custody     Agreements,"     "Voluntary   Placement

           Agreements," "VPAs," Powers of Attorney "POAs", or such similar terms.

       c. Courtney Myers, who previously worked for the CCDSS for approximately three

           years, estimates that sloe or co-workers completed between 30 and 50 CVAs.




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     d. CVAs and POAs and other similar documents were regularly used as an option

        when Defendant Lindsay did not feel the case was "serious enough" for Court

        involvement.

     e. Defendant Lindsay would send and receive the draft CVA to and from CCDSS

        social wozkers to input the particular factual information.

            i. For example, social workers Katie Brown, Laurel Smith, Joyce Bernier,

               and Courtliey Myers, would receive the draft CVA from Defendant

               Lindsay and input the information applicable to a particular case (for

               example, the names of Plaintiff, grandfather, minor child, and minor

               child's date of birth), and send the draft CVA via email back to Defendant

               Lindsay for his approval.

           ii. All of the above-referenced social workers effected similar agreements

               only with the approval of Defendant Lindsay and/or their social worker

               supervisor and/or the Director of CCDSS.

          iii. All knowledge of Defendant Lindsay, as well as the social workers and

               supervisors, are imputed to the Director of CCDSS at relevant times.

    f. These CVAs were sent to and fronn Defendant Lindsay's Cherokee County-

       provided and private email addresses since 1999.

    g. Ms. Brown, as well as several other social workers, did question the legality and

       validity of the CVAs to both the Defendant Lindsay and CCDSS Directors over

       the years.

    h. Defendant Lindsay and/or social woz~ker supervisors andlor CCDSS Directors

       advised them that the use of CVAs was legal and permissible,



                                        fi4.7


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     i.    CCDSS entered into CVAs and/or POAs frequently.

     j.    Upon information and belief, CCDSS created, and induced parents to enter into

           dozens, if not more (possibly several hundred) CVA's, all of which were created,

           effected, and enforced by CCDSS, and its agents a~~d employees including

           Defendant Lindsay.

     lc. No CVAs were done without the approval, guidance and participation of

          Defendant Lindsay and/or the Direcfio:r of CCDSS.

    1.    Some of these agreements have been placed in closed court files in the Cherokee

          County Courthouse, by Defendant Lindsay or agents/employees of CCDSS. This

          placement was done at the direction of either a director, defendant Lindsay,

          CCDSS supervisor, or other employee with supervisory authority.

    m. Defendant Palmer, the CCDSS Director, and persons who held the public office

          of Director of CCDSS prior to her axe and were aware of the CVAs, POAs and

          similar documents and approved of them, both expressly and tacitly.

    n. Use of the CVAs, POAs, az~d substantively similar agreements to remove minor

          children from their parents without court involvement was an official policy of

          CCDSS.    Use of the CVAs, POAs, and substantively similar agreements to

          remove minor children from their parents without court involvement was an

          accepted custom and practice of CCDSS, known to its policy makers and

          accepted and encouraged by the policy makers.

    o. On multiple occasions, the decision to proceed with a. CVA was made in

          consultation and agreement between Defendant Palmer and CCDSS employees.




                                         16


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         p. On multiple occasions, the decision to proceed with a CVA was made in

             consultation between Defendant Lindsay and CCDSS employees during case

             review, case staffing, or other times.

         q. These agreements were used to achieve CCDSS's goal of removing minor

             children from lawful custody when they lacked sufficient evidence or• legal basis

            to file a petition or seek non-secure custody of a minor child pursuant to N.C.

             Gen. Stat. § 7B-100 et. seq.,

         r. CVAs were used to interfere with parental relationships in cases in which CCDSS

            and Defendant Lindsay knew such interference was not legally justified.

            Moreover, CVAs and POAs and other similar documents were used to avoid

            judicial oversight into the activities of CCDSS. F'Lu~ther, CVAs and POAS and

            other similar documents were utilized to avoid scrutiny by the Court and parents'

            counsel.

        s. CVAs were used to avoid, and in fact did result in, CCDSS not providing any

            follow-up care (including inter alza medical care) that CCDSS is zequired,

            pursuant to N.C. Gen. Stat. § 7B-100 et seq., to provide children who are placed

            in an out-of-home placement.

80. In a separate action seeking a Declaratory Judgment, Judge Sellers, in open Court, entered

   an Order on February 28, 2018, finding inter alia, that all CVAs and like documents

   including POA's are void ab initio. A true and accurate copy of this Order is attached as

   Exhibit F.




                                             Fri

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81. After entering hex order in regard to Hogan's CVA ors December 13, 2017, Judge Leslie

    reported CCDSS and Defendant Lindsay to the N.C. Department of Health and Human

    Services (hereinafter "DIMS").

82. Following Judge Leslie's report to DHHS regarding CCDSS and Defendant Lindsay's

    actions, the DHHS became aware of the practice of entering into CVAs, POAs and othex

   such agreements as used in Plaintiff's case.

83, DHHS advised in a December 20, 2017, letter to all county directors of social services that

   "facilitating such private custody agreements without the oversight of the Court falls

   outside of both law and policy." A true and accurate copy of this letter is attached as

   E~ibit E.

                         CLASS OT UNNAMED PLAINTIFFS

84. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

85. CCDSS has utilized CVAs, POAs or substantively similar agreements to unlawfully

   coerce parents into surrender of custody of their children without proper process or Court.

   oversight for upwards of two decades.

        a. Upon information and belief, prior directors, prior supervisors, prior social

           workers, as well as others still working with CCDSS (including health caz•e and

           community workers) have caused parents to sign CVAs, POAs, or substantively

           similar agreements without cou:t-t involvement or oversight, thereby interfering

           with the parental relationship between that of parent and child, violating the

           constitutional and statutory rights of the parents and minor children.




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          h. Tl~e Defendants lacked a compelling governmental interest as it relates to the use

             of CVAs, POAs and similar documents in obtaining signatures from all class

             plaintiffs.

         c. Neither Defendant Lindsay, nor Defendant Palmer, nor any CCDSS supervisor,

             nor CCDSS social worker, health or community worker (or their predecessors at

             times relevant) reviewed the placement as required by N.C. Gen. Stat. § 7B-100

             et. seq., or check on the health safety or welfare of any minor child removed

             pursuant to CVAs or substantively similar agreements or otherwise afford the

             requisite rights of the Plaintiffs.

         d. Other plaintiffs' attorneys (representing respondent parents in abuse, neglect,

             dependency proceedings) similarly situated as Hogan's court appointed attorney,

             were never told about CVAs involving their clients or their client's minor

             children.

86. Defendants' actions caused Plaintiffs and Unnamed Class Members to be deprived of

    fundamental rights, pat~ticularly, a parental relationship with their biological children, in

    violation of substantive and procedure due process of the law and in violation of all

    Plaintiffs' equal protection rights.

87. The Defendants, collectively and individually, represented and carried out CCDSS policy

   and procedures and represented to all Plaintiffs they were acting in accordance with N.C.

   Gen. Stat. § 7B-100 et. seq,, when in fact they were anting contrazy io law.

88. The Defendants' conduct was the result of the policy decisiozls of policy makez~s acting on

   behalf of Cherokee County.




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 89. Defendant Palmer and all other CCDSS Directoa•s have the authority to set official policy,

    training, and directives including the use of the CVAs, POAs, and other substantively

    similar "agreements," and, iii fact, did so.

90. Defendant Palmer and all other CCDSS Directors have the authority and responsibility to

    oversee the activities and behaviors of CCDSS employees and their agents, including the

    use of the CVAs, POAs and other• substantively similar "agreements."

91. The use of the CVAs, POAs and other substantively similar "agreements" was an official

    custom, practice, and policy of CCDSS and Cherokee County.

92. The use of the CVAs, POAs and other substantively similar "agreements" were also the

   result of accepted customs, practices, and conduct by Cherokee County.

93. At no time aftex the removal of the Plaintiffs' children did Defendant Lindsay, Defendant

   Palmer, any CCDSS supez•visor, CCDSS social worker or agent xeview the placement, as

   required by N.C. Gen. Stat. Chapter 7B, or check on the health, safety, or welfare of the

   minor children, nor did they provide the health-care services required by law.       In fact,

   CCDSS provided no follow-up services required by law for children placed out of the

   home.

94. The Defendants' conduct has harmed a class of persons, who are persons who were the

   parents of children, who were unlawfully coerced into signing a CVA, POA or

   substantively similar agreement ("Class Parents").

                i. Plaintiff Brian Hogan is inetnber of this class.

               ii. Upon information and belief, at the time of this filing, there are in excess

                   of 50 members of this class, one of whom is the named Plaintiff, Brian




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                   Hogan. The remaining members of this class are currently unknown but

                   will be ascertained through discovery.

               iii. Plaintiff Bxian Hogan has a personal interest in the issues of law and fact

                   in this case, including but not limited to:

                       1. Being unlawfully coerced into surrendering custody of his minor

                          child by CCDSS in violation of his constitutional rights.

                       2. Other factual allegations, as set forth supra, and claims for relief,

                          as set forth infra, all of which are incorporated by reference as

                          though fully set forth herein.

              iv. These issues of fact and law in which Plaintiff Brian Hogan has a personal

                   interest are common with the class.

               v. These common issues of fact and law predominate over issues affecting

                  only individual class mez~nbers.

              vi. With the total number of class members exceeding 50, the class is so

                  numerous that it would be impracticable to bring all class members before

                  the court.

             vii, Plaintiff Hogan will adequately represent the members of the class.

95. The Defendants' conduct has harmed a second class of persons, who are minor children

   who were unlawfully taken away from. their parents by use of unlawful and coercive

   CVAs or substantively similar agreements ("Class Minors").

               i. H.H. is member of this class.




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           ii. Upon information and belief there are in excess of 50 members of this

              class, one of whom is H.H. The remaining members of this class are

              ciurently unknown but will be ascertained through discovery.

          iii. H.H. has a personal interest in the issues of law and fact in this case,

              including but not limited to:

                  1. Being unlawfully taken from the lawful custody of her father by

                      CCDSS in violation of his constitutional rights.

                  2. Other factual allegations, as set forth supra, and claims for relief,

                     as set forth infra, all of which are incorporated by reference as

                     though fully set fot~th herein.

         iv. These issues of fact and law in which H.H. has a personal interest are

              common with the class.

          v. These common issues of fact and law predominate over issues affecting

              only individual class members.

         vi. With the total number of class members exceeding 50, the class is so

              numerous that it would be impracticable to bring all class members before

             the count.

        vii. H.H. will adequately represent the members of the class.

        viii. H.H, and the other Class Minors will be represented, upon Court approval,

             by a qualified Guardian Ad Litem as well as class counsel.




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 96. The Class Parents and Class Minors have been damaged by:

        a. Class .Parents have not been allowed to parent, see, visit, care for, or otherwise

             interact with their children, unlawfully taken from them by use of the CVAs,

             POAs or other substantively similar agreements.

        b. Class Parents and Class Minoz•s have endured suffering sadness, pain and

            emotional distress resulting from the use of the CVAs, POAs or other

            substantively similar agreements.

        c. Class Parents have been denied the opportunity to provide care, love, and

            affection to Class Minors .

        d. Class Minors have lost the services, care, protection, and assistance of Class

            Parents.

        e. Class Paxents and Class Minors have both been deprived of and have endured lost

            soczety, companionship, comfort, guidance, kindly offices, and advice of each

            other.

        f   Class Minors have been deprived of medical and other types of care and

            assistance that CCDSS would have been required to provide under N.C. Gen. Stat.

            § 78-100 et seq. had the Class Minors been removed from their homes pursuant

            to law.

97. The parental/familial relationships between Class Parents and Class Minors have been

   interrupted, damaged, harmed and or destroyed due to the conduct of the Defendant(s).




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                                 CLAIMS FUR RELIEF

                COUNT I: NEGLIGENCE (against Defendant_Lindsa

98. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

99. Defendant Lindsay has served as CCDSS attorney for a period in excess of 18 years. At

    all times relevant, Defendant Lindsay was trained in the law as an attorney, licensed to

    practice law, in North Carolina as authorized by the North Carolina State Bar and

    specifically as it relates to being a lawyer for a Narth Carolina Department of Social

    Services.

100. At all relevant times, Lindsay has improperly and without legal authority p~•epat•ed

   CVAs, POAs and sinnilar documents and obtained signattues fiom parents, either directly

   or indirectly, and made misrepresentations to accomplish the purpose of encouraging

   parents to sign the CVAs, POAs and similar documents for the purpose of removing

   children from the lawful parent/plaintiffscare, custody, and conh•ol.

101. Defendant Lindsay stated to the Court that he had personal knowledge of at least 20

   CVAs.

102. Upon information and belief, Defendant Lindsay xeceived, reviewed, and approved from

   other CCDSS workers dozens, if not hundreds, of CVAs, POAs or other similar

   documents during lus tenure as staff attorney for CCDSS.

103. Upon information and belief, Defendant Lindsay improperly used his position to

   influence CCDSS to NOT file petitions in regard to abused, neglected, and dependent

   children of Cherokee County based on personal relationships he had with surrounding

   family members of either the parents or children.



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 104. Defez~.dant Lindsay's conduct as set forth above was in violation of the Plaintiffs'

    constitutional rights.

 105. Defendant Lindsay failed to render services and exercise the degree of care and or skill

    commonly applied and used by other DSS attorneys similarly trained with similar

    experience that a pzudent reputable attorney representing a Department of Social Services

    would have used when dealing with the plaintiffs and similar circumstances as set forth

    herein.

106. Defendant Lindsay failed to exercise appropriate professional judgment and engaged in

    misconduct which is otherwise uiu•easonable under the circumstances as set forth herein.

107. As a proximate result of Lindsay's negligence, Plaintiffs have suffexed damages as set

    forth and sought herein.

    COUNT II: NEGLIGENCE Lagainst Palmer, Supervisors and Social Workers

108. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

109. At all times relevant to the t~•ansactions and occurrence's or series of transactions or

   occurrences giving rise to the complaint, the Defendant Social Workers received the

   t7~aining required by the state to be social workers at the Cherokee Departinei~t of Social

   Services.

110. Upon information and belief, the use of CVAs and POAs and other similar documents by

   CCDSS was approved of by either official policy, unofficial custom, or constituted an

   official endorsed or accepted practice of CCDSS.

111. Chapter 7B of the General Statutes clearly states that it "shall be interpreted and

   construed so as to . . .provide procedures for the hearing of juvenile cases that assure



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    fairness and equity and that "protect the constztutional ~•igl~ts of juveniles and parents . . .

    " N.C. Gen. Stat. § 7B-100(1) (emphasis added).

112. Upon information and belief, when Defendant Lindsay or the Director (at the relevant

    time) were questioned by social workers, they represented that the use of CVAs, POAs

    and othez• similar documents were lawful.

113, Upon information and belief, all Defendants received training fiom the North Carolina

   Department of Health and Human Services on the proper procedures for child removal

   pursuant to N.C. Gen. Stat. § 78-100 et. seq.

114. The Defendants acted with deliberate indifference to such training, the law, the rights of

   the plaintiffs, and in other ways yet to be discovered tluough discovery during both the

   class certification process and discovery on the merits.

115. Upon information and belief, there is a wxitten manual promulgated by NCDHHS setting

   forCh written instructions for county depat~ttnents of social services on the proper and

   lawful methods to remove children from their homes pursuant to N.C. Gen. Stat. § 7B-100

   et seq.

llG.On multiple occasiozls, the CCDSS was audited by the NCDHHS as it related to their

   files involving the removal of minor children.

        a. Upon information and belief, the CVA and POA process were not discussed with

             or approved if by NCDHHS or the State of North Carolina.

       b. Upon information and belief, the CVA, POA and other similar documents were

             not shown or disclosed to the state inspectors.




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         c. Upon information and belief, the Defendants hid the CVAs, POAs and other

             similar documents and the process for obtaining CVAs froze the state inspectors

             from NCDHHS.

 117. Defendants negligently used the CVAs, POAs and other similar documents to deprive

    Plaintiffs of their children.

COUNT III: GROSS NEGLIGENCE (against Lindsay, Palmer, Supervisors and Social
                            Workers

118. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

119. Defendants', by their conduct as descz~ibed in this Complaint, acted in reckless diszegard

    of, or wanton indifference to, the rights of the Plaintiffs.

120. Traditionally, gross negligence has been defined as "wanton conduct done with conscious

    or reckless disregard fox the rights and safety of others." Toomey v. Garrett, 155 N.C.

    App. 462, 482; 574 S.E.2d 76, 92 (2002) (quoting Bullies v. Schmidt, 322 N.C. 580, 583,

    369 5.~.2d 601, 603 (1988)).

121. Defendants' gross and utter failure to take care to follow the constitutional and statutory

   mandates regarding the removal of children fiom the home as described tluoughout this

   Complaint aver a period of many years clearly demonstrates deliberate indifference to the

   rights of the Plaintiffs and constitutes willful and wanton conduct.

122. As a result of this gross failure to exercise its duty of caxe, Defendants' use of these

   CVAs and POAs proximately caused the injuries described in this Complaint.

123. As a result of Cherokee County's conduct, Plaintiffs have suffered damages in excess of

   $25,000.00.




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 124. As a diz•ect or proximate result of Defendants' gross negligence, Plaintiffs have suffered

     damages in excess of $25,000.00.

    COUNT IV: NEGLIGENT MISI~PRESENTATION (against Palmer, Lindsay,
                     Suner-visors and Social Worlcersl

 125. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

 126. Defendants made statements to Plaintiffs regarding the legality of the CVAs and the

    impact that signing a CVA would have on them and their children.

127. Defendants made, or caused to be made, material misrepresentations and/or

    misleading statements to P l a i n t i f f s, as described above. These misrepresentations

    were made negligently, and without regard for their truth.

128. Defendants intended their misrepresentations to be relied upon by Plaintiffs, and

    Plaintiffs, in fact, reasonably relied on Defendants' representations in executing the

    CVAs, POAs or other similar documents.

129. Defendants failed to exercise reasonable care and competence in communicating the

    material facts to Plaintiffs.

130. Plaintiffs actually and reasonably relied upon the false information and/or material

    facts not disclosed by Defendants , and P 1 a i n t i f f s ' z•eliance was justifiable as,

    under the same or similar circumstances, a reasonable person or party, in the exercise

   of ozdinary care for its own welfare would have either relied on the negligent

   misrepresentations or would not have discovez•ed them.

131, Plaintiffs' reliance proximately caused them to incur damages.

132. As a result of Defendants '              ziegligent misrepresentations,   P 1 a i z~ t i f f s

   have      has incurred     damages and such damages were proximately caused by


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     Defendants' conduct. These proximate injuries would not have occurred if

     Defendants had not made the omissions oz misleading statements to Plaintiffs.

 133. As a proximate result of Defendants' conduct, Plaintiffs have suffered damages in

    excess of $25,000.00.

  COUNT V: NEGLIGENT IiIRING AND RETENTION (against Cherokee CounLy~

 134. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fitlly

    set out herein.

135. Defendant Cherokee County owed a duty to its residents and citizens to ensure that its

    agents and employees acted pursuant to applicable constitutional and statutory mandates.

136. Defendant Cherokee County, either directly by its Board of Commissioners or its agents

    and employees bearing the authority and responsibility for doing so, had a duty to ensure

    that the director of social services discharged the director's duties pursuant to applicable

    constitutional and statutory mandates.

137. At all times relevant, Director Palmer did not have the requisite qualifications to be the

    Director of Chexokee County Social Services, as set out by the North Carolina Office of

    State Human Resources.

138. At all times relevant, Directox Palmer did not have the training or experience to perform

   the duties required as a Director of Social Services in North Carolina.

139.Defendant Cherokee County, either directly by its Board of Cornrnissioners or its agents

   and employees bearing the authority and responsibility for doing so, failed to adequately

   oversee Defendant Palmex and other Directors of Social Services.

140. The use of unlawful CVAs and POAs and other similar documents has been systemic in

   CCDSS for many years and over the tenures of multiple directors.



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 141. At no point during the time that the CVAs and POAs were being used to remove children

    from the custody of their parents did Defendant Cherokee County, either directly by its

    Board of Commissioners or its agents and employees beaxing the authority and

    responsibility for doing so, properly determined that CCDSS was using the unlawful

    agreements and take appropriate steps to correct the unlawful policies and practices of

    CCDSS, and by so doing and so failing to act, established and caused the implementation

    of a unlawful and unconstitutional policy, causing harm and damages.

142. As a direct and proximate cause of Cherokee County's negligence, as set forth above,

    the Plaintiffs have; in fact, suffe~•ed damages.

143. Plaintiffs are entitled to recover damages in excess of $25,000.00 from Cherokee County.

 COUNT VI: GROSS NEGLIGENT HIRING AND RETENTION (against Cherokee

                                            Count

144. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

145. In addition, or in the alternative, Cherokee County was grossly negligent in its hiring and

   retention of Palmer. Traditionally, gross negligence has been defined as "wanton conduct

   done with conscious or reckless disregard for the rights and safety of others." Toomey v.

   Garrett, 155 N.C. App. 462, 482, 574 S.E.2d 76, 92 (2002) (quoting Bullins v, Schmidt,

   322 N.C. 580, 583, 369 S.E.2d 601, 603 (1988)).

146. Defendant Cherokee County's gross and utter failure to make adequate inquiry into and

   respond appropriately to the unlawful conduct described throughout this Complaint over a

   period of many years was shows deliberate indifference to the rights of the Plaintiffs and

   constitutes willful and wanton conduct.



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 147. As a result of this gross failure to exercise its duty of care, Cherokee County's failure to

     discharge any DSS Director, including Defendant Palmer, who permitted the use of these

     CVAs and POAs proximately caused the injuries described in this Complaint.

 148. Defendant Cherokee County was grossly negligent in its failure to properly oversee its

    Department: of Social Services.

 149. Further, Defendant Cherokee County was deliberately indifferent to the acts, actions or

    failures to act and to the rights to the nanned plaintiffs and class plaintiffs,

 150. As a result of Cherokee County's conduct, Plaintiffs have suffered damages in excess of

    $25,000.00.

           COUNT VII: NEGLIGENT SUPERVISION by Defendant Palm

1 S1. Plaintiffs adopt; and incorporate by reference all allegations of this Complaint as if fully

    set out hexein.

152. Chapter 7B of the General Statutes clearly states that it "shall be interpreted and

    construed so as to . . .provide procedures for the hearing of juvenile cases that assure

    fairness and equity and that protect the constitutional rights ofjuveniles and parents . . . ."

    N.C. Gen. Stat. § 7B-100(1) (emphasis added).

153. Defendant Palmer had a duty to ensure that she established policies for CCDSS that

   protected the constitutional xighis of juveniles and parents.

154. Defendant Palmer had a duty to supervise the social workers, supervisors, attorney, and

   other employees of CCDDS to ensuxe that their actions did not violate the constitutional

   rights of juveniles and parents.

155. Defendant Palmer had a duty to establish protective services for juveniles alleged to be

   abused, neglected, or dependent. N.C. Gen. Stat. § 7B-300.



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 156. Defendant Palmer had a duty to make a prompt and thorough assessment of a complaint

     that a juvenile within Cherokee County is abused, neglected, or dependent. N.C. Gen. Stat.

      7B-302(a).

 157. By law, if in the course of this assessment, Director Palmer determined that removal of

    the juvenile from the child's home is necessary foi• the protection of the juvenile, the

    Director is required to "sign a petition seeking to invoke the jurisdiction of the count for

    the juvenile's protection." N.C. Gen. Stat. § 302(c).

158. Therefore, as final policy maker and final supervisor over all employees and agents of

    CCDSS, Defendant Palmer lead a duty to ensure that the agents and employees of CCDSS

    acted pursuant to applicable constitutional and statutory mandates.

159. Defendant Palmer failed to exercise her supervisory authority and thereby breached these

    duties.

160. Defendant Palmer further failed to make any inquizy into and respond appropriately to

    the unlawful conduct described tluoughout this Complaint over a period of many years.

161. Defendant Palmer further failed to supervise her employees to ensure that a petition

    seeking to invoke- the jurisdiction of the juvenile court was filed when removal of a

   juvenile from his/her hone was deemed appropriate for the juvenile's protection.

162. These failures on the part of Defendant Palmer to discharge her duties of care

   proximately caused the injuries described in this Complaint.

163. Plaintiffs are entitled to recover damages in excess of $25,000.00.




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          COUNT VIII: GROSS NEGLIGENT SUPERVISION Lagainst Palmer

 164. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

     set out herein.

 165.In the alternative; Defendant Palmer's conduct was done in reckless disregard for the

    rights of the Plaintiffs. Traditionally, gross negligence has been defined as "wanton

    conduct done with conscious or reckless disregard for the rights and safety of others."

    Toomey v. Garrett, 155 N.C. App. 462, 482, 574 S.E.2d 76, 92 (2002) (quoting Bullins v.

    Schmidt, 322 N.C. 580, 583, 369 S.E.2d 601, 603 (1988)).

166. These gross failures on the part of Defendant Palmer to discharge her duties of care

    proximately caused the injuries described in this Complaint.

167. Defendant Palmer was grossly negligent in its failure to properly oversee the Department

    of Social Services.

168. As a result of Defendant Palmer's gross negligence, Plaintiffs are entitled to recover

    damages in excess of $25,000.00.

   COUNT IX: ACTUAL FRAUD (against Lindsay, Palmer, Supervisors and Social
                             Workers

169. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as iF fully

   set out herein.

170. The statements Defendants made to Hogan and Unnamed Plaintiffs described above

   regarding the CVA or POA or other similar document were false, misleading, and material

   at the time they were made.

171. Defendants knew these statements were false at the time they were made.

172. The Defendants made these false statements with the intention that Plaintiffs would rely

   on these misrepresentations and sign the CVAs and/or POAs.

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 173. Plaintiffs did, in fact, rely on these false statements when they signed the CVAs and/or

    POAs.

 174. No provision of law exists within the North Carolina General Statutes authorizing

    CCDSS to draft ox othez~wise effect the CVA or any substantively similar agreement.

 175. The misrepresentations were made willfully and wantonly, and with intention of coercing

    and/or otherwise deceiving Plaintiffs into abandoning their rights as parents.

176. Defendants' false representations to Plaintiffs were reasonably calculated to deceive.

 Defendants' false representations were made with the intent to deceive and with the intent

 to be acted upon.

177. Plaintiffs were, in fact, deceived by Defendants' false representations and acted upon

    them.

178. Plaintiffs reasonably relied on Defendants' representations in signing t h e

    C V A s and / o r P O A s, a s under the same ox similar circumstances, a z easonable

    person, in the exercise of ordinary care for his owrz welfare would have relied on the

   false representations.

179. Defendants have acted intentionally and with malice toward Plaintiffs and/or in

   reckless disregard of Plaintiffs' rights.

180. The Defendants, at the times relevant, improperly billed either local, state, tribal or

   federal government funding sources while engaging in the CVA or POA process with the

   Plaintiff and those similarly situated E~ibit G.

181. Until discovery is conducted, the other Class Parents will not have sufficient

   information to provide more specific allegations, nor will they have reasonably been

   expected to discover the deception of CCDSS and its agents and employees.



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 182. Plaintiffs have suffered     damages    proximately caused       by Defendants'        false

    representations.

 183. As a result of Defendants ' deceit, fraud and fraudulent inducement,

    P l a i n t i f f s are e n t i t 1 e d t o a judgment against Defendants for their

    damages, which are in excess of $25,000.00, plus attorneys' fees.

  COUNT X: CONSTRUCTIVE FRAUD a ainst Lindsay, Palmer, SupeY-visors and
                         Social Workers)

184. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

185. "A constructive fiaud claim . . . is based on a confidential relationship rather than a

   specific misrepresentation. The very nature of constructive fiaud defies specific and

    concise allegations and the particularity requirement may be met by alleging facts and

   circumstances `(1) which created the relation of trust and confidence, and (2) [which] led

   up to and surrounded the consLunmation of the transaction in which defendant is alleged to

   have taken advantage of his position of trust to the hunt of plaintiff "' Terry v. Terry, 302

   N.C. 77, 85, 273 S.E.2d 674, 678-79 (1981) (quoting Rhodes v. Jones, 232 N.C. 548-49,

   61 S.E. 2d at 725 (1950)).

186. Upon information and belief, CCDSS and its agents and employees had a relationship of

   trust and confidence with Plaintiff Hogan and the other Class Parents prior to or during the

   course of obtauung the Class Parent's signatures on the CVAs, POAs or substantively

   similar agreements.

        a. In many instances, the Defendants) had prior working history involving the

           minor children and parents who signed the CVA or POA.

       U. In many instances, the Class Parents were in a position of mental, physical,


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             economic, or emotional vulnerability when they were coerced into giving up their

             children by and tluough the use of CCDSS's CVA or POA,

         c. Upon information and belief, in many instances, the employee/agents of CCDSS

             when entering into these agreements told the plaintiff/parents, if they didn't sign

            the agreement, their children would be sent to foster care, possibly adopted, or

            zemoved from to a degree that the plaintiff would never have any kind of contact

            or ever see their children again.

         d. Once the minor childzen were removed, thexe was no follow-up by CCDSS as to

            the health, well-being or care of the minor child.

        e. There was no follow-up with the parent/plaintiffs to see if there had been any

            substantive changes in their life or if they had contact of any kind with the minor

            children.

187. CCDSS and its agents and employees used coercive assertions to Plaintiff Hogan and

    other Class Parents in order to obtain signatures on the CVAs, POAs or substantively

   similar agreements applicable to their children.

188. Plaintiff Hogan and other Class Parents relied on the position of firust and authority

   occupied by CCDSS its agents and employees when they acquiesced to Defendants'

   attempts to obtain their signatures on the CVAs, POAs or substantively similar

   agreements.

189. Plaintiff Hogan, other Class Parents, H.H., and Class Minors were injured as a proximate

   case of Defendants' conduct.




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 190. The Defendants at the times relevant tmlawfully billed, either local, state, tribal or federal

    goveriunent funding sources while engaging in the CVA or POA process with the Plaintiff

    and those similarly situated.

 191. Until discovezy is conducted, the other Class Parents will not have sufficient information

    to provide more specific allegations, nor will they have reasonably been expected to

    discover the deception of CCDSS and its agents and employees.

192. Plaintiffs axe entitled to recover damages fog• their injuries from the Defendants in an

    amount in excess of $25,000.00,

 COiJNT XI: Deurivation of Ruts 42 U.S.C. § 1983 —Palmer, Lindsay, and Unnamed
                CCDSS Social Worl~ers and CCDSS Supervisors

193. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

194. Defendant Lindsay, Defendant Palmer, and other unnamed CCDSS Supervisors and

    CCDSS Social Workers (hereinafter "CCDSS employees") are "persons" as that term is

    used in 42 U.S.C. § 1983.

195. At all relevant times, CCDSS employees were acting under color o~ state law.

196. While CVAs were entered into in the course and scope of CCDSS's child welfare, family

   services, and child protective services efforts, the facilitation of these agreements fall

   outside the duties and responsibilities of CCDSS and Defendant Lindsay imposed by, inter

   alia, N.C. Gen. Stat. §§ 7B-108A, -108A(14), -108A(18) and other applicable statutes.

197. At no time after the removal of H.H. did Defendant Lindsay, llefendant Palmer, any

   CCDSS supervisor, or CCDSS social worker or health or community worker review the

   placement as required by N.C. Gen. Stat. § 7B-100 et: seq., or check on the health, safety,

   or welfare of the minor child.

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 198. At all tunes relevant, Defendant Cherokee County delegated oversight, supervision,

     policies, and procedures of CCDSS to its directors, who act at the authorization of

     Cherokee County.

 199.Pursuant to N.C. Gen. Stat. § 7B-100 et. seq., Defendant Cindy Palmer was at all times

     relevant to this complaint, and other directors before her at times referenced herein, the

    final policy maker with regard to all investigative and placement activities conducted by

    her staff, subordinates, attorney, and employees,

200. At the times relevant, Defendant Palmer and other directors similarly situated were acting

    under the color of state law in her and their individual and official capacity.

201. At the times relevant, the supervisors of CCDSS were acting under color of state law in

    their individual and official capacity.

202. At the times relevant, the social workers of CCDSS were acting under color of state law

    in their individual and official capacities.

203. At the times relevant, Defendant Lindsay was acting under color of state law in his

    individual and off cial capacities.

204. At the times relevant, unknown defendant directors, supervisors, and social workers, staff

    employees and health anal community workers were engaged in conduct and activities in

    their individual and official capacities under the color of state law.

205. At the times relevant, the defendant directors, supervisors, social workers, staff

   employees, health and community workers and Defendant Lindsay were acting within the

   scope of their employment.

206. Plaintiffs have a constitutionally protected liberty interest and right to custody of H.H.

   See e.g., Troxel v. Granville, 530 U.S. 57, 65-6G (2000) ("The liberty interest at issue in



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  this case -- the interest of parents in the care, custody, and co~~trol of their children -- is

 perhaps the oldest of the fundamental liberty interests xecognized by [the United States

 Supreme] Court."); Meyer v. Nebraska, 262 U.S. 390, 399, 401 (1923), ("[T]he `liberty'

 protected by the Due Process Clause includes the right of parents to `establish a home and

 bring up children' and `to control the education of their own."'); Pierce v. Society of

 Sisters, 268 U.S. 510, 534-535 (1925) ("[T]he `liberty of parents and guardians' includes

 the right `to direct the upbringing and education of children under their control"; . . . "the

 child is not the mere creature of the State; those who nurture him and direct his destiny

 have the right, coupled with the high duty, to recognize and prepare him foz• additional

 obligations."); Prince v. Massachusetts, 321 U.S. 158 (1944), ("It is cardinal . . .that the

 custody, care and nurture of the child reside first in the parents, whose primary function

 and fieedom include preparation for obligations the state can neither supply nor hinder.");

 Wisconsin v. Yoder, 406 U.S. 205, 232 (1972) ("The history and culture of Western

 civilization reflect a strong tradition of parental concern for the nurture and upbringing of

 their children. This primary role of the parents in the upbringing of their children is now

 established beyond debate as an endtuing American tradition"); Quilloin v. Walcott, 434

U.S. 246, 255 (1978) ("[T]he relationship between parent and child is constitutionally

protected"); Parham v. J. R., 442 U.S. 584, 602 (1979) (The United State Supreme Count's

"jurisprudence historically has reflected Western civilization concepts of the family as a

unit with broad parental authority over minor children. [Its] cases have consistently

followed that course"); Santosky v. Kramer, 455 U.S. 745, 753 (1982) (discussing "the

fundamental libet~ty interest of natural parents in the care, custody, and management of

their child"); and Troxel, at 66 ("In light of . . .extensive precedent, it cannot now be



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     doubted that the Due Process Clause of the Fourteenth Annendment protects the

    fundamental right of parents to make decisions conce7•ning the care, custody, and control

    of their children.")

 207. Parents have a right under the Constitution of the United States, the Constitution of North

    Carolina, and the laws of the United States and North Carolina to live with their children

    free from involvement of CCDSS, absent proof by clear, cogent and convincing evidence

    of abuse, neglect, or dependency being produced in a court of law.

208. Children have a right uzider the Constitution of the United States, the Constitution of

    North Carolina, and the laws of the United States and North Carolina to live with theix•

    patent or parents free from involvement of CCDSS, absent p~•oof by clear, cogent and

    convincing evidence of abuse, neglect, or dependency being produced in a court of law.

209. Children and parents (the named Plaintiffs and class Plaintiffs) have the right to live

    together as a family without government interference.

210. Tha only way a social worker, agent or the Director of a DSS may lawfully remove a

    child under North Carolina law is by clear, cogent and convincing evidence based on

   allegations of abuse, neglect or dependency.

211.Only a Court Order, arising from due deliberation, duly signed by a Judge, and filed with

   the Court, can be used to interfere, interrupt or prevent the relationship between a parent

   and a child (the named Plaintiffs and class Plaintiffs).

212.No judicial authorization ever occur~•ed for this or any other CVA as it relates to the

   allegations as .set forth herein, which removed a child from their• parent (the named

   Plaintiffs and class Plaintiffs).




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 213,Neither named Plaintiff nor any class Plaintiff was int'ormed of the harm which would

     result from the execution of such documents as CVAs and POAs, and instead relied upon

    the representations of CCDSS and its agents and employees, who withheld such

    information, to the detriment of the named Plaintiff or class Plaintiff

214,No emergency was ever alleged in a single CVA or POA or similar doctunent.

215,No statement was ever alleged in a single CVA, POA or similar document, that a child

    was abused, neglected or dependent as def ned and required by law.

216.No statement was ever alleged in a single CVA, P.OA or similar document, that a child

    was exposed to a substantial risk of bodily injury or harm.

217.No statement was ever alleged in a single CVA, POA or similar document, that a child

    would be removed from the jurisdiction of the Coua-t.

218. No statement was ever alleged in a single CVA, POA or similar document, as it relates to

    a child being covered by the Indian Child Welfare Act, even when it was necessary to do

    so.

219. At the times relevant, the Defendants failed to repz•esent the laws and facts, as set forth

    herein, to the plaintiff parents, accurately, during the process that resulted in the removal

   of the minor children from their parents (the plaintiffs).

220. At the times relevant, the Defendants, as set forth herein, lacked any legal right to remove

   these minor children from their parents.

221. At the times relevant, there existed no legal authority for the Defendants to remove the

   minor children from their parents.




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 222. At no time relevant to the allegations herein, did the Defendants ever attempt to establish

     or woz•k a safety plan with these parents for these children after the CVA, POA or similar

     document was signed and the children were removed from their parents.

 223. At the times relevant, none of these parents were ever noticed or provided a pze-

    deprivation hearing as required by North Carolina law or by any process otherwise due.

224. Al no relevant time were Class Parents provided counsel as required by North Carolina

    law.

225, At no relevant time were Class Minors provided counsel, the appointment of a guardian

    ad litem, or an attorney for a guardian ad lztem as required by North Carolina law.

226. The minor children plaintiffs in this case, individually and as a class, based on the

    allegations as set forth herein, make the following claims against the named defendants,

    their predecessors, successors and those yet to be known and or named through the

    discovery process.

227. At the times relevant, not one Plaintiff was ever allowed ox provided apost-deprivation

    hearing as it relates to the allegations as set forth herein.

228. The conduct on behalf of the Defendants towards the Plaintiffs shocks the conscience and

    at no time relevant is supported in law or fact.

229. The right to parent one's child is enshrined in the Due Process Clause of the 14th

   Amendment to the Constitution of the United States and the Law of the Land Clause in

   Article I, Section 19 if the North Carolina Constitution.

230. "the Defendants' conduct violated clearly established constitutional rights of the named

   Plaintiffs, class Plaintiffs, and those yet to be determined through discovery. These rights

   were cleaz•ly established at the time these violations occui~ed.



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 231. Defendants' actions deprived both Plaintiffs of their constihrtional nights and violated

    their rights to both procedural and substantive due process,

 232. The actions of the CCDSS employees resulted an iuilawful seizure of H.H. in violation of

    the Fourth Amendment to the Constitution of the United States.

 233. The actions of the CCDSS employees unlawfully deprived Hogan and H.H. of their

    respective freedom to associate with each other in violation of the First Amendment to the

    Constitution of the United States.

234. The actions of the CCDSS employees deprived Plaintiffs of procedural due process by

    interfering with their right to freedom of association in violation of his rights under the

    First Amendment to the Constitution of the United States.

235. The actions of the CCDSS employees deprived Plaintiffs of procedural due process by

    not providing a prompt and fair post-deprivation juridical review in violation of Plaintiffs'

    rzghts under the Fourteenth Amendment to the Constitution of the United States.

236. The actions of the CCDSS employees were made with deliberate indifference and

    deprived Plaintiffs of substantive due process in that they shock the conscience of the

   Court. The use of CVAs POAs and substantively similar agreements were intended to and

   did allow CCDSS and it agents and employees to evade judicial review of their coercive

   and unlawful action and separate parents from their children without lawful authority.

   These actions by the CCDSS employees violated Plaintiffs' rights to substantive due

   process in violation of the Fourteenth Amendment of the Constitution of the United States.

237. Defendants each engaged in conduct in furtherance of the object of this conspiracy and

   induced others to engage in conduct in furtherance of those conspiracies.




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238.Defendants engaged in such conduct in bad faith and with intentionally, recklessly, and

    with callous disregard for, and delibezate indifference to Plaintiffs' rights.

239. As a direct and foreseeable consequence of this deprivation:

         a, Plaintiff Hogan and H.H. were separated in excess of 180 days. As a direct and

             foreseeable consequence of this conduct, Plaintiff Hogan and H.H. suffered pain

             and suffering, emotional trauma and distress, mental anguish, and Hogan was

             prevented from providing for the care, custody, and control of H.H. during a

             valuable and critical time of minor child's formative years.

         b. Class Parents and Class Minors suffered substantially similar injuries when they

            were separated foz• various periods of time.

240. The CVA was unlawful and obtained in violation of Hogan's federally and state law

   protected rights particularly those under the U.S. Constitution, North Carolina

   Constitution, and North Carolina General Statutes in many ways, including but not limited

   to:

         a. The agreement is not permitted by, did not comply with, and is contrary to the

            provisions of N.C. Gen. Stat. § 7B-100 et. seq,, of the NorCh Carolina General

            Statutes because, inter alias

                i. The agreement did not allow Plaintiff specified minimum visitation with

                   the minox child, in violation of N.C. Gen. Stat. § ZB-905.1.

               ii. The agreement failed to follow the mandate of N.C. Gen. Stat. § 7B-

                   507(a), which provides that any order placing or continuing the placement

                   of a juvenile in the custody or placement responsibility of a county

                   depaztment of social services (whether it is an Order for nonsecure



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              custody, co~itinued nonsecure custody, a dispositional Order, or a review

              Order):

                  1. Shall contain a finding the juvenile's removal or continuation in or

                        return to the juvenile's home would be contrary to the juvenile's

                     best interest;

                  2. Shall contain findings as to whether the county department of

                     social services has made reasonable efforts to prevent o~• eliminate

                     the need for placement of the ~ juvenile, unless the court has

                     previously determined that such efforts at•e not required and shall

                     cease;

                 3. Shall confain findings as to whether a county department of social

                     services should continue to make reasonable efforts to prevent or

                     eliminate the need for placement of the juvenile;

                 4. Shall specify that the juvenile's placement and care the

                     responsibility of the county department of social services and that

                     the agency is to provide or arrange for the foster care or other

                     placement of the juvenile; and

                 5. May provide for services or other efforts aimed at returning the

                     juvenile to a safe home or at achieving another permanent plan for

                    the juvezlile.

         iii. The agreement is unauthorized by N.C. Gen. Stat. § 7B-100 et. seq., which

             does not authorize CCDSS to enter into private custody agreements,




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              powers of attorneys, file private custody actions, or take any actions

              regarding custody of a minor child without judicial action.

                 1. These CVAs and POAs are more similar to a private parental

                     custody agreement than a custody order entezed under the authority

                     of N.C. Gen. Stat. § 7B-100 et. seq., .

                 2. These CVAs and POAs, while similar to a private parental custody

                     agreement, are not authorized under N.C. Gen. Stat § 50-13.1 et

                     seq. or N.C. Gen. Stat § SOA-101 et seq.,

                 3. These CVAs and POAs, though appearing to be similar to a private

                     parental custody agreement, are prohibited by law.

         iv. Under N.C. Gen. Stat § 7B-905(b), a dispositional order under which a

             juvenile is removed from the custody of a parent, guardian, custodian, or

             caretaker shall direct that a review hearing (as required by N.0 Gen. Stat §

             7B-906) beheld with 90 days from the date of the dispositional hearing.

          v. It was not executed under the supervision of the District Court of

             Cherokee County, North Carolina, which possesses original and exclusive

             jurisdiction over all juveniles alleged to be abused, neglected, dependent,

             undisciplined, ox delinquent within the County. See N.C. Gen. Stat. § 7B-

             200, 7B-1600, and 7B-1601.

         vi. It was not executed under the supervision of the District Court of

            Cherokee County, North Carolina, which possesses original and exclusive

            jurisdiction over all child custody actions. See N.C. Gen. Stat, § SOA-

            201(b) and N.C. Gen, Stat §Chapter 50-13.1 et seq.,



                                      ,;


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           vii. It was not reviewed by a court official or guardian ad litem for the minor

                child, and was not filed in the minor child's juvenile action court file

                (Cherokee County 15-JA-73).

          viii. North Carolina District Court has the original and exclusive jurisdiction

                over all matters regarding all minor children within the state (excluding

                adoptions).

     b. The CVA failed to follow the North Carolina Rules of Practice and Rules of Civil

        Procedure by inter alias

            i. It was not signed by a Judge or filed with the Cherokee County Clerk of

                Court's office.

            ii. CCDSS did not file any motion, notice on for hearing, or in any other way

               bring before or otherwise seek court approval or oversight in entering into

               the CVAs as are material herein.

    c. The execution of the CVA was lacking in any legal safeguards for the rights of

        Hogan or H.H. as required by N.C. Gen. Stat, § 7B-100 et. seq., and the

        Constitutions of the United States and the State of North Carolina,

    d. CCDSS and its employees and agents were aware of Judge Sellers' Order entered

       during In re H.H. (entered with the consent of CCDSS), which had already

       established the court's jurisdiction over H.H., Hogan, and resolved the issue of

       H.H.'s custody.

    e. The CVA contained no provisions to revoke or otl~.erwise rriodify the terms

       contained therein and contained no provision to allow judicial review or

       ratification at any time.



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        f. The CVA was used to deprive Hogan and the child of the right to procedural due

            process and substantive due process.

        g. Other ways that shall be ascertained through discovery and proven at trial.

241, Defendants represented to Plaintiffs and Plaintiffs in reasonable reliance on Defendants'

   representations believed the CVAs and POAs were binding legal documents with the same

   force and effect as an order of the Cotut, based on the representations of CCDSS.

242. The CVA was drafted and formatted in such a manner as to resemble a Count Order.

243. Defendant Palmer and others who were in the position to establish and promulgate the

   policies and official practices of CCDSS were aware of, approved, and directed the use of

   the CVA and substantively similar "agreemezits."

244. Defendant Lindsay drafted multiple CVAs and POAs involving many parents and

   children over the course of multiple years.

       a. The CVAs were prepared, propagated, and produced by CCDSS based upon

           Defendant Lindsay's advice, drafting, and/or counsel. The CVA was designed to

           be a bilateral "agreement" requiring the signai:ures of both the parents and the

           recipient adults.

       b. Upon information and belief, Defendant Lindsay, Defendant Palmer, CCDSS and

           ox Cherokee County are in possession of electtonic copies. of many, if not all, of

           the CVAs and POAs and substantively similar agreements utilized by the

           Defendants in their official policy, practice, and custom of using unlawful

           coercion and "agreements" to coerce parents into "surrendering" custody of t~ieir

          minor children in derogation of the parents' rights and privileges under the

          Constitutions of the United States and North Carolina.



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            i. All named and unnamed social workers and social worker supervisors

               were agents, employees, servants, and health and community workers of

               Cherokee County and CCDSS, and CCDSS is liable for their tortious

               actions particularly in light of the deliberate indifference of Cherokee

               county, CCDSS, its employees, its agents and other defendants yet to be

               determined through the discovery process.

           ii. CCDSS, its director and policy makers are liable for the direct activity and

              actions of the DSS and it officials and employees through their individual

              acCs and actions, as well as the policies and de facto policies.

          iii. These unlawful "agreements" were crafted and utilized to unlawfully take

              minor children from the custody of their parents with the knowledge and

              approval of the CCDSS director or Defendant Lindsay or both.

    c. In addition to the CVAs, Defendant Lindsay and Defendant Palmer and prior

       directors unlawfully utilized what they described as "Powers of Attorney"

       ("POA") to also remove children from the custody of their parents.

           i. A POA was used to unilaterally remove a child from the custody of a

              parent without cotu~ oversight or approval.

          ii. Use of a POA to xemove a child from his/her parent violated same rights

              as the use of a CVA.

         iii. Upon information and belief, CCDSS and its agents and employees made

              material misrepresentations to parents to induce them to sign POAs.

         iv. Upon information and belief, parents executed POAs acting in reliance on

             the false statements of CCDSS and its agents and employees,



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 245. The named defendants combined, confederated, and agz•eed to act in conformity with

    their unlawful patterns, customs, and policies. Each member of the conspiracy shared the

    same conspiratorial objective to deprive the Plaintiffs of their federally protected rights

    resulting in the harm and damages that the plaintiffs have incurred.

 246. As a result of Defendants' conduct, Plaintiffs have been damaged in excess of

    $25,000.00.

  COUNT XII: Deprivation of Rights 42 U.S.C. § 1983 Cherokee County and CCDSS
               (Moiznelly. Dep'l of Social Set~>>ices,. 436 U.S• 65g)

247. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

248. CCDSS is a department of Cherokee County. Cherokee County is governed by a Board

    of Commissioners, who have oversight over all county programs and departments.

249. The Director of CCDSS, pursuant to N.C. Gen. Stat. § 7B-100 et. seq., is the final

    policymaker for all policies and procedures established to govern the operations and

    activities of CCDSS, a power granted to the Director by Chexolcee County.

250. Defendant Palmer is the current Director of CCDSS.

251. The named Defendants, as well as unnamed and other as yet unknown supervisors,

   directors, policymakers, and othex responsible individuals are "persons" as defined

   puxsuant to 42 U.S.C, §1983 and Monell v. Dept of Soc. Servs., 436 U.S. 658, 98 S. Ct.

   2018 (1978), acid its progeny.

252. Defendant Lindsay was at the relevant times simultaneously the attorney contracted and

   hued to represent CCDSS in juvenile count proceedings as well as the attorney for

   Cherokee County. Defendant Lindsay was also an advisor to employees of CCDSS,

   including its directors. Defendant Lindsay was also a policymalcer for CCDSS.

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 253. Defendants Lindsay and Palmer established as official policy or custom the use of CVAs,

    POAs or substantively similar agreements to coerce parents to surrender custody of their

    children in violation of their rights under the First, Fourth and Fourteenth Amendments to

    the Constitution of the United States (see Count 1, supra).

254. The fundamental right to familial relations is constitutionally protected.

255. Cherokee County, by and through its final policy maker, maintained a policy, custom, or

    pattern of practice of promoting, facilitating, and condoning the improper, illegal, and

    unconstitutional techniques by CCDSS social workers and other CCDSS employees and

    Defendant Lindsay.

256. Cherokee County further demonstrated deliberate indifference to the unlawful,

   unconstitutional, and unconscionable actions of their delegated policymakers, and further

   failed to adequately train, supervise, or discipline the Defendants as set forth herein in

   connection with protecting and ensuring the constitutional rights of the Plaintiffs and

   minor children.

257. Because the County Commissioners of Cherokee County and/or the Director of CCDSS

   and/or Defendant Scott Lindsay were tl~e fiYial policy makers during the past 19 years,

   their acts or omissions during that time constituted the policy, custom, or pattern and

   practice of CCDSS.

258. As the final policymaker for CCDSS, the County Commissioners of Cherokee County

   and/or the Director of CCDSS and/or Defendant Lindsay created, promulgated, and

   maintained the following polices, customs, or patters and practices which deprived all

   class plaintiffs, including Plaintiff Hogan and T3.I~., of their constitutionally protected

   rights by:



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     a. Failing to properly train and supervise CCDSS social workers and employees

        with regard to their duties not to (1) fabricate purportedly legal documents, (2)

        coerce signatures from plaintiffs whereby they gave up their right to parent, (3)

        separate a parent fz•om a child, (4) remove a child from his/her family, (5) conceal

        the CVA process from NCDHSS auditors. (6) intentionally and recklessly failed

       to follow the procedures as set forth in N.C. Gen. Stat. § 7B-100 et. seq., (7)

       ignore the policies and guidelines as set forth by NCDHHS as it relates to safety

       plans, removal procedures, maintaining contact between parents and children,

       providing a reunification plan for parents and children and following up on

       placement of the minor children to ensure their safety, health and essential needs

       are being adequately met. Upon information and belief the defendants made

       factually inaccurate statements to the affected minor children.

    b. Encouraging; promoting and condoning CCDSS social workers to (1) fabricate

       purportedly legal documents, (2) coerce signatures fiom plaintiffs whereby they

       gave up their right to parent, (3) separate a parent from a child, (4) remove a child

       from his/her family, (5) conceal the CVA, POA and similar processes from

       NCDHSS auditors. (6) intentionally and recklessly failed to follow the procedures

       as set forth in N.C. Gen. Stat. § 7B-100 et, seq., (7) ignore the policies and

       guidelines as set forth by NCDHHS as it relates to safety plans, removal

       procedures, maintaining contact between parents and children, providing a

      reunification plan for parents and children and following up on placement of the

      minor children. to ensure their safety, health and essential needs are being




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             adequately met;       (8) fostering a climate of impunity for engaging in such

             unconstitutional conduct.

         c. Creating, promulgating, and maintain a policy, custom, or pattern of pz~actice of

             failing to follow the law as set forth in N.C. Gen. Stat. § 7B-100 et. seq., the

             policies, procedures and guidelines as set forth by NCDHHS and othez• behaviors,

             conduct or practices to be learned tlu•ough discovery and proved at trial.

259. The wrongful acts and omissions that deprived Plaintiff Hogan of custody of his child

    and his right to parent occurred ptu•suant to Cherokee County and CCDSS's policies,

    customs, pattei7ls, practices and conduct.

260. The policies, practices, customs and patterns of conduct of CCDSS and that of Cherokee

    County were the direct and proximate cause of all class plaintiffs, including Hogan, being

    unable to act as a parent to his child, associate with his child or enjoy his constitutionally

   protected rights accordingly.

            COITNT XIII: 42 U.S.C. § 1983 -Violation of Equal Protection

261. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

262. The Defendants only utilized the practice of coercing parents into signing CVAs, POAs

   or substantively similar agreements in some cases.        In others, CCDSS elected to file

   petitions in accordance with N.C. Gen. Stat. § 7B-100 et. seq., of the North Carolina

   General Statutes.

263. There is no rational basis for the arbitrary and capricious decision to afford the

   protections of due process to some individuals while ignoring them for others.




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 264. Therefore, the decision to utilize the CVAs, POAs and siinilaz• agreements against one

     group of people and not others is in violatio~i of the Equal Protection Clause of the

     Fourteenth Amendment to Uzuted States ConsCitution.

 265. Therefore, each Class Parent and Class Minor that was harmed. by use of the CVAs or

    substantively similar agreements was also denied equal protection under the law.

 266. Upon information and belief, the CCDSS Director or Defendant Lindsay were the

    ultimate determiner/authority as it related to which plaintiff and child were coerced to use

    the CVA and POA processes and which families were allowed their constitutionally

    protected rights.

267. As a result of Defendants' conduct, Plaintiffs have suffered damages in excess of

    $25,000.00.

                           COUNT XIV: Respondent Su perior

268. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

    set out herein.

269. Liability for the tortuous conduct and constitutional violations by the Defendants in their

    individual and professional capacity are imputed to Cherokee County, a governmental

    subdivision of the state of North Carolina, by operation of the doctrine of respondent

    superior.

270. The conduct of Defendants Palmer, Lindsay, and all unnamed prior DSS directors, DSS

    Supervisors and DSS Social Workers, in their individual and official capacities, was

   within the scope of their employtnent with Cherokee County government and CCDSS and

   in the furtherance of Cherokee County and CCDSS.

271. The defendants owed a statutory duty to the plaintiffs to follow state law, act consistent



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     with state polices, and not act in ways so as to infi•iilge upon the rights and. privileges of

     parents and minor children under the Constitutions of the United States and the State of

    North Carolina.

 272. Defendants Palmer, Lindsay, and all unnamed prior DSS directors, DSS Supervisors and

    DSS Social Workers breached that duty when by presenting the CVA to Plaintiffs

    coercing them to sign.

273. Defendants Palmer, Lindsay, and all unnamed prior DSS directors, DSS Supervisors and

    DSS Social Wozkers breached that duty when by presenting CVAs, POAs and

    substantively similar agreements to Class Parents and coercing them to sign.

274. The use of the unlawful CVAs, POAs and substantively similar agreements interrupted,

    interfered with, and destroyed the parenfal relationship and bond of that between Hogan

    and H.H. as well as between other Class Parents and Class Minors, and caused irreparable

    harm, emotional distress, mental anguish and damages yet to be determined.

275. All named and unnamed plaintiffs suffered damage and irreparable harm by the acts,

    conduct and results of the defendants in that their families were torn apart, the relationship

    between their siblings, parents and family were damaged or destroyed resulting in

    emotional trauma, pain and suffering.

276. Plaintiffs are entitled to recover damages from Defendants in excess of $25,000.00.

                        COUNT XV: Civil Obstruction of Justice

277. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

278. Defendants intentionally, willfully, and maliciously engaged in an unlawful pattern of

   conduct by coercing Class Parents into signing CVAs or substantively similar agreements.



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 279. Defendants further used the CVAs or substantively similar agreements to avoid judicial

    supervision and oversight of their unlawful activities and to deny the right of the plaintiffs

    to access to justice and the right to open courts.

280. Defendants thereby obstructed the administration of public and legal justice by means of

    their unlawful actions as described tluoughout this Complaint.

281. Further, despite being under a statutory mandate to preserve all records of child

    protective services cases, CCDSS, its agents, and employees destroyed or knowingly

    permitted the destruction of records pertaining to child protective services cases, including

    case file containing copies of CVAs, POAs, and substantively similar agreements. This

    destruction has hindered, obstructed, and delayed the ability of coLuisel to identify the

    victims of CCDSS's wrongdoing, and file this action.

282. Class Parents and Class Minors were harmed by the unlawful actions taken by the

    Defendants in their attempt to obstruct justice as set forth elsewhere in the Complaint.

283, As a result of Defendants' conduct, Plaintiffs are entitled to recover damages in excess of

   $25,000.00.

           COUNT XVI: Violations Under the North Carolina Constitution

284. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

285. The Fourteenth Amendment to the Constitution of the United States provides that no

   person shall be "deprive[d] . . . of life, liberty, or property, without due process of law . . .

   " Article Y, Section 19 of the North Carolina Constitution states that "[n]o person shall be

   . . . or in any manner deprived of his life, liberty, or property, but by the law of the land."




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286.In Tyoxel v. G~~anville, 530 U.S. 57, 65-66 (2000), the United States Supreme Court held

    that "[i]n light of . . .extensive precedent, it cannot now be doubted that the Due Process

    Clause of the Fourteenth Amendment protects the fundamental right of parents to make

    decisions concerning the care, custody, and control of their children."

287. To ensure that all parents enjoy the protections of due process in any case where DSS

   seeks to remove a child from his or her parent, the North Carolina General Assembly has

   enacted N.C. Gen. Stat, § 7B-100 et. seq., of the North Carolina General Statutes to

   govern all proceedings in which a juvenile is alleged to be abused, neglected, or

   dependent.

288.It is beyond dispute that one of the fundamental rights enjoyed by all parents under the

   United States Constitution is the right to raise their children without government

   interference. See e.g. Troxel v. Granville, 530 U.S. 57, 65-66 (2000) ("The liberty interest

   at issue in this case -- the interest of parents in the care, custody, and control of theix

   children -- is perhaps the oldest of the fundamental liberty interests recognized by [the

   United States Supreme] Court,"); Meyer v. Nebraska, 262 U.S. 390, 399, 401 (1923),

   ("[T]he `liberty' protected by the Due Process Clause includes the right of parents to

   `establish a home and bring up children' and `to control the education of Yheir own."');

   Pzerce v. Society of Sisters, 268 U.S. 510, 534-535 (1925), ("[Tjhe `liberty of parents and

   guardians' includes the right `to direct the upbringing and education of children under

  their control" ; . . : "the child is not the mere creature of the State; those who nurture him

  and direct his destiny have the right, coupled with the high duty, to recognize and prepare

  loin for additional obligations."); Prince v. Massachusetts, 321 U.S. 158 (1944), ("It is

  cardinal . . .that the custody, care and nurture of the child reside first in the parents, whose



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    primary function and freedom include prepat•ation for obligations the state can neither

    supply nor hindex•."); Wi.scon.sin v. Yoder, 406 U.S. 205, 232 (1972) ("The history and

    culture of Western civilization reflect a strong tradition of parental concern for the nurture

    and upbringing of their children. This primacy role of the parents in the upbringing of their

    children is now established beyond debate as an endiuing American tradition"); Quilloin

    v. Walcott, 434 U.S. 246, 255 (1978) ("[T]he relationship between parent and child is

    constitutionally protected"); Paf•ham v. .I. R., 442 U.S. 584, 602 (1979) (The United State

    Supreme Count's "jurisprudence historically has reflected Western civilization concepts of

    the family as a unit with broad parental authority over minor children. [Its] cases have

    consistently followed that course"); Santoslcy v. Kramer, 455 U.S. 745, 753 (1982)

   (discussing "the fundamental liberty interest of natural parents in the care, custody, and

   management of their child"); and Tr•oxel, at 66 ("In light of . . .extensive precedent, it

   cannot now be doubted that the Due Process Clause of the Fourteenth Amendment

   protects the fundamental right of parents to make decisions concerning the care, custody,

   and control of their children.")

289. The same protection is extended to the people of North Carolina by Article 1, Section 19

   of the North Carolina Constitution and is fundamentally required' under Article I, section

   35 of the Not~th Caa~olina Constitution.

290. The term "law of the land" as used in Article I, Section 19 of the North Carolina

   Constitution means the general law, the law which hears before it condemns; which

   proceeds upon inquiry, and renders judgment only after trial. It means the regular course

   of the administration of justice through the courts of competent jurisdiction, after the

   manner of such cow-ts. Procedure must be consistent with the fundamental principles of



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     liberty and justice. State v. Chesson, 228 N.C, 259, 45 S,E.2d 563 (1947), wi°il dismissed,

     334 U.S. 806, 68 S. Ct. 1185, 92 L. Ed. 1739 (1948). See also, Eason v. Spence, 232 N.C.

    579, 61 5,~.2d 717 (1950). Among other things, "the law of the land" or "due process of

    law" imports both notice and the opportunity to be heard before a competent tribunal.

    Parker v. Stewart, 29 N.C. App. 747, 225 S.E.2d 632 (1976); Utica Mut, In,s. Co. v.

    Johnson, 41 N.C. App. 299, 254 S.E,2d 643 (1979).

 291. Moreover, the North Carolina "Supreme Court has held that the term `law of the land,' as

    used in Article I, Section 19 of the North Carolina Constitution, is synonymous with `due

    process of law' as that term is applied under the Fourteenth Amendment to the United

    States Constitution. In re Petition of Smith, 82 N.C. App. 107, 109, 345 S.E.2d 423, 425

    (1986) (quoting In re Moore, 289 N.C. 95, 221 S.E. 2d 307 (1976)). Also see State v.

    Smith, 90 N.C. App. 161, 368 S.E.2d 33 (1988), affd, 323 N,C. 703, 374 S.E.2d 866, cert.

    denied, 490 U.S. 1100, 109 S. Ct. 2453, 104 L. Ed. 2d 1007 (1989); and McNeill v:

    Harnett County, 327 N.C. 552, 398 S.E.2d 475 (1990).

292. The General Assembly has clearly states that the DSS Code "shall be interpreted and

   construed so as to . . .provide procedures for the hearing of juvenile cases that assure

   fairness and equity and that protect' the constitutional rights ofjuveniles and parents . . . ."

   N.C. Gen. Stat. § 7B-100(1) (emphasis added).

293. Complying with the DSS Code by the State and CCDSS is the means by which the

   constitutional rights described above are protected.

294. There is no provision of law permitting the use of extrajudicial CVAs to obtain the

   voluntary surrender of parental custody.




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295. Therefore, the use of CVAs, POAs, and other substantively similar documents and

    agreements by each and every Defendant violated the rights of Plaintiff Hogan and the

    Class Parents held under Article I, Section 19 of the North Carolina Constitution,

296. As a result of Defendants' violations of the North Carolina Constitution, Plaintiffs have

    suffered damages in excess of $25,000.00.

                  COiTNT XVII: Punitive Damages and Attorney's Fees

297. Plaintiffs adopt and incorporate by reference all allegations of this Complaint as if fully

   set out herein.

298. Defendants, in each claim for relief, by their actions as set forth in this Complaint, have

   acted intentionally, willfully, wantonly, and maliciously in causing the injuries

   complained of,

299. By their intentional, willful, wanton, and malicious behaviox, Defendants have caused

   injuries to Class Parents as set forth elsewhere in this Complaint, including:

        a. Violating their rights under the Constitutions of the United States and North

             Carolina;

        b.    Defrauduig them;

        c. Obstructing justice and denying them access to juvenile cotu~t;

        d. Damage to the safety, well-being, mental health, and familial cohesiveness of the

             Class Parents, Class Minors, and all affected families of Cherokee County, North

             Carolina, including the plaintiff Hogan who was separated from H.H. for a period

             an excess of 180 days.

       e. As a direct and foreseeable consequence of Defendants' conduct, Plaintiff Hogan

             and the Class Paxents suffered pain and suffering, mental anguish, emotional



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                  trauma and distress, and were prevented from providing for the care, custody, and

                  control of their minor children during valuable and critical times of minor

                  children's formative years.

           f. As a direct and foreseeable consequence of Defendants' conduct, the H.H. and

                  Class Minors suffered pain and suffering, mental anguish, emotional trauma and

                  distress from being removed from their parents.

  300. The intentional, willful, wanton, malicious and oppressive conduct of the defendant are

      the proximate cause of injuries sustained by the Plaintiffs. As a result, the Class Parents

      and Plaintiff Hogan are entitled to punitive damages.

  301. Plaintiffs are entitled to an award of attorney's fees pursuant to 42 U.S.C. § 1988(b) and

      other applicable federal and state statutes covering the allegations as set forth herein.



WHEREFORE the Plaintiffs pray the Court and demand judgment:

   1. For an order certifying the proposed class, and any subclasses the Court finds to be

      necessary, pLu•suant to N.C.R. Civ. P. 23, designating the Plaintiff Hogan as the named

      representative of the Class Parents, designating H.H. as the named representative of the

      Class Minors, and designating the undersigned as class counsel;

   2. ror an award to named Plaintiffs and class Plaintiffs for damages, including but not

      limited to pain and suffering, nominal, compensatory, consequential, punitive and other

      such damage, as well as interest thereon for some or all, in an amount proven to be

      determined at trial, duly entitled to the named and class plaintiffs and class based upon

      the claims and allegations as set forth within this Complaint with pre and post judgment

      interest;



                                                [~~


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3. For Damages in excess of $25,000 per claim to each plaintiff as allowed by law with pre

    and post judgment interest.

4. For prejudgment and post judgment interest as allowed by law.

5. For an award of attorney's fees and costs as allowable by all applicable laws;

6. For a trial by jury; and

7. For such other and further relief as the Court may deem just and proper.




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THIS the 14th day of March, 2018.




If~vid A. Wij ickrama                              Moore
N.C. State ar No.: 30694                      N.C. State Bar No.: 9619
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Attorneyfog Plaintiff Hogan                   Attorneyfor Plaintiff H.H.
and Class Parents                             and Class MznoNs



Melissa Ya                                     . Brandon Christian
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Attorneyfog Plaintiff Hogan                   Attorneyfor Plaintiff H.H.
and Class Parents                             and Class Minors




                                         63


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                                                 CERTIFICATE OF SERVICE

 This is to certify that I have this day served defendants and their counsel in the foregoing matter with a
 copy of Plaintiff's complaint by:

         Depositing it in the United States Postal Service in a properly addressed envelope with adequate
         postage attached thereto.

         OR

,~ Sending by facsimile transmittal for receipt by 5:00 p.m. Eastern Time on a regular business day,
   as evidenced by a facsimile receipt confirmation.




~, Leaving it at his or her office with a responsible partner or employee.

        m

        Depositing a copy hereof with a nationally recognized overnight courier service, for overnight
        delivery, addressed to the attorney for each.

        C~]~

        Service by personal delivery in conformity with the North Carolina Rules of Civil Procedure, Rule
        5.

        TO:

        Cherokee County                Cherokee County Social Services &   Defendant Scott Lindsay
        c/o Maria Haas                 Defendant Cindy Palmer              616 Lake Shore Drive
        75 Peachtree Street            4800 W. Highway 64                  Murphy, NC, 28906
        Murphy, NC 28906               Murphy, NC 28906


        Sean Perrin                    Patrick Flanagan
        WBD, LLP                       CSH
        One Wells Fargo Center         2907 Providence Road
        301S. College St. Suite 3500   Suite 200
        Charlotte, NC 28211            Charlotte, NC 28202


This the 14`h day of February, 2018

                                                                  [33~ id A. Wijewickrama,
                                                                  B r # 30694
                                                                     torney for Plaintiffs
                                                                  95 Depot Street
                                                                  Waynesville, NC 28786
                                                                  P: 828.452.5801
                                                                  F: 828.454.1990




    Case 1:18-cv-00096-MR-WCM Document 1-1 Filed 04/13/18 Page 67 of 124
                        DEPARTMENT OF HEALTH .A.ND HUMAN SERVICES
                               DIVISION OF SOCIAL SERVICES
                                            CHILD WELFARE SERVICES

ROY COOPER                                                                                      MANDY COHBN, MD, MPH
GOVHRNOR                                                                                                           SBCRBTARY


                                                                                                         WAYNE E. BLACK
                                                                                                                 DmeCroa

                                                   December 20, 2017

   DEAR COUNTY DIRBCTORS OF SOCIAL. SERVICES

   SUBJECT: URGENT: POLICY AND PRACTICE ALERT: PRIVATE CUSTODY AGREEMENTS

  It has come to our attention that child welfare staff in some county Departments of Social Services may be
  facilitating the completion of private custody agreements between the parents) of children involved in Child
  Protective Services and other family members or other individuals, without the oversight of the Court. Counries
  thought to be facilitating such agreements have been contacted directly. This letter is a reminder that facilitating
  such private custody agreements without the oversight of the Court falls outside of both law and policy.

  NCGS 108A-14(a)(11) provides that a director of social services has the duty and responsibility to "assess reports
   o:f child abuse and neglect and to take appropriate action to protect such children pursuant to the Child Abuse
  Reporting Law, Article 3 of Chapter 7B of the General Statutes." Article 3 of Chapter 7B of the General Statutes
  and DHHS policy set forth the duties and responsibilities of county Departments of Social Services related to the
  placement and custody of children involved in Child Protective Services. The use of agency~resoarces to facilitate
  private custody agreements without the oversight of the Court does not fall within the provision of Child
  Protective Services, and is therefore beyond the scope o:F a County Deparhnient of Social Services' duties and
  responsibilities.

  As a reminder, the goal of Child Protective Services is to support and improve parentaUcaregiver abilities to
  assure a safe and nurturing home for each child, Tn-k~ome Services engages families in the planning process while
  producing better outcomes of safety, permanence, and well-being for children, and encourages families to develop
  a support network that can assist them in planning for coping with future challenges.

  If yon have questions, please consult with your agency attorney ox contact your Children's Program
  Representative.

                                                           Since. ly,


                                                            is T. Cauley •.
                                                           D putq Direc ~ r
 CWS-50-2017

                                                  WWWNCDHI3S.GOV
                                         T$i 919-527-6370 • F.~c 877-625-4374
                      LocATI[orr: 820 S. BoYr,~ AvB. • MCBRYDS IiUII.DING • RALSTdH, NC 27603
                      MAILING ADDRESS; 245 MAIL SBRVICB CBNTER •RALEIGH, NC 27699-2145
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  ST.A.TE OF NORTH CAROLINA                        XN THE GENERAL COURT Uli JUSTICE
  CHEROKEE COUNTY                                  DZS`~'R:[CT COURT DXVISTON
                                                   18 CVD Op46
  MICHAEL MAT.~-~IEU                       )

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  SHAX,~ES GREENLEB                       )                                                    ~~"!    ~='a    .;~,~
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        THIS Iv1A,'I"~ER coxrzing on to be heard before the undersigned 'udge cta~' the

 distxxcf cout~ at the session of civil district court in Chezolcee County on ~eb~uary 28,

 2018 on Defendant Ga•eex~lee's motions, the Count heaxd from. the parties ~hru their

attoz~eys.

       IT AP~'EARZNG TO TIE COURT thatboth paz-ties a~e.pzesent; the ~'l~inti:E~ is

repxesenfed by Zeyland McI~.iru-~ey aid the Defendant is zepresented b~ Aavid A.

Wijewicicrama, Ron Mooze, l7. Brandon Christian, and Melissa J~acicson, and as to t~.e

fo7lowang the Court so Orders:                                                                   • .

   1. As to the Deferndant's zx~.otion for Complete xeco~~datzon, and by co:nsez~t of the

       plaintiff, tri.e Court finds in the intexest off' justice, tk~at a coin~lete recordatioza is

       granted.

  2. AXl subpoenas properly fled and served and no rrzotxox~s to quash were ~xled by

      any witnesses pursuant to the NCRCP.

  3. .A.s to the Defendant's motion to open this heaniz~g to the public, and by consent

      of the plaintiff, the Court fiends a compelling interest of justice that this matter

      sha1~ be open to the public and to the media and is so Ordezed.




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            4.      As to the Defendant's motion fio sequester vvitxiesses, axed by consent of the

    `              plaintiff, .tl~e Court fi~.ds a cor~pelXang interest of jusfice that the witnesses shall

                   be sequestexed bofh priox to and aftex then' testirx~ox~y ar~d as such, zs so Oz~dexed.

           ~5.     As to the Defendant's rxiotioz~ to request a 2. Z Judge from the Clued Justice of the

    •             North Carolina Supreme Court, and by consent of fhe plainti~Cf, tlae Court ~iz~ds,

                  upon corxzpel~zng testixn.o~y axzd facts as set foxth wzthin the Dec~aratoxy judgment

                  ordered this day, that this request should be made, and is so Ordexed.

          6.      Upon hearing testimony and xeviewing the docur~nents in camera as zequested by

                 a• validly issued subpoena by ~1xe de;Fexzdant to witzzesses David Hughes, Cindy

                 ~a~mer and Scott Lindsay, in. their Ofixcia~ .Ca~acit~es,. xx~ compliance wzth the

                 NCRCP, as to the xnotioz~ for a protective Oxder, ~e Couxt fiends, upon testimony

                 zegaz-diz~g the CV~A.s flat:

                    a. The CV~As are void aba initio and fhat it is ~irx the 'best znteresf of ikus

                       minor child and and other 7nixzor children iz~~volved xn any CVAs, that

                       De~'ense Counsel be gxanfed access to any arzd aXX iz~:forznat~ox~ un~ez the

                       subpoena z~egarding aiay C~V'As zn existence ox those yet to be discovered,

                       whzch wez-e created or in the possession o~ Ck~ezolcee County De~ai~ezit

                      o~'Social Sezvices, their employees ox agents oz :A.ttozney Scott Lindsay.

_                 b. T.~e Couz-t fi~.rth.er Orders that Defense Counsel shaXl be allowed to lave a

                      verbatim copy o;E az~y and all documents including but not liznzted to any

                     records of any ~dnd involving any CV.A.s, kept by or in the possesszox~ of

                     Cl~erolcse County 1Vlunic~pa] Go~ernnaenfi, Chezokee Co~~nty DSS ox

                     Attozx~e~ Scott Lindsay in and requested format. This shall include but not




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        Case 1:18-cv-00096-MR-WCM Document 1-1 Filed 04/13/18 Page 70 of 124
                       be limited to, the entire ale, unredacted, unedzted and unaltered in fomn or

                      content.

                  c. Exact detai]s of said CVE1s s~,a11 not be allowed to be disclosed pending

                      fiarfher Ordez• of this Court. ~    ~               ~            ~    ~   ~ ~~ ~   ~'   ~~

                  d. Defense Counsel shall be allowed to provide infoi~atioz~ to mental health

                     providers and counselors fox any c~iXd~•en or parents arxd shall be allowed

                     to have access to any mental healfih records ox resulting xepoxts az~siz~g

                     from any ck~ildren oz biolog,'tcal paz'ents involved in any C~IAs.

                 e. Thexe exist no other means oz' way at This tzme for Defezase Counsel to

                     obtain Phis information otl~ez• b~ this Couz-t Oxdea•.

                 f. Defense Counsel sha11 be allowed to share az~y infozx.~ation obtained vvitk~

                    subsequent counsel involved with a 2. X Court i£ so appointed and Ordered.

       7.    Counsel fox tlae Defense shad be al~ovved to use al] exhibits, documents, e~vzdence

             and znformatioz~ from today's proceeding, inclndiz~g that covored by and tluu a

            protective order signed in thzs case :~bz~ and iz~ any subsequent, motions ox legal

            actions in either state or Federal Court and shall be allowed to share said

            infortna~ion with af~lzatec~ counsel as well as Attorney Sean. Perrin and Attoz~ey

            Patric~C Flannigan and heir respective firms, sfaff and insurance caz-riaz~s.

                                   CONCLT7SXONS O~ LA.'VY

     1. The Court has person.al and subject matter juzisdiction over t1~e parties and subject

         matter as sefi out within these pleadings.

     2. This Order is in fhe best interest of the minor gild.

~"   3. A1X necessary parties wez•e present and represented by counsel.




                                                                                                3
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                              4. The Court incorpoxates by xe#erence fhe above findings as xf .Culp set foril~. herein.

                           5. The Court upon ~eazing arguxnenfs and evidezice co~tcludes that the mattaz•s

                                  invol~vzng the CVA's pxesenfed to the Couz-~ as dart of the Ueclaxafar~ ,1ud~enl;

-`'           ~ ~          '~     C]airr~ present coznple~ issues of law and fact and an.val~e~an unlcn.own lint

          •                       extire~ely lazge number of potential lit7igants. `Therefore, the Court• cox~c]udes that

                                 severance o~ all matters involving the Declaratory Judgment clairr~ from the above

                                 captioned custody case is necessary and appro~z7iate £or the pz'opex• adrxunistration

                                 of,~ustice.

                      x~' ~S HERB~X O~tUER~+D AAJUAG~D ANA bEC~+ED that:

                         1.      The aforestated are made a binding Ozc~ex of this Court.

                         2. 'X'1~e Coart incorporates r~zth~iz~. this Ozdex by reference the above findings and
                                                                             ,_,...
                            cone~uszo~s as if dully set  Forth    herein.

      '                  3. Tb.e Court hereby severs all xx~attexs znvol~vzng tlae DecJaratoxy Judgment clairr~

                                and the z-esulting names arad ixi:foxmat~on provided to tk~e Court by Attorney

                              Lir~dsa~ and the CCDSS'from the above ca~t~oxzed custody case for use by the

                              defense counsel zz~ subsequent actions zn state oar federal court.



                    This t~.e~ of February, 20 X $



                    Tes~~llexs, Honoxable nudge ~'xesiding




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      STATE OF NORTH CAROLINA      )   IN THL' GENERAL COURT OF JUSTICE
                                       DISTRICT COURT DIVISION
      COUNTY O~ CHEROKEE COUNTY    )   FILE NO.: 18-CVD-0046


      MICHAEL MATHIEU,

                     Plaintiff,

                v.                               PROCEEDINGS

     SHALEES GREENLEE,

                     Defendant.


                On Wednesday, February 28, 2018, commencing at 9:28

     a.m., the above-captioned Proceedings were taken in the General

     Court of Justice, District Court Division, Cherokee County, North

     Carolina, before the Honorable Tessa Shelton Sellers, Judge

     Presiding, and was attended by Counsel as follows:

     APPEARANCES:

               ZEYLAND G. MCKYNNEY, JR., ESQ.
               McKinney Law Firm PA
               23 Valley River Avenue
               Murphy, North Carolina 28906
               on behalf of the Plaintiff

               DAVID A. WTJEWICKRAMA, ESQ.
               MELISSA JACKSON, ESQ.
               BRANDON CHRISTIAN, ESQ.
               95 Depot~Street
               Waynesville, North 'Carolina   28786
               on behalf of the Defendant

               RON MOORS, ESQ.
               P.O. Box 18402
               Asheville, North Carolina 28804
               on behalf of the Defendant


     (Appearances continue)

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                 DAVID D. MOORE, ESQ.                              2                              INDEX
                 559 West Main Street                              3    Proceedings                                               5
                 Sylva, North Carolina  28779
                                                                   4   WI'PNESS: MICUAGL MATHIEU
                 on behalf of Cherokee County DSS
                                                                       Direct Examination By Mr. McKinney                      30

                   C. CALEB DGCKER~ ESQ.                          6    Cross-Examination By Ms. Jackson                        45
                   61 North Market Street                              Redirect Examination By Mr. McKinney                    57
                   Asheville, North Carolina  28801               8    WITNESS: SHEILA ANN MATHIEU
                   on behalf of David C. Roberts                  9    Direct Examination By Mr. McKinnoy                      5D
                                                              la       Cross-Examination By Ms. Jackson                        67
                                                              11       WITNESS: SHALEES MARIE GREENLEE
                                                              1z       Direct ExaminaY.ion By Ms. Jackson                      74
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                                                             16        Direct Examination By Ms, Jackson                    112
                                                             17        Cross-Examination By Mr. McKinney                    190
                                                              ie       Redirect ExaminaY.ion By Ms. Jackson                 143
                                                             19        Recross-Examination Dy Mr. McKinney                  147
                                                             zo        Re-redirect Examination By Ms. Jackson               149
                                                             Z~        WITNESS: CINDY PALMER
                                                             2~        Direct Examination By Mr. Ron Moore                  157
                                                             23        Cross-Examination By Mr. McKinney                    186
       REPORTER BY:      Mai-Beth Ketch, CVR-M, CCR          2A
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  2   WITNESS: BONNIE SCOTT LINDSAY                           Z        FEBRUARY 28, 2018                              9:28 A.M.
  3   Direct Examination By Mr. Ron Moore              189    3        (BEFORE T}iE HONORABLE TESSA SHELTON SELLERS)
  4   Certificate of Notary                            205             BY THE COURT:
  5   EXHIBITS:                       MARKED   ADMITTED       5             All right, Madam Clexk, this would be
  6   Plaintiff's Exhibit No. 1        39         41          6             16-cVD-0046, Michael Mathieu versus Shalees
  7   Plaintiff's Exhibit No. 2        39        41           "+            Greenlee,     is there anything before we
  e   Defendant's Exhibit No. 1        92        94           8             proceed?
  9   Defendant's Exhibit No. 2       145       ---           9        BY MR. 47IJEWICKRAMA:
 10   Defendant's Exhibit No. 3       lA7       ---          ~a             Your Honor, if it Please the Court, if I could
 ii   Defendant's Exhibit No. 4       167       186          11             go out of order with Mr. McKinney's consent,
 iz                                                          1z             we have a few motions for the Court~a
 13                                                          la ~           consideration today that were timely filed.
 14                                                          la             The first one is for a complete recordation by
 15                                                          15             a court reporter.     We have our court reporter
 16                                                          x6             present.     We also have a motion for
 17                                                          x7             sequestration of the witnesses boL•h before and
 ze                                                          le             after testimony.    We also have a motion Co
 1s
                                                             19             permit video-recording of the witnesses'
 zo                                                                         testimony.
                                                             Zo                           We also have a motion for
 zi                                                          Z1             designation under 2.1, Judge, and a motion for
 22                                                          zz             a protective order.    Your Honor, iE it Please
 z3                                                          23            the Court, we wouJ.d request that the Court
 24                                                          z4            allow a complete recordation of this matter,
 25                                                          ZS            as I believe we will need L'o make use of Yhis


                                                                                                      2 (Pages 2 to 5)

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          i         at a later date, the findings of this hearing.             ~         Your Honor, if it Please the L'ourt, Mr.
      2             liepresentiny Ms. Shalees Greenlee today are               2        McKinney Baas kind enough prior to today's
      3             myself, David Wijewackrama, from the Hayarood              3         hearing to file a reply to our motions and to
      4             Country bar.     I'll let everyone else introduce          a        consent to all of the motions, and we are
      s             themselves.                                                5        grateful to him for his kindness.
      6       AY MS. JACKSON:                                                  6        Specifically, Mr. McKinney stated in his
      7            I'm Melissa Jackson.                                        ~        response that the defendant has no objection
      B       BY MR. CHRISTIRN:                                                e        as it relates to Motions 2 through 7 to L•ho
      9            Your Honor, I'm Brandon Christian.      I'm                 9        Court enCaring an order making declaration for
  io               Cumberland County bar.      And with the Court's        io           complete recordation, for permitting wit~iess
  11               permission, I'm making a limited appearance             11           testimony, requiring sequestration, granting a
  iz               £or this hearing in this case today only.               1z           protective order, and for designation of Yhis
  13          BY THE COURT:                                                z3           case as exceptional 1£ the Court deemed fit.
  14               Yes, sir.                                               14           Your Honor, as a road map for today, we
  1s          BY MR. CHRISTIAN:                                            is           provided Mr, McKinney uiit- h a memorandum of
  16               Thank you, Your Honor,                                  16           law, we also sent a copy to the Court.      Tf it
  17          6Y MR. RON MOORE:                                            17           Please tha Court, before we get into the
  1e               Your Honor, Ron Moore from Buncombe County.             le           substance of Mr. McKinney's complaint, we wish
  l9          BY MR. WIJEWICKRAMA:                                        19            to proceed on the declaratory judgment portion
  20               Your Honor, 1f it Please the Court, I have a           Zo            by consent which we believe will have direct
  21               proposed order for the Court's consideration           Z1            bearing on the Court's rulings in the
  zz               at the end of today, if I may approach.                z2            underlying complaint.
 23           BY TILE COURT:                                              23       BY THE COURT:
 24                You may.                                               24            Mr. McKinney, any response?
 zs           BY MR. WIJEWICKRAMA;                                        Z~       BY MR. MCKINNEY:



                                                             Page 8                                                               Page 9
      i            I did file a response to their motions, and I           1       BY THE COURT:
  z                don't have any objeckion as Mr, Wijewackrama            2            I agree with you.   I can't make the
  3                said to what S've delineated, but I think               3            designation.
  4                there's a problem with proceeding with this             4       BY MR. MCKINNEY:
  5                matter if the Court designates Yhis case as an          5            Right.
  6                exceptional case.     i don't think -- fizst of         6       BY THE COURT:
  i                all, I question whether or not the custody              ~            I can make a recommendation to Judge Walker or
  e                action itself can be designated an exceptional          8            to Judge Coward who then make their
  9                case.    That~s not what T'm consenting to.             9            recommendation to the chief justice ---
 10                What I'm consenting to is I have no problem            10       gy MR. MCKINNEY:
 11                with the Court designating this an excepL-ional        11            Right.
 12               case or whoever is supposed to under the                12       BY THE COURT:
 13               statute,      I've been in a number of business         13           --- in oxder for that to happen.
 14               court cases, but I'oe never been In an                  i~       BY MR. MCKINNEY:
 15               exceptional case.      But I Chink it's the chief       is           Right.    But my point is, Your Honor, with
 16               justice that may have to designate it.         It is'   16           respect to the custody agreement that was
 17               in business court cases.      I~ve been in a            17           entered into by the parties, if he's asking
 ie               number of those cases.      I think that if the         le           Por a declaratory judgment and he's asking for
 19               chief justice designates it an exceptional              ~9           a designation of that as an exceptional case,
 20               case, than it has to go before another judge.           zo           I don't think we can ]rear anything with
 2i               Thet judge can hear il:.     You're outside the         Zx           respect Lo that today.   And what I'm willing
 zz               county.      Tf it's a jury matter, it has to be        27           to stipulate to for the purposes oP Chia
 23               heard in this county, but T think you can hear          23           custody action -- Z'm willing to stipulate
 2A               motions ouCside the county.      But if that's          24           that the custody agreement is not an order of
 zs               cuhat- they're asking for with respect to the --        zs           the Court, that it has no legal force or



                                                                                                                3 (Pages 6 to 9)

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      1   ~      effect as an order of Lhe Court.      Hut I think            1         think there's any reason really, Your Nonor,
      2          Che Court is going to have to take evidence --               2         for the Court to do Lhat because Y am
      3          I don't know iE you have to take evidence, but               3         consenting and stipulating that that agreement
      4          -- there seems Yo he some willingness to argue               4         does not have the effect of a court order.
      5          that whatever status quo is created by L-his                 5         I'll let somebody smarter than me decide
      6          agreement that the Court should consider that.               6         whether or not it was outside 7B and whether
      ~          And if that's where they're coming from, then                7         it was improper and so forth.    All I'm
      e          I think that's something that Your Honor is                  e         interested in is keeping this child safe.
      9          going to have to look at once you determine                  9   BY THE COURT:
  to             the circumstances surrounding the execution of           to            Can I see parties at the bench?
  ii             that agreement.   And my argumont to the Court           11      BY MR. WIJBWICKRADIA:
  12             on that point would be it really doesn't                 12            Your Honor, if I may also ---
  13             matter.   It doesn't matter whether there was -          13      BY THE COURT;
  14             - there was fraud in the execution of: the               14            May I see the parties at the bench?
  xs             agreement.   It doesn't matter whether there             is      4Y MR. 47IJEWICKRAMA:
  16             rras -- whether there was coercion.    For               ib           Sorry.
  ~~             purposes my action, what I'm saying to Lhe               17      (BENCH CONFERENCE)
  1B             Court is the status quo for a year has been              le      BY MR. WIJE4lICKRAMA:
 19              that this child has been in this location,               19           Your Ironer, if it Please the Couxt, if T may
 20             it's doing fine, and we don't want the child             zo            be heard on one issue?
 Zi              drug around and upset until we can have a full          21       BY 'f HE COORT:
 z2              hearing on the merits.    That's my position,           zz            Yes, sir.
 23              But T'm not going to get involved in whether            z3       BY MR. WTJEWICKRAMA:
 24              there eras fraud, whether there was coercion.           24            I made a clerical error when filing my
 25             Thare~s no xeason for me to do that.        I don't      25            response to pleadings, and i apologize to the



                                                         Page 12                                                               Page 13
  1             Court £or that.    I put Y.he declaratory                 x            All right, based on the preliminary matters
  2             judgment action under the motions section as              Z            that are before [he Court, the Court eiill
  3             opposed to the counterclaim.    I've spoken to            3            allow, since the parties have stipulated so,
  4             Mr. McKinney, and consents to me being allowed            4            to complete recordation.     The Court will grant
  5             to consider this ae -- present this as a                  5            the aequeatration motion.    The Court will also
  6             counterclaim, waives his to answer as such.          I    6            grant the protective order and present.
  ~             did also want to say thaC S agree with                    ~            However, the Court will hold that -- any
  8             everything that Mz. McKinney said, and I                  B            ruling on the moL-ion for a 2,1 fudge until the
  9             apologize iP I misstated it earlier.      Wa would        9            end oP the evidence today.     And ao who would
 is             only ask that the court consider the request             to            be the first witness to be called?
 it             for a 2.1 at the end of today~s hearing.       The       11       BY MR. MCKINNEY:
 12             last thing I would like to ask the Court is              x2            Michael Mathieu, Your Honor.
 13             that based on the fact that there is no jury             13       BY MR. DAVID MOORS:
 is             present, Y know that we re limited to the four           19            Your Honor, there was a motion to quash tiled
 15             corners of the document.    But since we're also         is            on behalf of the Department of Social
 1s             looking for some information that's been                 16            Sosvicos, and we are noC a party to this
 17             subpoenaed and we're also trying to prepare              i~            action.      I ---
 xe             for the declaraL•ory judgment, should Che Court          le       BY THE COURT:
 19             grant it, we may ask. some questions outside             39            t don't have a motion to quash.
 Zo             the four corners of tha initial complaint.               Zo       BY MR. WIJEWICKRAMA7
 21       HY THE COURT;                                                  21            We have not receivad any motions.
 22             Do you have any xeaponse, Mr. McKinney?                  22       BX MR. DAVID MOORS:
 23       BY MR. MCKINNEY:                                               23            Okay.
 74             I have no objection to that, Your Honor,                 2<       BY THE WURT:
 ZS       BY THE COURT:                                                  25           I don't have it in the file, Mr. Moore.



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       1   - 6Y MR. DAVID MOORE:                                             i         I'm listening.
      2          Okay.                                                           HY MR. WIJE47ICKRAMA:
      3    AY THE CDURT:                                                 ;             Your Honor., Mr. Moore and I had a conversation
      4         So is there -- I have the initial complaint,                 4        in good faith, and he did relate to me he was
      5         Judge Leslie's ex parte order, the response by               5        at the School of Government aC a program, and
      6         Mr. Vtijowackrama with the counterclaim, and                 6        he said he intended to request a protective
      ~         tk~en Mt. McKinney's reply.                                  ~        order, and I understood that to be the case.
      B    BY [4R, DAVID MOORE:                                              8        Regardless of whether Che motion r+as Cimely
      9         All right.                                                   9        filed, I think'-- well, I can't speak for Mr.
  10       gy MR. LINDSAY:                                              to            McKinney, but I believo everyone agrees that
  li            I'm not party either, buC I have certain                li            there should be a protective order.     Md I
  12            documents subpoenaed from me.     I received that       12            would like the Court to note that in the order.
  13            yesterday morning.     It's kind of diF£icult to        13            that is presented to the Court, there is a
  14            get all this stuff that was asked for                   is            language for a protective order to keep the
  is            together.     So I have some stuff, but probably        is            CPA documents sealed.     The reason I did that,
  16            not all of this stuff.                                  16            Your Honor, is because I hadn't gotten a
  i~       BY THE COURT:                                                x7            chance to catch up with Mr. Moore to see if
  ie            Okay.                                                   ~e            one Dias sent' over., but I did put one in this
  is       gy MR. MCKINNEY:                                             19            morning when I was preparing this order.      And
  20            Your Honor, I would just note that the                 z0             in all candor, Mr. Moore and I did have an
  Z1            subpoenas were sent to me -- copies of the              Zi            understanding.     I did talk to co-counsel about
  ZZ            subpoenas were sent to me on February 2nd.              2z            making sure there would be a protective order.
  T3       BY MR. WIJEWICKRAMR:                          ~             23
 Z<             Your Honor, iP it Please the Court ---                 24        BY MR. DAVID MOORE:
 ?5        BY THE COURT:                                               25             And whether or not there's a written one that


                                                             Page 16                                                          Page 17
  1             has made ita way to the Court ox not, I would            1            have documents provided for this hearing.
  z             ba making an oral motion pursuant to Rulo 45             2       HY MR. WIJEWICKRAMA:
  3             today because the juvenile code does in fact             3            Your Honor, I do have to agree.    However,
  9             protect the con£idantiality of certain                   4            while we did consent to a protective order
  5             records.    And we can -- and i will provide a          S             being entered, T did subpoena these documents.
  6             protective order that I would uae normally for          6             And while I agree with Mr. Moore, 7B applies
  ~             production of juvenile records which allows              ~            to parties, and we issued Chis subpoena under
  8            for the redaction of certain information.                 B            the North Carolina rules of civil procedure,
  9            Because we had not been heard yet on that and            9             Rule A5.   And we did ask that they produce --
 zo            because there's not an enCered protective               10             that they bring these documents ao that Che
 11            order, those documents are noY going to be              11             CourC could review these documents in camera.
 12            available fzom the witneasos who were                   12        BY MR. DAVID MOORE:
 is            subpoenaed today because of that.     And Z             13             We can have those documents.    I mean, that's -
 i~            apologize if there was a mieunderatanding               14            - that's -- we have the Pile here -- and we've
 is            because that was not my -- we're not a party            is            got the file here.     It's just not been
 16            to this action.     So we re in an unusual spot         16            redacted is my point, that -- with repottore'
 17            here.     There are also witnesses who have been        i'+           names and -- it's not been, has it7     The
 le            subpoenaed Prom the Department of social                le            redacCiona have occurzed.     So the file is
 i9            Services.     I'm here on behalf of the                 1s            present in order to be reviewed in camera by
 20            department and the witnesses in their official          zo            the Court, but it aJ.so does fall out, to t2r.
 Zi            capacities, and I obviously can't participate           21            Wijewickzama's point, outside of ChapCer 7E
 2z            on what may be relevant or may not be relevant          z2            which raises the entire different level of
 23            documents that I might believe -- so I -- I'm           23            confidentiality for purposes of a private
 2+            hand strung in what I can do other than                 24            custody action.     I -- it was my understanding
 25            provide a protective order and then we will             25            and impression that we were going to deal orith


                                                                                                            5 (Pages 14 to 17)

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      1         the confidentiality issue today because I'm             1         Correct'1
      z         not a party, and I can not -- I don't have any          2    BY MR. DAVID MOORE:
      3         formal role here.     T can't sit here and              3         That's correct.
      4         object.                                                 4    DY THE COURT:
      5    BY MR. WIJE4IICKRAMA:                                        5         So ordered.
      6         Your Honor, Mr. Moors and hip client are tha            6    BY MR. DAVID MOORE:
      ~         same as Apple or IHM or Microsoft.    If they           ~         Thank you.
      e         are subpoenaed to produce documents, they are           8    BY MR, 4TIJEWICKRAMA:
   9            to produce the documents for the Court to               9         Thank you.      Would Your Honor 11ke to do the
  to            reviow under the -- and this subpoena was           is            consent order right noef7
  ~~           signed by Your Nonor, by a judge, and i.t was -      it       BY THE COURT:
  1z           __                                                   i2            Mx. Decker?
  13      gy THE COURT:                                             13       BY MR. WTJEWICKRAMA:
  14           And the documents are here.                          14            'Phere is one other issue that ire have to deal
  is      gy MR. WIJFWICKRAMA:                               ~      15            with before we get started, and I'll let Ms.
  i6           yes,                                                 i6            Jackson and Mr. Decker ---
 17       BY THE COUi2T:                                            17      BY MR. DECKER:
 1e            I think Mr. Moore is just wanting the record         le            Oh, I thought he was. about to bring something
 1s            Lo reflect that there is the additional layer        is            else up.      Your Honor, I've been retained to
 20            of the protective order in which he is               20            represent Mr. David Roberts ---
 zl            requesting on behalf of the fact that they're       Zx       BY THE COURT;
 ZZ            }uvenile records.                                   ZZ             Yes, sir.
 23       BY MR. WIJEWICKRIIMA:                                    23       BY MR. DECKER:
 24            I agree and that's in the order.                    24             --- who is the legal father.
 25       RY THE COURT.                                            z5       BY TI1E COURT:


                                                       Page 20                                                           Page 21
  1            Yea, sir.                                            i       AY THE COURT:
  z       BY MR. DECKER:                                            2            --- who has been notod as the legal father ---
  3            There is now evidence that he is not the             3       BX MR. DECKER:
  4            biological father, and I believe that, one, he       ~            Yes.
  5            wishes to be removed as a party as he is not         5       BX THE COURT:
  6            the biological father, and Y think there is          6            --- of this juvenile that is part of this
  ~            some paperwork in the mix of all this                ~            custody action?
  8            loveliness that will legitimate the biological       B       BY MR. DECKER:
  9            father.                                              9            Yes.
 is       IIY THE COURT:                                           10       BY THE COURT:
 ii            Okay.                                               1i            And you have indicated to the Court, which was
 12       BY MR. DECKER:                   ~                       12            a question of the Court when the Court read
 i3            So I've spoken with him, told him what to           i3            the pleadings last night, that there is      ,
 14            expect.     He understands and he is here and for   1~            evidence to which indicates that he 1s not the
 is            the record waives any requirement of notice to      15            father -- the biological father of the minor
 1s            any further hearings and would ask to be, I         is            child?
 1~ .          guess, excused as a party to this hearing.          17       BY MR. nECKER;
 1e       gy THE COURT:                                            18            Yes.
 x9            So -- Mr, Decker, so that Y am clear ---            19       BY THE COURT:
 2~       BY MR. DECKER:                                           Z~            Would that be in the form of a DNA test?
 21            Yes.                                                21       BY MR'. DECKER: .
 z2       BY THE COURT:                                            z2            Yes, Yoar Hanor.
 z3           --- you represent David Cody Roberts ---             23       BX THE COURT:
 ~4       BY MR. DECKER:                                           x4            And there will be evidence of such DNA test?
 ~s            Yes.                                                zs       BY MR. DECKER:


                                                                                                         6 (Pages 18 to 21)
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                                                          Page 72                                                             Page ?_3
      i   ~        We11, I can't really forecast the learned ~              1         Have a lovely afternoon, Mr. Decker.
      2            minds in this room's actions.    I iaould assume        2     RY MR. DECKER:
      3            that, yes, there is going to be ---                     3          Thank you.
      4       BY THE CUURT:                                                4     BY 'PHE COURT:
      5            And he now waives any other. ---                        5          Always a pleasure.     Mr. Roberts, you~re free
      6       HY MR. DECKER:                                               6          to go, sir,
      ~            Yes.                                                    ~     BY MR. ROBERTS:
      8       BY THE COURT:                                                8          Thank you.     You have a good day.
   ~               --- right that he may have to this child ---         9        BY THE COURT:
  10          gy MR. DECKER:                                           to             Now, before we go on for just a moment, Mr.
  11               Yes.                                                11             Lindsay, you indicated that you were just
  iz          BY THE COURT:                                            1z             served with a subpoena; is that correct?
  13               --- or to be a part of this proceeding?             13       BY MR. LINDSAY:
  14          8Y MR'. DECKER:                                          14             Yesterday morning, Your Honor.
  is               That is correct.                                    15       BY THE COURT:
  1s          py MR. MCKINNEX:                                         16             And that you do not have documentation riith
  17               Your Nonor, we would stipulate to that.            x~              yowl
 1e           gy q~HE COURT:                                          1e        BY t4R. LINDSAY:
 is                Thank you, Mr, McKinney.                           19              I have some, Your Honor..
 Zo           BY MR. DECKER:                                          20        BY THE COURT:
 Zi                And with that being said, I would -- even          Z1              I show l:hat you were also served oii.th a
 22                though I'm sure this is going to be a whole        2?              subpoena on February 5th; is that correct3
 z3                lot of fun to watch, but I would ask to be         23        BY MR. LINDSI~Y:
 z4               'excused, Your Honor,                               z4              That was, as T recall, the documentation that
 25           HY THE COURT:                                           25              was in the possession of the Department of


                                                          Page 24                                                            Page 25
  1               Social Services in which i have not had access       1             protective order proposed, and I have shown
  2               to any of those records oz the Department            2             counsel now.
  3               since January 10th.    I've not produced any of      3        BY MR. WIJ6WTCKRAMA:
  ~               that.                                                a             We consent on the tacord, Your Honor, on
  5       BY THE COURT:                                                5             behalf of the defense.
  ~               All right, well, we will take it as it comes.        6        BY MR. WIJEWICKRAMA:
  ~               Do the parties have lists of proposed                ~             I don't have any objection.
  B               witnesses?    If not, I suggest that they write      8        BY THE COURT:
  9               them out now.                                        9             All right.
 10       gy MR. MCKINNEY:                                            10        BY MR. DAVID MOORE:
 it               Your Nonox, can we approach?                        it             If I may approach?
 1z       BY THE COURT:                                               12        BY THE COURT:
 13               You may.                                            13             You may.     Thank you, Mr, Moore.
 1~       (BENCH CONFERENCE)                                          •14       BY MR. DAVID MOORE:
 15       gy SHE COURT:                                               15             Ao I need to file iY, or are you going to just
 16               Ladies and gentleman, it's my understanding         is             leave it here?
 17               the parties axe going to review medical             17        BY THE COURT:
 le               records that were subpoenaed in this                ie             i 11 just leave it here.     That's fine, Mr,
 19               particular case.    We 11 be at ease for about      19             Moose.
 Zo               20 minutes.                                         Zo        BY MR. WIJEWICKRAMII:
 zx       BY MR. MCKINNEY:                                            21             Your Honor, if it Please the Court, there was
 z2               Thank you, Your Honor.                              22             one issue earlier that we need to clarify
 23       (OFF T}IE RECORD)                                           23             before wa start calling the witness list.
 z4       DY MR. Dl1VID MOORS:                                        2<        BY THE COURT:
 25               Your Honor, if I may approach, I do have your       z5             What1


                                                                                                            7 (Pages 22 to 25)
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                                                            Page 26                                                              Page 27
         1   BY MR. 4lIJEWICKRAMA:                                            1         5th which Mr. Lindsay Sias served on February
         2        Your Honor., in speaking with PSr. Lindsay                  2         5th, I wanted to know what documentation Mr.
         3        earlier and him speaking with the Court, I did              3         Lindsay had personal possession of either at
         4        need to make an issue of clarification.        It is        4         his former offico, on any computer that he may
         5        true that we did issue a second subpoena that               5         have access to oc possess, or his residence.
         6        Judge Kris Earwood signed on 2-28.       That list          6    BY THE COURT:
         ~        which ha received yesterday requested                       ~        And I untlerstani3 that, and I ---
         8        information regarding his continuing education              e    BY MR. LINDSAY:
         9        and travel records.      However, Your Honor, Mr.           9        If it Please the Court, I have CVAs that I
     to           Lindsay has been in possession of the subpoena          10            have -- I think I have approximately 30.     I
     11           since February 5th for him to produce for the           it            have those.   And I don't have access to the
     12           Court to review all CVAs or emails or                   12           county email.
     13           documents in his possession involving any of            13      BY THE COURT:
     14           the CVAs that ha may have knowledge or                  14           ]U~d what I said earJ.ier on the record is we 11
     is           possession of.      While I respect the fact that      15            take it as it comes.
     16           Mr. Lindsay has been the county attorney for           16       BY MR. WIJEWICKRAMH:
    17            four years, the state bar does require him to           i~           Thank you, Your Honor.
    1a            keep possession of his records for six years,          z8       BY THE COURT:
    19            And what we were asking for were the records           19            But right now it's too premature for us to
    zo            that would have been kept off site or at his           Za            make any decisions on any of that.
    Zi            residence or at another location.      And I           Zi       BY MR. WIJEWICKIiHMA;
    2z            understand that he does not have access to the         az            Thank you, Your Honor.
    23            documents at the Department of Social                  23       BY THE COURT:                 .-     •-
    24            Services.     F]hat I was asking fox in this           24            So we'll see cohere that road leads us later,
    25            subpoena, which Your donor signed on February          25            if anywhere.



                                                           Page 28                                                               Page 29
     1       BY MR. WIJEWICK[UIMA:                                        1            Mathieu?
     2            I just wanted to -- yes, Your Honor.                    2       DY MR. MCKINNEY:
     3       BY THE COURT:                                                3            Yes, Your Honor.
     4            All xight, are wa ready to proceed with                 4       BY THE COURT:
     5            evidence?                                               5            And Larry Brazil.   The other twa witnesses
     6       BY MR. MCKINNEY:                                             6            that I have on the list are both parties to
     ~            Yea, Your Fionor.                                       ~            the action which would be Shaleas Greenlee and
     8       BY THE COURT:                                                e            Michael Mathieu.
     9            All right, I'm going Lo go through a list of            9       DY MS. JACKSON:
~   to            potential witnesses.     IC i call your name, you      to            And, Your Honor, ae well I need to make one
    11            axe r.o qo to the grand jury room.    I believe        11            addition to that list, Ma. Melissa Thrasher
    12            that bailiffs have set that up for all the             12            or Melissa Heron.   She has shown up, and she
    la            witnesses.    It is a complete sequestering oP         i;            potentially may be called.    So in the
    14            the witnesses.     When you are in here to             i~            abundance of caution, T would add her, Your
    15            testify, you are not to discuss your testimony         15            Honor.
    16            or any questions that may have bee❑ asked of           16       BY THE COURT:
    17            you in front of any of the other witnesses.            i~            Melissa Thrasher, are you in the courtroom?
    le            what happens in the courtroom stays in the             le            Ma'am, I'm going to ask you to step out also.
    19           courtroom, ao to speak.      Do I make myself           19            Any othez additions to the list?
    Zo            clear?    Tf I call your name, other than the          20       BY MS. JACKSON:
    zl           parties who are allowed to remain, you will.            21            No, Your Honor.
    z2           need to leave the courtroom.      David Cody            22       BY THE COURT:
    z3           Roberts has left,      kie no longer wishes to be a     23            All right, Mx. McKinney, you may call your
    z4           part,     Scott Lindsay, David Hughes, Cindy            z4           first witness,
    Z5           Palmer.     Is it Sheila, Mr. McKinney?   Sheila        z5       6Y MR. MCKINNEY:



                                                                                                            8 (Pages 26 to 29)
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                                                            Page 30                                                           Page 3].
      i             v7e call Michael Mathieu.                                1    A    I work in the nursing home.
      2       BY THE CUURT:                                                  Z    Q    41hat sort of employment did you have before
      3             All right, Mr. Mathieu, if you will, coma                3         that?
      Q             around and be sworn.    Mr. McKinney, the                4    A    I ~~as working at Brother's Restaurant for
      5             witnes3 is with you.                                     5         about almost a year.
      6             MICHAEL MATHIEU, being duly sworn to Cell the            6    Q    What did you do at Brother's Restaurant?
      ~       truth, the whole truth, and nothing but L•he truth             ~    A    I was a cook.
      e       of his own knowledge concerning the within matter,             e    Q    Do you know Shalees Greenlee?
   9          testified as follows:                                          9    7~   Yes, sir.
  10          DIREC'P EXAMINATION BY MR. MCKTNNEY:                       i~       Q    How do you know her?
  li          Q    Would you please state your name?                     11      1~    We used to date.
  32          A    Michael Mathieu.                                      17       Q    And do you have a child with Shalees Greenloe7
  13          Q    Michael, where do you live?                           13      A     Yes, air.
  14      A        Murphy, North Carolina or here.                       1~       Q    What is the name and age of that child?
  15      Q        How old are you?                                      15      A     Alana Roberta, and her age is a year old --
  16      p        Twenty-seven.                                        16             almost two.
  17      Q        How long have you lived in Murphy?                   17       Q     Was she horn on July the 5th, 207.67
  1e      A        About all my life.                                   1e       A     Yes, s1.r.
  19      Q        Are you presently employed?                          19       Q     At the time that Alana was born, were Chere
 20       A        Yes, sir.                                            Z~             any complications with har -- with her birth
 21       Q        How are you employed?                                21             and Shalees' pregnancy?
 zz       A        I work at Murphy Medical Center ---                  22       A     Yes, sir.
 2J       Q        How long have you been employed there?               23       Q     Can you tell the Court about that?
 z4       A        For about almost five months.                        29       A     I know that while Shalaes was pregnant with
 25       Q        What do you dot                                      25             her, she had overdosed L•wo Limes, and Al.ana


                                                          Page 32                                                             Page 33
  i                was going through withdrawals.                        1       A     From my mom.
  z       BY THE COURT:                                                  2       Q     And who is your mothflr7
  3                I'm sorry, I didn't hear what you said.      A1ana    3       A     Sheila Mathiou.
  4                was born what?                                        4       Q     And, Michael, where are you living right now?
  5       BY THE WITNESS:                                                5       A     At 410 Hiawassee Street in Murphy.
  6                With withdrawals.                                     6       Q     And is that your mother's residence?
  ~       llIRECT EXAMINATION RESUMED BY MR. MCKINNEY:                   ~       A     Yes, sir.
  e       Q       .And was she -- did she in fact receive                8       Q     How long have you been living with your
  9               morphine treaCment for those withdrawals               9             mother?
 is               before she was xeleased from Lhe hospital when        i~       A     This -- well, I did have my own place with my
 11               she was born?                                         11             ex-girlfriend.     We were living together, and
 zz       p       z believe so.                                         12             we broke up.     5o I moved back in with my mom.
 13       Q       And where was the child -- where did you all          13             So about -- probably it's been two years.
 14               take the child after tho child was born?              14       4     And who else resides there besides you,
 15       A       I was out of town working at the tima.     So I'm     15             Michael?
 16               not sure where Shalees had tooken her.                16       A     My father and my sister.

 i~       Q       Where were you working?                               17       Q     What i.s your father's name?
 le       A       I was working for an employer in Florida.      So     38       A     Michael Mathieu.

 19               I was out of town most of the time.                   19       4     And what does he do7

 20       4       Okay, and when you got back in town, did you          Z~       A     He works for Amos Refrigeration.

 Zi               qo see your child?                                    21       Q     And how long has he worked for Amos
 22       A       Yea, I got a call saying that Shaleea was             22             Refrigeration?
 z3               willing to sign her rights ovor to me                 23       ~1    Probably ten-plus years.
 24               temporary at the timo.                                24       Q     And who is your sister?
 25       Q       Who did you get that call from?                       25       A     Neather Mathieu.



                                                                                                             9 (Pages 30 to 33)
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                                                           Page 34                                                             Page 35
         i   'Q    And how old is she?                                    I            park, play wi.Ch her, just anything she wants.
         2    A    She is 10 -- 18.                                       z       Q    Have you iecei.ved any financial support at all
         3    Q    A~td once you yot that phone call about                3            from Shalees Greenlee for the child?
         4         assuming temporary custody of the child, did           4       A    I think ahe yave me like $20 one time.
         5         you go get the child?                                  5       Q    And, Michael, has the=e been a DNA test done
         6   A    Yes, sir.                                               6            to determine parentage of the child?
         ~   Q    And where was the child ~ahen you went to pick          ~       A    Yes, sir.
         e        her up1                                                 8   Q        And what were tha results of that DNA test?
         9   A    She was in daycare.                                     9   A        That I o-ias 99.9 percenC the father.
     to      Q    And what daycare was she in?                        i~      Q       And do you wanC custody of. your daughter2
     11      A    It cuas -- I don't know the name, but it was in     11      A       Yes, sir.
     1z           Peachtree.                                          12      Q        Does your daughter have any health problems at
     t3      Q    And have you had your daughter since that           13              the present time, Michael?
     14           time?                                               14      A       I think she's fine right now.     She's got
    15       A    Yes.                                                15              allergies, but ---
    16       Q    And have you provJ.ded care for your daughter      16       Q       V]ho takes her to the doctor?
    17            since that time?                                   17       A       Me or my mom.
    le       A    Yes, sir.                                           xe      4       tQichaol, whan -- after you went to pick your
    19       Q    Have you lived continuously with your mother       i9               daughter up at the daycare, did you have any
    2~            during that period of time?                        20               involvement with respect to that child with
    xl       A    Yas, air.                                          Zi               the Department of Social Services hors in
    ZZ       Q    And can you tell mo what sort of things that       22               Cherokee County?
    23            you do for your child?                             23       A       What do you mean?
    24       A    I feed her, bathe her, buy her anything she        24       Q       Well, at some point in time, did you talk to
    25            needs, diapers, wipes.    I take hex to the        25               Shalees about who was going to have custody of



                                                          Page 36                                                              Page 37
     1            the child?                                          i       A       Sha was about three months old.
     Z       A    Yeah, she told me she wanted to sign her over       2       Q       Now, you had seen your daughter prior to that
     3            to me.                                              3               time; hadn't you?
     4       Q    Okay, when did ahe tell you that?                   4       A       Yes, sir.
     5       A    Alana was probably almost thzee months old.         5       Q       I3ad you seen her -- how many times had you
     6       Q    And did you meet with any of Lhe workers from       6               seen her between the time she was born and the
     ~            the Department of Social Services - about your      ~               time you pickod her up at the daycare?
     8            daughter?                                           8       A       Well, before I got full custody of her, I had
     9       A    Yea, sir.                                           9               temporary custody.     So I was -- I was on and
    io       Q    When did you do that?                              10               off.   Shalees would have her and then I would
    33       A    It was probably right after T talked to            11               have her after.
    1z            Shalaes.    I went there and. signed the papers    12       Q       Well, let me sestets the question, Michael.
    13            of the custody.                                    13               During the first three months of your child~s
    1<       Q    okay, and ---                                      x~               Life, how much time did you spend with her?
~   15       BY THE COURT:                                           15       A       Probably half -- a month and a hal£ of three
    16            Can we stop fox 3uat a moment, Mr. McKinney?       16               months.
    i~            Can you put a time Prams on when he picked her     1~       Q       Now, after you picked her up at the daycare
    1e            up at the daycare ao that I've got some            18               then, did Shalaes Greenlee continue to visit
    x9            clarification when he came back in town and he     19               with her?
    Z~            actually ---                                       Zo       A       Maybe once or twice.
    21       BY MR. MCKINNEY;                                        z1       Q       Before you met with DSS?
    2z            Okay.                                              22       A       Yes.
    23       DIRECT EXAMINATION RESUMED BY MR. MCKINNEY:             23       q       And this meeting that you had with DSS, who
    24       Q    How old was your daughY.er when you picked her     24               told you to go to ASS?
    25            up at the daycare?                                 25       A       I think Shalees had called my mom because I



                                                                                                           10 (Pages 34 to 37)
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                                                            Page 38                                                             Page 39
      i         was out of town.    And L•hen when I got in town,          i       (PLAINTIF'F'S EXHIBIT NO. 1 MARKED)
      2         I went to DSS to sign papers for full custody.             2       DIRECT EXAMINATION RESOMRD }3Y MR. MCKINNEY:
      3    Q    But who kold you to go to the DSS building to              ~       Q    Michael, I'm going to show you first
      4         sign these custody papers?                                 4            P1ainY.iff's Exhibit No. 1 and ask you if you
      s    A    My mom called me and told me.                              5            recognize that?     You can look at each page of
      6   0.    All right, and when you got to the DSS                     6            it.   (Tenders)
               building, tell me what happened.                            ~       A    (Upon review)     Yes, sir, I remember this.
      8   A    2 was talking to a lady who had the custody                 8       Q    Okay, and what is that?
      9        papers, and Shalees had already signed them.                g   A        This is the custody and visitation agreement.
  io           She told me I signed them and I have full               to      Q        And did you sign that before a notary public?
  11           custody of her.                                         ~1      A        This is o~here I signed at Social Services.
  12      Q    And do you know who L•hat woman was?                    i2      (PLAINTIFF'S EXHIBIT N0. 2~MARKED)
  13      A    I don't remember her name.                              13          DIRECT EXAMINATION RESUMED BY MR. MCKINNEY:
  14      Q    But Shalees had already signed the papers when          1Q      Q        okay, and I want to hand you what's been
  1s           you arrived ehere?                                      15               marked Plaintiff's Exhibit No. 2 and ask you
  16      A    Yes, sir.                                               16               if you recognize that.    (Tenders)
  17      Q    And did you talk to St~alees about why she was          17      A        (Upon review)     Yes, sir, that's the temporary
  ie           doing what she was doing?                               le               agreement.
 19       A    She -- Stialees told me that it iaas best for           19      Q        Now, do you remember where you signed the
 20            Alana to be with me.       That was pretty much it.    Zo                temporary agreement?
 21       Q    Now, did you also sign a temporary                     zl       A        T think there was a notary expressly --
 zz            guardianship agreement with respect to Alana           22                somebody was a notarizer.
 23            Lilly Roberta?                                         23       Q        How did you get this document, Plaintiff's
 za       A    Ism not sure if I did or noL•.     I don't             24                Exhibit No. 2?    How did it come into your
 zs            remember.                                              25                hands?



                                                         Page 40                                                               Page 41
  1       A    I think L-hat's the paper that Shalaea brought.         1       BY MS. JACKSON:
  z       Q    Shalees brought this to goal                            2               No objection.
  3       A    Yeah, we went to a notary or -- yeah,                   3       BY THE COURT:
  4            expressly to sign it.                                   4               SO admitted.
  s       Q    Juanita Nampton, do you know her?                       5       (PLAINTIFF'S EXHIBIT NOS. 1 AND 2 ADMITTED)
  6       A    That was the Social Worker, I believe.        That~s    6       DIRECT EXAMINA'PION RESUMED BY MR. MCKINNEY:
  7            her name -- or was that the -- I'm sorry,               ~       Q       Michael, when you signed these two documents
  e            that~s the notarizer7                                   e               here, Plaintiff's Exhibit 1 and 2, were you
  9       Q    Uh-huh.    (Affirmative)    And you signed it on        9               represented by an attorney?
 30            October the 6th, 2016?                                 30       A       No, sir.
 13       A    Yes, air.                                              11       Q       So you weren~t represented by an attorney when
 1z       Q    What was your understanding of why you were            i2               you signed the temporary guardianship
 13            signing ?laintifP's Exhibit No. 2?                     i;               agreements is that correct?
 1/       A    She was givi.ng me temporary cueCody.                  i~       A       CorxecL.
 15       Q    Okay, is that what she told you?                       15       Q       And you weren't represented by an attorney
 16       A    Ye9.                                                   x6               when you signed the custody agreement?
 i~       Q    Okay, and what was your understanding of why           17       A       COYTBCt.
 1s            you were signing PlaintifE's Exhibit No. 17            1e       Q       Do you know whetheY or not Shalees Gzeenlee
 19       A    This was -- I was getting full custody of her.         19               was represented by an attorney at the time she
 20       Q    Okay, and at the time ---                              zo               signed those documents?
 21       HY MR. MCKINNEY:                                            Z1       A       Ism not sate if she was or not.
 22            Your Honor, we would move to admit P1ainYiEf~s         22       Q       Other than the rapresentaL•ion made by the DSS
 23            Exhibits 1 and 2 into evidence.                        23               woxker at the Cherokee County Department of
 24       BY THE COURT:                                               24               Social Services to the effect that that
 zs            Any objection?                                         25               document was giving you full custody of your



                                                                                                            11 (Pages 38 to 41)
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      i         daughter, did any othez employees or workers           i        r+ith the poople ---
      z         with the Cherokee County Department of Social          7   A    Yes, sir.
      3         Services make any sort of representations to           3   Q    --- at the Cherokee County Department of
      4         you with respect to that Plaintiff's Exhibit           ^        Social Soxvices7
      5         No. ].?                                                5   A    Yes, sir.
      6   A     No.                                                    6   Q    Was 1Y your undetsCanding when you signed
      ~   Q     Did any workers or employees of the Cherokee           ~        Plaintiff's Exhibit No. 1 that you were going
      8         County Department of Social Services make any          B        to have custody of your daughter until she was
      9         representations to you with respect to             9            18?
  io            plaintiff's Exhibit No, 2 ---                     10       A    Yes, sir.
  11      A     No.                                               it       Q    And in the past three months, have you had
  1z      4     --- the temporary guardianship agreement?         12            contact with Shalees Greenlee?
  13      A     Na ,                                              13       A    No, siY.
  14      Q     Did you ever meet with Mr. Scott Lindsay, the     19       Q    And why did you file this complaint and this

  i5            Cherokee County Department o£ Social Services     15            action?
  i~            attorney?                                         16       A    File what?    What do you mean?
 ~17      A     No.                                               i~       Q    Why did you file this action to get custody of
 le       Q     Did you ever speak with him?                      18            your daughter?
 is       p     No,                                               19       A    Because shalees came to my house and took
 Zo       Q    Did your mother have more contact with the         20            Alana, just walked out the door with her as
 Z1            Cherokee County Department of Social Services      Zi            she was visiting her..
 2z            than you didl                                      22       Q    And did she tell you that she wasn't going to
 z3       11   I think we had about the same.      Sha was with   23            bring her back?
 zg            me.                                                24       A    Right, yes, she did.
 25       Q    She wenC with you that day to the -- to meet       25       Q    And did you Finally get her back?



                                                       Page 44                                                           Page 45
  1       A    Yep, sir.                                           1       A    Yes, sir.
  2       Q    How did you get her back?                           2       Q    And what would that pertain to7
  3       A    i came to you and got an ex parts to qo get         3       A    Shalees has a bad drug habit that I don't cuant
  4            her back.                                           4            Alana around.
  5       Q    tied you been allowing 5halees to visit with        b       Q    Does she have some associations with other
  ~            Lhe child since that custody agreement,             6            people that would present in your opinion a
  ~            Plaintiff's Exhibit No. 1 -- since the two of       ~            safety danger to your child?
  8            you executed that agreement3                        B       A    Yes, sir, just about everybody she hangs
  9       A    Yes, sir,                                           9            around.
 10       Q    And how much visitation had Shalees exercise       10       BY MR. MCKINNEY:
 1i            during that period of time?                        lx            i believe that would be all my questions for
 ~Z       A    Anytime she asked me to come visit, I would        12            this witness at this time, Your.Honor.
 13            let her.     Sometimes we would be sitting there   x3       BY THE COURT:
 ~4            waiting for her to show up, and she would          x4            Those are. the questions you have, Mr.
 1s            never show up.    sometimes she would, and she     35            McKinney.    Cross-examination.
 1s            would ba at my house for maybe an hour max and     16       BY M5. JACKSON:
 17            that was it.    So she would probably coma maybe   17            Thank you, Yonr Honor.
 1e            once every two weeks.                              1B       CROSS-EXAMINATION BY MS. JACKSON;
 1s       Q    Do you have a problem with this Court awarding     19       Q    Mr. Mathieu, were you present when Alana was
 20            Shalees with some supervised visitation with       20            born?
 21            the child?                                         21       A    No, ma'am.
 z2       A    I don't have a problem with supervised             2z       Q   Tell me about that situation.
 z3            visitation.                                        23       A   I was working out oP town and at' the same time
 24       Q    And do you have safety concerns for the child      Z~           I wasn'fi sure if she was mine or not.
 z5            if visitation is not supervised?                   25       Q   What was your initial belief when Alana was



                                                                                                     12 (Pages 42 to 45j

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                                                               Page 46                                                         Page 47
         1            born?                                                    1   A    shaleea had mes3aged me wanting to do a DNA
         2       A    41)iat do you mean?                                      2        teat, so I agreed to it.
         3       Q    Did you think that stye Baas yours, or what type         3   Q    Do you know when that was done?
         4            of effori:s did you make?                                4   A    ALana Dias probably a couple of aieeks old.
         5   A        i didn't think she was mine.     I Baas told that        5   Q    4lhen did you consistently start seeing Alana
         6            she was with other people while we were               6           or Alana (different• pronunciation)?
         ~            together and made me people that the baUy                ~   A    After tho DNA papers came back.
         8            wasn't mine,                                             e   Q    Okay, and how old was she at that Yime?
      9      Q       Okay, and did you originally want to sign your        9       A    Probably a month old.
     to               rights away Co Shalees?                              10      Q    And tell me about what type schedule at that
     ii      p       Thinking Chat it wasn't my baby, I didn~t know        it           point -- as far as Alana goes, what type oL
     i2              if I had any rights to it.                            1z           schedule were keeping faith her?
     13      Q,      Did you indicate to her several times via             13      A    Well, I was still working out of town.      So she
     19              Facebook message and text message that the           14            was Shaleea, and then someCimes Shalees would
    zs               child was not yours and that you wantod to           15            dro p her oPf with m y grandma or my mom.
    16               sign your right's away to her?                       ib       Q    And when you were working out of town, where
    i~       A       I don't believe so.                                  ~~            you were working?    Do you teoall?
    le       Q       So you never told her that in Facebook               1e       A    We were working all over, Miami, Alabama, just
    19               messages and text measagea?                          19            different places.
    20       A       That I wanted to sign my rights over to a baby       20       Q    And when you were doing thaC, for time periods
    Zi               that wasn~t mine?      I don't know why I would do   21            would you be gone?
    22               that.                                                22       A    It could be up to throe or four oieeks at a
    23       Q       Plhen did you determine or when did you make         23            time.
    z4               efforts to determine whether or not Alana vas        24       Q    And when did that work schedulo change?
    25               your biological child?                               2~       A'   I worked there for about eight months.      So


                                                              Page 48                                                          Page A9
     1               when I would come in town, I would see Alana          i       A    Yss, ma'am.
     2               because I knew at the Lime she was mine after         2       Q    Where do you work now?     Did you say at Murphy
     3               the papers came back.     So I would probably         3            Medical4
     4               keep her Eor a few days until I went back out         4       A    Yea, ma'am,
     5               of town.                                              5       Q    Does youx mom provide most of the medical
     6       Q       So during that first eight months of Alana's          6            treatment for Alana and bring her to most
     ~               life when you were working out of town, how           ~            doctor appointments?
     e               often do you recall Chat you saw har?                 e       A    It's probably an even split.    We both bring
     9       A       T mean, after she signed the temporary rights,        9            her.
    to               she was at my house until we went to full            10       Q    Do you have any history of drug use in the
    11               custody,                                             li            last two years?
i   12       Q       So how often would you see her when you were         12       A    Yes, I used to smoke.
    13               working out of torso?                                13       4    Smoke what?
    14       A       When I was in town.     When I was in town.   So I   14       A    Marijuana.
    is               would be in town foc probably a week at a            lg       Q    When you say used to, when did that ond7
    16               time.                                                16       A    Probably almost a year ago.

    iT       Q       okay, and then you would go back for three to        17       4    Do you take any pills, suboxone, anything. of
    ie               four weeks't                                         38            that nature?

    19       A       Not always.     Sometimes it would be a week ox      19       A    No, ma'am.

    Zo               two weeks.     It could be up to four weeks, but     20       Q    Have you ever?
    21               not always.                                          23       A    Yes.
    ZZ       Q       And during thak period of time, who was caring       22       4    When did you quit taking auboxone?
    z3               for Alana?                                           23       A    I haven't done anything in the past year.
    z4       A       My mom.                                              24       Q    Now, during the period of time whore you and
    25       Q       And you currently live with your mom?                75            your mother were keeping Alana, Shalees did



                                                                                                             13 (Pages 46 to 49)
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      1         make active efforts to see her through your            i         lady's office that had Che papers.
      2         mother; didn't she?                                    2   Q     And do you -- do you recall who the lady teas?
      3    A    Yes.                                                   3   A     I don't remember her name.
      4    Q    So Shalees eras still tryiny to see Alana?             4   Q     Okay, and was anybody else present when you
      s    A    Yes.                                                   5         signed it1
      6   Q     And visit with her?                                    6   A     My mom.
      7   A     Yes.                                                   ~   0    Anybody else?
      0   Q    And did she do that?                                    B   A     No.
      9   A    Sometimes.                                              9   Q    Was there a notary present?
  io      Q     Hors often would you say that she visited with     I~      A    She -- cae signed the papers, and then she
  11           her?                                                li           walked out with the papers.     I'm not surd what
  iz      A    Maybe once every two weeks.      Sometimes she      1z           she did with them.     She could have went to a
  13           wouldn't even shoos up when she wanted -- when      13           notary, buk I'm not sure if she had or not.
 14            she asked to come visit.                            14      Q    Did you provide your ID to anybody that dayl
 15       Q    When these documents weco signed -- or rathar       is      A    Yes, ma'am.
 16            the CVA -- so the second one that was signed        16      Q    Are you a licensed driver?
 i~            al l-he department, who did you speak with when     i'~     A    I have a licensed.
 ie            that was signed?                                   1e       Q    So you are licansed to drive right now?
 19       A    I'm not sure of the lady's name L-hat had the      1~       A    I think my licenses are suspended at the
 20            custody papers.     I don't remembor her name,     20            moment.
 21            but she was about the only one I talked to.        21       Q    Dv you know why it's a suspended?
 27.      Q    When you went to DSS, did you go back into an      22       A    About three years ago, I got a -- I was
 23            office, or did you sign it out in the lobby?       23            drinking and driving.
 2A            Tell me about that.                                24       Q    Okay, so you have a prior DFtI conviction?
 zs       A    We went into the office.    I think it was the     25       A    Yea, ma'am.



                                                        Page 52                                                         Page 53
  1       Q    so what type o£ XD were you able to provide          x      Q    And just to clarify, I'm going to show you
  z            there a the department?    Was it like a state      2            what has been marked previously as Plaintiff's
  3            issued ID or a driver s license?                    3            Exhibit 1.     And you see here where it looks as
  4       A    it was an old driver's license.                     4            though you signed and this was stamped?     Was
  5       Q    so it was an old driver's license?                  5            that done in front o£ a notary?     (Tenders)
  6       A    Yes, that was the only identification I had.        6       A    (Upon review)    Is that the notary?
          Q    5o it wasn't a valid driver's license?              ~       Q    Uh-huh.    (Affirmative)
  e       A    No.                                                 e       ~    okay, it probably was.
  9       Q    And did you -- when that was notarized; was it      9,      Q    Well, do you ---
 io            notarized in front of you or you gave it to        10       A    It was.
 11            somebody and they took it away2                    11       Q    Do you remember that ---
 iz       A    Right.                                             12       A    It was.
 13       q    So you gave it to somebody, they took it away,     13       Q    --- or was that Caken away ---
 19            and then they brought it back and it was           1<       A    Yea,
 is            notarized?                                         15       Q'   --- and done?
 16       A    I guess.                                           16       A    No, that was definitely stamped right in front
 17       Q    But it wasn't done in front of you?                i~            of me, sorry.
 ie       A    No.                                                18       Q    That's okay.    I just wanted to clarify.   Now
 19       BY Ms. JACKSON:                                         19            - so. during the period of time you said that•
 20            Your Honox, if I may approach?                     Zo            shalees was making active efforts through your
 u        BY THE COURT:                                           zl            mom to roe Alana; is t}~at correct?
 zz            You may,   Do you want the ---                     22       A    Yea.
 23       BY MS. JACKSON:                                         23       Q    okay, and at that Cime, you were working out
 24            i do, Your Honor.                                  24            of town, so your mother was the primary
 2s       CROSS-EXAMINATION RESUMED BY MS. JACKSON:               2S            caregiver?



                                                                                                     14 (Pages 50 to 53)
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                                                            Page 54                                                            Page 55
      1       A    Night.                                                  i       A    The reason that sometimes I would noC let tier.
              4    Okay, at what time did you become the primary           2            come visit is because she had just gotten out
      3            caregiver of Alana7                                     3            of jail and I kne~i she was bad off doing drugs
      4       A    I quit working out of toorn, and that's when I                       and stuff.    And in the papers, it says it was
      5            went to Brother's and that's when I was in              5            up to me ~ihether I let her visit or not if I
      6            Locan all the time.                                     6            knew she was high.
      ~       4    When did you start working at Brother's?                ~    Q       So she did try to see her during November?
      8       A    It was last yoar.     Probably the beginning of         B    A       Right.
      9            last year.                                              9    Q       Okay, so after these documents were signed,
  io          Q    So the beginning of 20177                           10              she conCinued Lo try to see the child?
  11          A    Yes.                                                11      A       Not continuously, no.
  1z          Q    And how long did you work there?                    12       Q       Did you tell her that she should have read the
  1;          A    For. about -- about a year.                         13              papers more ca refully7
  14      Q        And why did your employment ceaso?                  14      A       Yes.
  is      A        We were slocr on business there.   The              15      Q       So you completely understood what the papers
  1s               restaurant was kind of slow on business,            16              said?
  17      Q        And now after the agceement, the one that T         1'~     A       Right.
  to               showed you there, was signed at DSS, Shalees        xe      Q       Okay, and you weren't theze when she signed
  is               continued to try to see Alana; didn't she?          39              these papers; correct?
  20      A        There was a long period of time, maybe three       Zo       A       Correct.
 Zi                or four months whare she went without trying       zl       Q       Do you knooi under what situation or under what
 z2                to see her or anything.                            22               circumstances she signed the documents?
 23       Q        Didn't she consistently message you through        23       A       I wasn't there when she signed them, so I
 24                the month of November trying to see Alana and      24               don't kno~~.
 zs               confused about what she had signed?                 25       R       Have you guys talked about that?



                                                         Paqe 56                                                               Page 57
  i       A       She did tell me she was willingly wanting to          1      Q       So she didn't 11ve there at any other prior
  Z               sign the papors to give her rights over.             Z               time?
  3       Q       Did she continue -- or did she tell you that         3       A       Not that I know of.
  4               she wanted to continue to be able to see fllana      4       BY MS. JACKSON:
  5               on a regular basis?                                  5               s don't have anything further.
  6       A       Not a xeqular basis, but she would lika to           6       RY THE COURT:
  ~               visiL' every now and then.                           ~               Any followup, Mr. McKinnoy?
  8       Q       So ypu indicated to Mr. McKinney that you            8       REDIRECT EXAMINATION BY MkL. MCKINNBY:
  9               don't have any problem with Shalees having           9       Q       Mr. Mathieu, after you signed those documents
 to               visitation?                                         10               at the Department of Social Services, did you
 ix       A       Supervised visitation.                              11               ever get any visits from any social workers at
 12       Q       And when you say supervised, who would be an        1z               tha Chexokea County Department of Social
 13               appropriate supexvisox?                             13               Services?
 1~       A       Me or my mom.                                       1~       A       No, sir.
 is       Q       Okay, what about somebody in Shalees' family?       x5       Q       Did they contact you in any way?    Did any
 ib       A       No.                                                 16               employees for the Cherokee county Department
 1~       Q       What about har grandmother?                         17               of Social Services contact you after that
 1e       A       No,                                                 xe               Plaintiff's Exhibit No. 1 was signed?
 is       Q       Why?                                                1s       A       No, sir.
 Zo       A       I don't know them, and I don't trust any of         20       Q       Has your daughter received any sarvices
 ~l               them.                                               21               whatsoever from the Cherokee County DeparCment
 z2       Q       At one point, didn't Alana live with her            22               of Social Services since Plaintiff's Exhibit:
 23               mother Melissa fot a p¢riod of time?                23               No. 1 was signed?
 2~       A       Maybe the first couple of iaeeks she was born       29       A       No, eir.
 25               before we got the DNA.                              ZS       BY MR. MCKINNF.Y:



                                                                                                             15 (Pages 54 to 57)
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      1        That would be all my questions.                        1        relationship that t4ichael has with Alana?
      2   BY M5. JACKSON:                                             2   A   A father-daughter relationship, a very yood
      3        No followup.                                           3       one.     He's a good dad.
      4   8Y THE COORT:                                               4   Q   Have you assisted Dfichael in caring for Alana?
      5        Thank you, Mr. Mathieu.    You may step down.          5   A   I do.     They live in my home.
      6        Mr. McKinney, your next witness.                    6      R   How long have they lived in your home?
      7   HY MR. MCKINNEY:                                            ~   A   She was there ofF and on when she was first
      8        We call Sheila t4athieu, Your Nonor.               8           'born.    And then when he got hex in November of
      9   BY THE COURT:                                           9           2016, she's been there sinca then.
  to           Sheriff, if you will, go geL Ms. Mathieu for       to      Q   And can you tell. ma what care that Michael has
  li           us.    Thank you.                                 it           given to the child since she came to live with
 1z            SHEILA ANN MATHIEU, being duly sworn to tell      12           you?
 13       the truth, Che urhole truth, and nothing but the       13       A   I mean, the responsibility of a father.    He
 14       truth of her awn knowledge concerning L-he within      14           works and provides for her, like her diapers
 is       matter, testified as follows:                          1S           and her food and stuff like that she needs and
 is       DIRECT EXAMINATION BY MR. MCKINNEY:                    16           clothes.
 17       Q    Please state your full name.                      17       Q   Does he help feed her?
 1e       A    Sheila Ann Mathieu.                               1e       A   Oh, yeah.
 19       Q   And where do you live?                             19       4   Doea he help bathe her?
 20       A   On lA Hiawassee Street here in Murphy.             2~       A   Yes.
 zl       Q   And you know Michael Mathieu?                      21       Q   Does he take her to the doctor on occasion
 2z       A   I do.    He's my son.                              22           when she has doctor's appointments?
 z3       Q   And do you know Alana Robort~?                     23       A   Yeah, on the days that ho's oft work, ho will
 ~<       A   I do.    She's my granddaughter.                   24           take her.
 ZS       Q   And, Ms. Mathieu, can you tell me what sort of     25       Q   Itow has Michael been doing the past two years?



                                                      Page 60                                                        Page 61
  i       A   Good.                                               1           to take Al.ana back.    And I said, "But Shalees
  Z       Q   Doea he go to work on a regular basis at            Z           is the mom, and she said that she could stay
  3           Murphy Medical Centor?                              3           here with us." I even called the magistrate,
  4       A   Ho does.                                            4           and the magistrate said I didn't have to, but
  5       Q   Lots go back to November -- Octobor and             5           the social worker said I did.
  6           November o£ 2016.    What contact, Ms. Mathieu,     6       Q   The social worker -- end who was the social
  ~           did you have with the Cherokee County               ~           worker?
  8           Department of Social Services with respect to       8       A   I don't know how to say the name.     Jeryl,
  9           your granddaughter during that period o£ timo?      9           something like that.
 to       A   I had contact with one of the social workers       10       4   And what -- so the child came to live with
 11           that in the beginning wasn't very good.            11           You?
 12           Shalees was trying to let ua have visitation       12       A   Yea.
 13           with ALana when she lead custody with her, and     13       Q   And ---
 1~           her mom, I guess -- I guess from my                14       A   So -- now, they -- the same social worker
 15           understanding the mom had custody as far as        ~5           called and said that Shalees had agreed to
 is           Social Services was concerned, but Shalees was     16           sign over custody to my eon and that the
              trying to place her with us, and there was a       17           paperwork was, you know, drawn up and
 is           conPllct between her and her mom.    I don't       18           everythlny, that he needed to come and sign
 19           know if the social worker was related to them      19           the papezwork.
 20           or what the deal was with them, but she didn't     20       R   And did she tell you who had drawn the
 21           want Shalees placing Alana with us,     And we     21           paperwork up7
 22           did have Alana one timo on visitation, and         22       A   I don't recall that ate said exactly who drew
 23           Shalees said for us to keep her.    But her mom    23           it up.
 24           kept calling wanting alana back, and then the      24       4   Okay, but anyway it was -- it was an employee
 25           social worker called me and said L•hat we had      25           of the Department of Social Services?



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      i       A    Yes.                                                   1            she didn't say nothing else to us about i.0
      z       Q    And did you go oiith your son to the Cherokee          2            that I recall.
      3            County DepartmenC of Social Services Co sign           3       Q    And once your son signed the agreement, what
      4            the custody agreement?                                 9            was your underRtanding about the effect of the
      5       A    i did.                                                 5            agreement?
      6       Q    And can you tell me what happoned when you got         6   A        That he was -- she was placed in his custody
      ~            there?                                                 ~            and that it -- from what the papers said, it
      B   A        it was the same social worker that was thore           e            was up Y.o him when -- when shalees called and
   9               to have him sign the papers and the notary,            9            wanted to come see Alana and -- and if he
  to               and the social worker told me that she tried       10               suspected any k~.nd of alcohol or drugs in her
  11               to talk 5halees out o£ signing the papers.         1~              system, he could tell her no.
  12      Q        Did she tell you why she tried to Calk her out     12      Q       Okay, so he was more or. less appointed the
  la               of signing Lhe papers?                             13              gatekeeper?
  1<      A        She didn't say why,    she just said she tried     14      A       Right.
 is                to talk her out of it which irritated me, buL      is      Q       And after the agreement was signed, did
 16                I was happy that it was being done.                x6              Shalees come visit with the child?
 17       Q        And what did she -- well, did the social           17      A       Yes.
 le                worker make any representations about what         18      Q       Md how frequently did ahe visit the child
 19                that agreement meant to you?                       19              from the time the agreement was signed until
 Za       A        She -- I mean, ahe had us read it before he        20              now?
 zi                signed it.                                        21       A       In the beginning, she was -- she was there
 2z       Q        Did ahe -- did she say anything about the         ZZ               usually about once a week.     That was in
 Z3                agreement to you other than she told Shalees      23               November.     X know•at Christmastime she asked
 24                not to aign it?                                   Z4               if she could take Alana with her, and my son
 ZS       A        Huh-uh. (Negative)    She didn~Y say nothing --   25               told her no.    He didn't want her in the car


                                                          Page 64                                                             Page 65
  1                with her, not until she was -- from our            i               the withdrawals hhat she was born with that
  2                understanding, she was still abusing drugs.        z               ahe could have problems later, that she could
  3               5o he didn't want her alone with. her or, you       3               have anger issues.     I don't see anything right
  4                know, in the car.    $ut he told her, "You're      4               now out of the context of almost a two-year-
  5               welcome to stay here to visit with her," which      5               old.   She, you know, can be that way, but ---
  6               .she did.                                           6       Q       Seems to be happy?
  ~       Q       And did you -- have you continued to allow her      ~       A       She's very happy.
  8               to visit with the child at your home?               8       Q       to she well-ad9ustad?
  9       A       YB9.                                                9       A       YeB.
 to       Q       In a supervised setting?                           30       R       Doea she enjoy the environment she's in?
 11       p       yes,                                               11       A       Oh, yeah.
 12       Q       Have there been any problems?                      12       4       Does she enjoy seeing or being with her daddyT
 13       A       I even allowed Cody to come in one time.           13       A       Oh, she loves her daddy.
 14       Q~      And who is Cody?                                   ld       Q       Does she enjoy seeing her mama?
 is       A       Cody was her husband -- is her husband.     Heys   15       A       Yeah, i mean, t don't -- I don't know that she
 1s               the one that's on the birth certificate.           36               knows that it's her mom.
 i~       Q       And have you aver made any attempt to keep her     17       Q       Do you -- do you work?
 ie               from her child?                                    18       A       Yes.
 19       n       No.                                                x9       Q       Does Alana go to daycare?
 Za       Q       Do you want your granddaughter to be safe?         20       A       Yes.
 zi       p       ygs,                                               Z1       Q       Where does she go to daycare?
 ZZ       Q       And does your granddaughter have any health        22       A       Southwestern over by Save-A-Lot.
 23               problems now?                                      23       Q       And tall me what days of the week she goes to
 24       A       Not nothing that she's been diagnosed with.        2~               daycare and what the houzs are there.
 zs               We were told in the beginning that because of      25       A       The days can depend.    Usually, when Michael 13


                                                                                                           17 (Pages 62 to 65)

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                                                           Page 66                                                              Page 67
                   at home, he keeps her at home.    So it's               1       BY MS. JACKSON:
      z            usually the days thaC he's at work she'll go            2            Yes, thank you, Your Honor.
      3            to daycare,                                             3       CROSS-EXAMINATION flY MS. JACKSON:
      4       Q    So Michael provides full-time care for her              4   Q        Good morning, t4s. Mathieu.
      5            when he's off work; i~ that correct?                    5   A        Good mooning.
      6   A        Yes.                                                    6   Q        You indicated that when you went to the
      7   Q        What are your concerns, Ms. Mathieu, about              ~            departmenC and that document was signed -- did
      e            allowing Shalees Greenlee to visit with the             8            you speak -- do you know who the social iao=ker
      9            child in an unsupervised setting7                       9            is that you spoke to7
  io      A       I don't like it.                                     to      A        Jeryl.
  11      Q        What are your concerns?                             11      Q        Was it Jeryl?
  32      A       I'm just concerned about her welfare, about          iz      A       Yeah.
  13               her safety.                                         i3      Q       Okay, and was that a female social oiorkec?
  14      Q       Why?                                                 i4      A       yes.
  15      A       Because Shalees doesn~t have a very good             is      Q       Was anybody else there?
  76              reputation with her other three kids not being       16      A       The notary, and it seems like somebody else,
 17               with her with her abusing drugs.     Sha's in and    i~              but I'm not sure.
 ie               out of ja11..                                        le      Q       Wore the documents signed and then brought out
 19       Q       And you're concerned about that?                     19              of l-he room, oc how was it done?    can you
 zo       A       Yes.                                                20               explain that?
 21       BY MR. MCKINNEY:                                            21       A       What do you mean signed and brought back out
 zz               That would be all my questions for this             z2               of the room?
 23               witness, Your Honor.                                23       Q       When you went there and~.your 'son signed the
 24       BY THE COURT:                                               Z4               documents, did they ever take the documents
 25               cross-examination.                                  ZS               out of the room and briny them back in, ox did


                                                          Page 68                                                              Page 69
  i               everybody just stay in the room?                     1               understanding and, if you know, his
  2       A       I think so.     I donut recall,                      2               understanding that this was a legal, binding
  3       Q       Okay, was there an attorney present or anybody       3               document?
  4               else that you know has any legal experience?         4       A       Yes.
  5       A       I don't know.     I said there was the social        5       Q       So when -- like Por example, when Shalees
  6               worker, the notary, and somebody else, I             6               wanCed to take Alana for Christmas, you didn'C
  ~               think, was in the room, but I'm not auro who         ~               -- your son didn't let her; is that correct?
  8               it was.                                              8       A       Right.
  9       Q       Was it a male or female?                             9       Q       Because he had custody with this document?
 to       A       I don'L remember.                                   10       A       Right.
 11       Q       When you signed this, what did they indicate        11       Q       That at the time he thought was binding and
 1z               to you you were signing?                            32               legal?
 l3       p       I didn't aign ---                                   13       A       Yes, ma'am.
 14       Q       Or when he signod it, I'm sorry.     When your      14       Q       And you indicated that after iL was signed
 is               son signed it, did they indicate to him what        lg               that Shaleea did make efforts to come and try
 16               he was signing?                                     ib               to continue to see Alana?
 z7       A       That it was custody papers.                         17       A       In the beginning, she would come about once a
 le       Q       xad your son talked to an attorney about this?      ie               week.     Then I think some time after he had
 19       A       No.                                                 19               told her know, she did quit for a little
 Zo       Q       Had you?                                            zo               while.
 Z1       A       No.                                                 21       Q       After he had told her no7
 z2       Q       Did they give you -- or tell you or advise you      2z       A      Uh-huh.     (Affirmative)
 23               to talk to an attorney about this?                  73       Q      You indicated during your testimony that when
 2~       A       No.                                                 24              Alana was born that there were some issues
 25       Q       So after your son signed this, was it your          ZS              with withdrawals?


                                                                                                             1~ (Pages 66 i~o 69)
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                                                           Page '/0                                                            Page '71
      1   'A    Uh-huh.     (Affirmative)                                  1   A      Not that I know of.
      z    Q    47hat did the medical -- or what did they tell             ~   Q      Did anybody ever come out to your house?
      3         you about that or ---                                      3   A      No.
      4    A    It was -- she had went to a doctor's                       ^   Q      V7hen this document was signed -- before it Baas
      5         appointment, and the doctor had told me that               5          signed, did a social worker come out and do a
      6         there was medicine that she had to be on when              6          home study of your house?
      ~        she was in the hospital because of                          ~   A      No.
      a         withdrawals.                                               e   Q      Do you know if they came out and did a home
      9   Q     Do you know vrhen that was when the doctor. told           9         study or did any type of testing on your. aon,
  io            you Chat?                                              i~            drug testing, anything of that nature?
  11      p    I mean, she was like Lwo months old.                    ~~1     A     Not that I know of.
 z2       Q    Okay, f.t was -- it was Fairly early?                   x2      Q     Do you know if they did any investigation on
 13       A    Oh, yeah.                                               13            your son or on you?
  19      4    And they had told you that these could be some          14      A     No.
 is            issues as she got older?                               35       Q     Did anybody ever come into your house?
 16       A    Yes.                                                   16       A     No.
 17       Q    Once these documenCs were signed -- or that            17       4     Did you ever talk to DSS about the withdrawal
 1e            one document there was signed, did anybody             1e             symptoms or anything of that nature?
 19            from DSS do any folloeaup on the medical               19       A     No.
 20            condition of Alana7                                    20       Q     Did anybody ever. tell you any information
 zl       n    Not that i -- to us they dldn't.                       21             about that?
 z2       Q    pid anybody ever contact you2                          22       ~ ~   From D5S?
 23       A    No.                                                    23       Q     Uh-huh.    (Affirmative)
 24       Q    Did any workers ever contact your son?        Do you   z4       A     No.
 25            know?                                                  25       BY MS. JACKSON:


                                                          Page 72                                                              Page 73
  1            IF I could have one second, Your AonorT                 1             time -- well, not for months, but while he was
  2       BY THE COURT:                                                Z             out of town.     Does that sound right?
  3            You may.                                                3       A     He was out of town a whole lot whan we first
  a       CROSS-EXAMINATION RESUMED BY MS. JACKSON:                    4             got her.     He quit and Came back home to stay.
  5       Q    So when you went to nSS with your eon, you              5             But yes, I did have her.
  6            were present when he signed the document?               6       Q     And durinq that time that you had her, did
  ~       A    Yes.                                                    ~             anybody ever come out to your house?
  8       BY MS. JACKSON:                                              8       A     No.
  9            Your Honor, if I may approach?                          9       Q     Did anybody ever -- or did anybody Prom the
 to       gY THE COURT:                                               10             Department of Social Services ever make any
 11            you may,                                               i~             inquiry of you as to whether or not you did
 1z       CROSS-EXAMINATION RESUMED BY MS. JACKSON:                   12             any illegal substances?
 13       Q    I'm going to point out to you Plaintiff s              13       A     No.
 14            Exhibit 1, I believe.        Is that the document      14       BY MS: JACKSON:
 15            that you remember your son signing?       (Tenders)    15             Nothing further, Your Honor.
 is       A    (Upon review)     Yes.                                 16       BY THE COURT:
 1~       Q    And you indicated that you did not recall i£           17             Okay.   Mr. McKinney?
 1e            there was an attorney in the room?                     1e       BY MR. MCKINNEY:
 i9       A    The person -- other person that was in there I         19             z donut have any other questions, Your Honor.
 Zo            don't I -- I donut know i£ thore was an                20       BY THE COURT:
 Zi            attorney or not.                                       21             Thank you, Ms. Mathieu.
 Zz       Q    And originally it sounds like you were keeping         22       BY T}fE WITNESS:
 23            Alana some when your son was working out of            23             Thank you.
 2<~           town?   He said he was working out of town and         2~       BY THE COURT:
 zs            that you would keep her Lox months at a                25             You may step down,    Ms. Mathiou, you ~ii11 have


                                                                                                          19 (Pages 70 to 73)
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                                                           Page 74                                                                Page 75
      1            to step back out from the room.                           1       Q    And how do you know him?
      Z       DY THE WITNESS:                                               2        A    He's my child's father.
      3           okay.                                                     3        Q   And when you say your child, are you referring
      4   BY THE COURT:                                                     9             Co -- is it Alana or Alana (differenk
      5           end remember you're not to discuss your                   5             pronunciation)?
      6           testimony with anyone outside the room.      Thank        6    A       It's Alana.
      ~           you.     Your next witness.                               ~~   R       Al.ati, okay, sorry.    And what is Alana's date
      8   BY M2. MCKINNEY:                                                  e            o£ birth?
      9           That would be our evidence for the purposes of            9    A       July 5, ?.016.
  to              the temporary hearing, Your Honor.                    i~       BY TftE COURT:
  1~      AX THE COURT:                                                 11               I'm going to have to ask you to spoak up just
  12              That's your evidence, okay.     All right.            12               a little bit, Ms. Greenloe.
  13      By MS. JACKSON:                                               13       DIRECT EXAMINATION RESUMED 6Y MS. JACKSON:
 14               We call Shalees Gzeenlee.                             14       Q       And oihen you first had Alana or -- yoah,
 15               SHALEES GREENLEE, being duly sworn to tell the        15               Alana, were there some issues with withdrawal
 16       truth, the whole truth, and nothing but the truth             16               and things of that naturel
 1~       of her own knowledge concerning the within matter,           i~        A       Yes.
 1e       tes~ifiad as follows:                                        1e        Q       Tell me about that.
 1s       DIRECT EXAMINATION E3Y MS. JACKSON:                          19        A       She did go through withdrawal aftex I had her.
 Zo       Q       Could you please state your full name fox the        Zo                When I was pregnant with her, Dr. Holder sent
 21               Court?                                               ?1                me to Chattanooga.     And they put me on
 ZZ       A       Shalees Marie Greenlee.                              ZZ                modication, and they were weaning me oEf of
 23       Q       And, Shalees, do you know the gentleman seated       23                opiates.
 24               over here, Mr. Mathieu?                              24        Q       Did you have an opiate problem when you became
 25       A       Yes.                                                 ZS                pregnant with her?



                                                          Page 76                                                                Page 77
  1       A       Yes, ma~am.                                           1        A       Yes.
  2       Q       So you had to go, it sounds like, to a special        z        Q       Okay, tall me about that.
  3               doctor?                                               3        A       T was released before she was, but they gave
  ~       A       Yea.                                                  ~                me -- they asked me if I wanted to stay, and
  5       Q       And did you do that?                                  5                they gave me a room so I couJ.d stay with her -
  6       A       Yes.                                                  6                - stay with her the whole time.
  7       Q       And did you follow the medical advice?                '+       Q       So you were there at the hoapita7, with her the
  8       A       Yes.                                                  8                entire time?
  9       ¢       And when Alana was born, was there a test on          9        A       Yea.
 ~o               her meconiumz                                        is        4       And what were hex withdrawal aymptoms7
 11       A       Yes, ma'am.                                          11        A       She sometimes would eat and then she would
 12       Q       Was that positive or negative?                       ~2                puke and that was it.
 13       A       Negative.                                            13        4       And how did you deal with that?
 lA       Q       And although iL• was negative, did she still         1~        A       The hospital did.
 is               exhibit signs of withdrawal?                         15        Q       But you were there providing care?
 16       A       Yes.                                                 16        A       Yes.
 i~       Q       How was that treated?                                17        Q       Did the DeparCment of Social Services become
 la       A       With neonatal morphine.                              18                involved in your case from that point?
 iA       Q       Do you know how long she received neonatal --        19        A       Not at the very beginning.
 20               or -- is it called neonatal morphine?                20        Q       Okay, tell me when they first became involved.
 Zi       A       Yeah.                                                21        A       It was four days before we were released.
 22       Q       Okay, do you know how long she received Lliat?       22        Q       When you say wo, do you mean Alana?
 z3       A       I think it was two and a half weeks,                 23        A       Yea.
 24       Q      And when they exhibit signs of withdrawal,            24        Q       So what was the initial contactT
 25               were you there in the hospital with her?             ZS        A       T'm sorry?



                                                                                                                20 (Pages 74 to 77)
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                                                       Page 7a                                                                 Page 79
      1   'Q   What was the initial contact that you had with             i       A    t4eliasa (inaudible).
      z        the department?                                            2       Q    And I know you've heard soma testimony about
      3    A   They just showed up and knocked on the door                3            David Cody Roberts.     Is his name on the birth
      4        and said that they were there to open a case.              4            certificate?
      5   Q    Okay, and when you say they, who showed up7                S       A    Yes, ma'am.
      6   A    Katie and Diana.                                           6   Q        And were you marxied to him at the time?
      ~   Q    Would that be Katie Brown and Diana Garrett?               ~   A        Yes, ma'am.
      B   A    Yes.                                                       0   Q        And have you since done DNA testing?
      9   Q    Okay, and at that time, what were you told?                9   R        Yes, ma'am.
  10      A    They didn't really tell ma much of anything,           10      Q        And have -- what are the results of that?
  it           just that she showed some signs of withdrawal          11      A        That Michael is the father.
  12           so they came.    That's about it.                      12      Q       After you left the hospital, when was the
  13      Q    And at that time, do you knooi if -- from your         13              first contact that Mr. Mathieu had with the
  14           own knowledge, do you know if the department           14              child?
  15           opened a case?     Did you start having to do          is      A       Zt was after we did the DNA test,     I fried to
 16            things?                                                16              get a hold of him and ca11 him, and he would
 17       A    They opened a case, and I didn't hear from             i7              never reply.     So I ended up having to message
 is            them until the day me and Alana left tho               1e              his mom.    And he told mo he wanted DNA
 19            hospital.                                              19              testing, and I tried to get in touch oiith him
 20       Q    Were you allowed to loave the hospital with           20               over and over again to get him to do the DNA
 21            Alana?                                                21               testing.    I ended up going to buy the DNA test
 22       A    Yes, ma'am.                                           ZZ               myself and brought it to his house ao he could
 z3       Q    And where did you go7                                 23               do it.    And then after he dl.d that, he started
 z4       ~    I went to my mom's.                                   24               to, you     know ---
 ZS       Q    Antl who is your mother?                              25       Q       Do you know how soon that was after Alana was



                                                       Page 80                                                                Page 81
  i            born?                                                  1               many you failed?
  Z       A    It was about -- I want to say two and a half           z       A       One.
  3            months after she was born.                             3       Q       And was that the first drug test?     When was
  4       Q    And I may hava forgotten to ask you, what is           <               that failed?
  5.           Alana's date of birth?                                 5       A       ZY was the day I left the hospital with Alana.
  b       A    July 5, 2016.                                          6       Q       So all the subsequent drug tests, they were
  ~       Q    So you said about two and a h~1f months a£tor          ~               negative?
  8            the DNA test was completed?                            e       A       Yes, ma'am.
  9       A    Uh-huh.    (Affirmative)                               9       g       What was the department's involvement with you
 i~       Q    And what was the contact with Mr. Mathieu at          10               apecificall y after you left the hospital?      How
 li            that point between Mr. Mathieu and Alana~             li               often did you see them?
 12       A    Bafore or after the DNA?                              12       A       Maybe once a month.
 la       Q    After the DNA test.                                   1s       Q       pad what would that contact be, and where
 14       A    I think he seen her like twice after the ANA          i4               would that be?
 15            test.    He worked out of town a lot.                 is       p       I think I went into the office most• of tho
 16       Q    And during that first two and a half months           i6               time. , I think I --.L-hey came to my mom's
 z7            that you left the hospital, was there any --          i~               house like twice.
 is            what was going on with the Department of              ie       Q       And at that time wexe you living with your'
 19            Social Services?                                      1s               mother?
 20       ~    I had to do a drug test every week.                   20       A       Yea.
 21       Q    How many drug tests -- well, let me ask:        How   zi       R       And did you have a case worker?
 2z            many dzuq test you know -- if -- if you know,         z2       A       Katie was the case worker in the beginning.
 23            how many did you take?                                23       Q       You say in the beginning.    How long was she
 z4       A    Maybe five ox six.                                    z4               the case worker?
 25       Q    And out of those five or six, do you know how         2s       p       She was the case worker -- I want to say like



                                                                                                             21 (Pages 78 to 81)
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                                                         Page 82                                                               Page 83
      1        the first Yhtee months.                                      1        (Tenders)
      2   Q    And at some point that changed?                              2   A    (Upon review)     Yes.
      3   A    Uh-huh.     (APfirmative)                                    3   Q    41as there a time before you signed this
      4   Q    And who became your case worker.?                   ~        4        document that you were asked to sign it?
      5   A    Jeryl.                                                       5   A    Yes.
      6   0    What else did Che department have you do                  6      Q   4lhen ria~ that?
      ~        during that period of time after Alana was                   ~   A    I had went and made an appointment Faith Katie
      8        born?     You said you had to take some drug                 B        to speak with her, and I went in to Calk Lo
      9        testa?                                                   9            hex about the case aid ~ahy it wasn't
  10      p    ph-huh.    (Affirmative)                                 io           progressing and everything.    And she pulled
 11       Q    Was there anything else that you had to do?              xl          out F.he paper and told me that I could sign
 12       A    Not really.                                             12           that paper and givo custody to whomever I
 13       Q    At some point, did the department call you in           13           iaanted and that would end the -- or it
 14            and talk to you about signing some papers?              is           wouldn't end the case.     She said that it would
 15       A    Yes.                                                    15           Just give like them medioal --- to be able to
 16       Q    Do you know when that vrasl                             16           take her to doctor's appointments and -- taxes
 1~       A    I can't remember the exact date.                        17           and such.
 le       gy MS. JACKSON:                                              1e       4   And Lhat document that she asked you to sign
 19            Your Honor, if I may approach?                          19           on that occasion, is it the same document thaL-
 20       BY THE COURT:                                                ?~           I've showed you here, plaintiff's Exhibit 1?
 zx            You may.                                                21       A   Yes.
 ZZ       AIRECT EXAMINATION RESUMED BY MS. JACKSON:                   22       Q   And at that time, did you agree to sign it7
 23       Q    I'm going to hand you what's been marked as             23       A   No.
 24           Plaintiff's Exhibit 1.       Do you recall -- oiell,     24       Q   Why?
 25           does that document look familiar to you?                 ZS       A   Because I didn't want to.     I didn't want



                                                         Page 84                                                               Page 85
  i           anyone to have my child.       I wanted to have my        1       A   Yes.
  2           child.                                                    2       Q   What happened when you re~Used to sign it?
  3       Q   So you were wanting to work a case plan; you              3       A   She started asking mQ if -- she told me that
  4           were wanting to get custody?                              4           she would start letting me take Alana and
  5       A   Yes. '                                                    S           staff, but T left the -- I le£t her there and
  6       Q   Were you making efforts in your case plan?                6           nothing ever happened.
  ~       A   Yes.                                                      ~       Q   At that time, you said that she would starting
  e       Q   Were you working?                                         8           you Lake Alana.     What does that mean?
  9       A   I don't think I was working at the time.                  9       A   She was placed with my mom when I went to
 10       Q   Were you making efforts to7                              to           jail.
 11       A   Yes,                                                     ii       Q   Okay, when did you go to jai17
 1z       Q   Tim kind oP jumping around, but are you                  12       A   i think 1t was in Septembez,
 is           currently working?                                       13       Q   So when you went to jail, did you give your
 14       A   I am.                                                    14           mother kinship placement?
 15       Q   And where are you working?                               15       A   Katie came to the jail and wrote out the
 16       A   Burger Kinq.                                             16           paper, and she said it was kinship.
 1~       Q   How long have you been working at Burger King.           1~       Q   And when you got out of jail, were you able to
 le       A   A month and a half, I think.                             18           revoke that paperwork?
 19       Q   T'm going back.     So Katie asks you to sign            x9       A   She told me I could, but they didn't let mo.
 za           this, and you tell her no?                               20       Q   So Prom September, i.t sounds like, in 2016,
 21       p   ye8,                                                     2i           Alana was placed with your mother?
 ZZ       Q   Do you know around when that was?                        22       A   Uh-huh.    (Affirmative)
 23       A   Y want to say AuqusL maybe -- like the end of            ~3       Q   Whan dtd that change?
 24           August, the end of September.                            24       A   October.
 25       Q   So about two months after Alana Yras born?               25       Q   And how did that change?



                                                                                                          22 (Pages 82 to 85)
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                                                           Page 86                                                              Page 8'7
      i       A    I had contacted Michael because there was some          i            Sheila.    i think he was going out of town
      z            issues about him getting to see her and stuff           2            sti].1 at that time, but T Dias going to -- I
      3            with my mom.                                            3            actually went and got her two ivc~ekends.       So I
      4       q   4]as your mother letting him see her?                    4            was getting tier on the weekends.
      5   A        she was, yes.                                           5       Q    And when did that change?
      c   Q        Well, what were the issues?                             6   fl       When he quit his job.
          A        He wanted more visitation Lhan what he was              ~       Q    And then he came home?
      e           geLtinq.                                                 8       A    Uh-huh.    (Affirmative)
      9   Q       Okay, so you contacted Michael, and then what?           9       Q    And what changed?
  io      A       I told him in order -- Z told him that uie           ~o      A        I'm not sure.     He just -- supposed -- from
  t1              could do some kind of custody agreement to           it               what I understand, his ex-girlfriend o-~as in
  1z              where he would have some kind of rights to her       12               the picture, so I wasn't supposed to be.
  13              so no one else could say anything about him          i3      Q        5o at thak time, you weren't able to see her
  14              getting to see her.                                  i~               as much?
  15      Q       And did you hear Michael testify about --            15      A        Uh-huh.    (Affirmative)
  16              something abouC a Quick Lube7                       16       Q        Now, I've shown you what's been marked as
          A       Yeah.                                                1~               Plaintiff's Exhibit 1.
 10       Q       Explain that.                                        18      A        Uh-huh.    (Affizmative)
 19       A       It's the Express Lubo.     There's a notary there   19       Q        Do you recall under what circumstances that
 zo               that's ---                                          20                you signed thatl
 z1       Q       So you did some type of agreement there at the      Zi       A        Yes, I do.
 22               Express Lube1                                       22       Q       Tell me about that.
 23       A       Uh-huh.    (Affirmative)                            23       A       I had talked to Michael, and I told him --- so
 2a       Q       Okay, what happened after that?                     24               he could have -- see her like as much T could
 2s       A       She went to stay with them -- or Michael and        25               -- I told him that I'm going to sign -- we'll


                                                          Page 88                                                              Page 89
  1               give you custody if you promise me that we can       1       A       I did understand it.    I asked Uavid if me
  z               split -- that you won't keep her from me.            2               signing L-his paperwork -- if it was going to -
  3       Q       Okay, and did somebody come to your house?           3               - if anything was going to change lE he was
  4       A       Yes.                                                 ~               going to continue to let me do visitation and
  5       Q       Who?                                                 5               all this stuff, and he said Chat it would be
  6       A       David and Jeryl and a notary.                        6               discussed with me and Michael.
          Q       When you say David ---                               ~       Q       What else did he tell you when you signed
  s       BY THE COURT:                                                e               this?
  9               I'm sorry, you said David and Jeryl and whoT         9       A       That my case -- there would no longer be case.
 io       BY THE WITNESS:                                             to               The case would be closed.
 11               The notary.                                         it       Q       Did he te11 you anything else?     Did he toll
 12       DIRECT EXAMINATION RESUMED BY MS. JACKSON:                  12               you that you would -- that you wouldn't have
 13       Q       When you say David, David who?                      13               to take any more drug screens?
 1A       A       Hughes.                                             1~       A       Yes.
 15       Q       And what time of day was that?                      15       Q       And that you wouldn't have to qo to courLY
 16       ~       It ,was like -- maybe like 4:00.                    16       A       Yes.
 17       Q       And he came to your house?                          17       Q       Was it your understanding that you would still
 ie       A       Well, he came -- we was at Cody~e house that        38               get to see Alana7
 19               day.                                                19       A       Yes.
 Zo       Q       And what happened?                                  Zo       Q       Have you ever been -- let me ask:    What is
 21       A       He just walked in, handed me the papezwork,         21               your highesC level of education?
 z2               and we signed it.                                   ZZ       A       I graduated high school and I took some
 23       Q       Did you read it?                                    23               college classes,
 z~       A       I did read it.                                      24       Q       Did you have an attozney when you signed that?
 25       Q       Did you understand it7                              25       A       No.


                                                                                                            23 (Pages 86 to 89)
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                                                           Page 90                                                           Page 91
      1        Q    Did anybody inform you or advise you I;hat you         i         called David, and I said, "You kno~v, lie's not
      z             should talk to an attorney before you signed           2         doing what sae agreed Y.o."   And he said that I
      3             Y.haC?                                                 3         aroul.d have to go to court to do somethiny
      4        p    No.                                                    4         about the document.
      5        Q    Was it your understanding or were you told             5    Q    During this entire time, from the time Alana
      6             that that was a legally binding document?              6         was born, did you ever enter a courtroom?
      ~    A        Yes.                                                   ~    A    No.
      e    Q        And was it your understanding after you signed         8    Q    Was court ever involved?
      9             that that it was binding?                              9   A     No.
  10       p        Yes.                                               to      Q     Was anything filed where you had to come to
  11       Q       And after that, did you actually make ef£orte       11            court?
  iz                to see Alana7                                      iz      A     No.
  13       p       1 did.                                              13      Q     Did you ever see a judge?
  14       Q       And because of that document, you were not          1~      A     No.
  15               able Lo see her?                                    1s      Q     To your knoo~ledge, was anything ever filed
 16        p       Yes.                                               1s             pith a clerk?
 17        Q       Did anybody tell you from the department -- or     1~       A     No.
 ie                Mr, Hughes rather tell you anything about how      le       Q     How many.timos would you say that you made
 19                you could terminate that agreement, if you         is             efforts to see Alana and were no L- able to
 zo                could?                                             Zo             because of that document?
 z1       ~        Yes, I actually called him because I tried to      21       A     A Lot.
 zz                visit -- continue visitation with my child         ZZ       Q    At some point, did you give up1
 23                because before we aignad the document T was        z3       A     I did.
 24                getting her on the weekends.    So that's what I   2A       Q    Why1
 2s                expected.    And when he denied me that, I         25       A    Welly I had continuously tried, and L-here



                                                          Page 92                                                           Page 93
  1                would always be some excuse -- sometimes there      1       BY M3. JACKSON:
  2                would be an excuse or a reason T couldn~t.          2            Your Honor, if i may approach?
  3                And Lhe last time -- one of the times I tried       3       BX THE COURT:
  4                to talk to him, he told me that he did not          4            You may.
  s                want me confusing her that he -- I could not        b       (AEFENAANT'S EX}~IBIT NO. 1 MARKED)
  6                longer visit and he blocked me.                     ~ ~     DIRECT EXAMINATION RESOMED BY M3. JACKSON:
  ~       Q        When you say he blocked you, what does that         ~       Q    I'm going to hand you what's been marked as
  e                mean?                                               8            Defendant's Exhibit 1 for identification
  9       ~        From messaging him.                                 9            purposes.     Do you recognize that document?
 io       Q        So you weren't even able to contact him?           to            (Tendexa)
 11       p        No.                                                it       A    (Upon review)     Yea.
 iz       Q        Did you love your daughter?                        lz       Q    And what do you recognize that to be?
 13       p        I do.                                              13       A    My check stub.
 is       Q        Do you want to continue to be able to see your     14       Q    And is that a check stub from the job that you
 15                daughter?                                          is            just testified about at Burger Kinq't
 xc       p        I do,                                              is       A    Yos, ma'am.
 37       Q        At some point, do you want joint custody of        1~       BY MS. JACKSON:
 ie                your daughter?                                     1e            your Nonor, I would move to inCroduce
 1s       p        I do.                                              19            Defendant's 1.
 20       S1       if you had to take a drug screen today, would      20       HY THE COURT:
 zi                it be clean?                                       zl            Any objections
 ZZ       A        IY ~rould.                                         22       BY~MR. MCKINNEY:
 23       S2       And you said that you're working.   How long       2~            No objection, Your Honor.
 24                have you been working?                             24       BY THE COURT:
 25       j~       Almost two months -- a month and a half.           25            So admitted.



                                                                                                          24 (Pages 90 to 93}

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                                                         Page 94                                                            Page 95
      1   ' (DEFENDANT'S EXFIIBIT NO. 1 AbMITTED)                       I            be rude, but dose your grandmother have -- is
      2    DIRECT EXAMINATION RESUMED IIY MS. JACKSON:                  2            sV~e on probation?
      3    Q    And you said you had been working there for a           3       A    No.
      4         little bit over a month?                                4       Q    Does she have a history of drug use?
      5    A    Uh-huh.     (Affirmative)                               5       A    No.
      6    Q    That you could pass a drug screen?                      6       Q    Domestic violence?
      ~    A    Yes.                                                    ~       A    No.
      e    Q    Right• now, do you have housing?                        8       Q    Anything of that nature?
      9   A     I live with my grandma.                              ~          A    No.
  to      Q     Okay, and tell me about that situation?             to          Q    Are you currently with David Cody Roborts7
  11      A     Zt~s just me and her.                               11          A    No.
  1z      Q     What's your grandmothor's name?                     1z          Q    So you're living there with your. grandmother?
  13      A     Pam Patterson,                                      13      A        Yes.
  14      Q     And hold old is Mrs. Patterson?                     14          Q    Does anybody else live there?
  is      A     Like late fifties,                                  is      A        No.
 ib       Q    And what type of home does she live in?              16      Q        Are you licensed at this timer
 i~       A    She lives in -- what do you mean?                    17      A        I'm not liconsed, but I just got my tickeks
 le       Q     Well, like is a trailer, a house, how many          1B               taken care of.    And I did go to DMV, and they
 19             bedrooms?                                           19               said it's going to be $120 to get it.      -
 20       A    Its a house.      It's a two-bedroom.               20       Q        So you got all of your tickeCs taken care of?
 21       Q    Where is it located?                                21       A        Yes.
 Zz       A    IC's on -- out Cowards Ranger.                      z2       Q        Two weeks ago?
 23       Q    Is it clean and appropriate?                        23       A        Yes.
 24       A    Yea.                                                 Z4      Q       And were those seatbelt tickets that you had
 T5       Q    Does your grandmother -- and I'm not trying to      zs                not paid?


                                                       Page 96                                                              Page 97
  1       A     Yes.                                                1       Q       Now many visits have -- or how many times have
  2       Q     And so you are eligible for reinstatement?          2               you seen Alana in the last six months?
  3       A     Yes, ma'am.                                         3       A       I was going to see her -- I got to see fox two
  4       Q     And do you know when that's going to happen?        ~               months every weekond -- every Friday.
  5       A    My next paycheck.                                    5       Q       Did you evor get to have any overnights with
  6       Q     Right- now, how do you get around?                  6               her. after this was signed?
  ~       A     I have a car.                                       ~       A       No.
  8       Q    Who drives you though?                               e       4       Did you over get to take her home for holidays
  9       A    My grandma.                                          ~               after this was aigned7
 la       Q    To the best of your knowledge, after this           io       A       No.
 11            document was signed, did DSs make any efforts       ii       Q       Did you ever get to bring her to any of your
 12            to follow up with ox have any contact with          12               family outinga or gathezings or vacations
 i3            Alana7                                              13               after this was signed?
 14       A    Not that I know of.                                 14       A       No.
 15       Q    After this was signed, did Choy make any            is       Q       When you see Alana, dose she recognize you?
 16            contact with you?                                   1s       A       Uh-huh.    (Affirmative)
 i~       A    No.                                                 i7       Q       What does she call you?
 le       Q    After this was signed, did they make any            1e       A       She doesn't call me anything.
 19            efforts to provide any services to you?             is       Q       What are you asking the Court to do today as
 zo       A    No.                                                 20               far as you gotYing to see Alana?
 21       Q    Earlier you indicated that after this was           21               I just want Lo start with something, a couplo
                                                                            A
 z2            signed, at some point you were blocked by           ZZ               of days.   Even if it's supexviaed, that~s Pine
 23            Michael.     Do you remember when that• was?        z3               with me.
 z4       A    2 think it was after Christmas.      I think it     Zq       Q       So you 3uat want Lo be able to see her?
 z5            was after Christmas of 2016.                        Z~       A       Yes.


                                                                                                          25 (Pages 94 to 97)

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                                                           Page 98                                                          Page 99
      i   Q    And hopefully progress into seeing her more                I   CROSS-EXAMINATION BY Mli. MCKINNRY:
      z        and more?                                              z       Q    Ms. Greenlee, you signed Plaintiff:'s Exhibit
      3   A    Yes.                                                   3            No. 1 of your own free iaill; didn't you?
      4   Q    How did you feel after you weren't able to see             ~   A    Yeah.
      5        her and after you had been blockedT         How did    5       p    And you signed Plaintitf's Exhibit No. 2 of
   6           that make you feel, not getting to see her?            6            your oian free will; didn~C you?
      7   A    It hurt my feelings.       I was really ❑pset about    ~~      R    Yes, sir.
   8           it actually.                                           8       Q    And you knew that you were turning over
   9      R    Now, you indicated that you called the                 9            custody of the child to Michael Mathieu;
 10            department at least on one occasion about this        is           didn't you?
  it           agteemant that you had signed, and you were           it       A   I wouldn't say that.   I mean, I was turning
  x2           told you have to go to court?                         1z           over custody.    i knew that we made an
 13       A    Yes.                                                  13           agreement to -- that she would reside with him
 14       Q    At that time, did you gave the money to hire          i+           and we split weeks.
 15            an attorney?                                          is       Q   Can you read?
 16       A    I did not.                                            1s       A   T can.
 17       Q    Did you have the money to go to court?                17       q   Did you read Plaintiff's Exhibit No. 1 before
 ie       A    I did not.                                            18           you signed it?
 19       Q    Does anybody in your family have the money to         is       p   I did.
 20           do that?                                               20       Q   Do you know that it says that he's got custody
 z1       A    No.                                                   21           of the child until the child is 16?
 zz       BY MS. JACKSON:                                            22       A   Yes.
 23           I don't have anything else, Your Honox.                ~3       Q   But you're saying you have this oral agreement
 24       AY THE COURT:                                              24           with him that you thought superceded the
 zs           Mr. McKinney.                                          25           written agreement.; is L•hat right?


                                                       Page 100                                                           Page 101 ~
  1       A   Well, I spoke Lo David when he produced the             1           and so i found it online.
  z           paperwork to me.     He told me that the                z       Q   And so you mc~t, you went to the Express Lube
  3           visitation could be -- the visitation or                3           for whatever -- where there was a notary, and
  a           whatever we decided was to be discussed                 4           you got that notarized?
  5           between us.                                             5       A   Yes, sir.
  6       Q   He said you and Michael would have to work out          6       p   The child has been primarily with Michael
              the texms of the visitation?                            ~           since about three months after it was born; is
  e       n   Uh-huh.     (Affirmative)                               e           that correct?
  9       Q   And did he tell you what would happen in the            9       A   I r~ouldn't say three months.     Since about --
 10           event you all couldn't work out the terms of           lo           she was almost four months old.
 11           the visitation?                                        11       p   Okay, since that time, she hae been in
 12       A   That we would have to go to court.                     i2           Michaal's custody and he has been the primary
 13       Q   okay, that's where we axe now.       The temporary     13           caregiver; ie that correct?
 14           guardianship agreement, Plaintiffs Exhibit             14       A   Hia mom takes care of her really.
 is           No. 2, how did you come into possession of             15       Q   S9ell, Michael takes care of. her too; doesn't
 16           that document?                                         is           he7
 17       A   I think that I printed it off actually.                17       A   (Shrugged shoulders)
 ie       Q   From where?                                            le       Q   How frequently have you visited with the child
 19       A   From home.                                             1s           since Michael became the primary caregiverY
 20       Q   Okay, how did you know to do Yhat?                     Zo       A   As much as I could.
 z1       A   Well, I spoke with Michael's mom.       We             21       Q   Woll, was it once a week, once a month?
 zz           discussed et first• that we were going to do           ZZ       A   I was Lold once a week, every Friday depending
 23           some kind o£ custody agreement with -- for             z3           on if his days of£ changed.
 24           Michael between us.     And Michael told me that       2~       Q   Were there times when you indicated to Michael
 zs           -- to find a paper and Chat he would sign it,          25           that you wanted to visit, but for whatever


                                                                                                    26 (Pages 9~ to 101)
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                                                        Page 102                                                            Page 103
      i            reason you couldn't exercise the visit?                1       A    fiuh-uh. (Negative)
      2       A    Yes.                                                   Z       Q    You're absolutely certain about iL7
      3       Q    And, Ms. Greenlee, you Indicated earlier that          3       A    Before my pregnancy2
      4            during your pcegnancy you -- you told Dr.              4       Q    Yes.
      5           }colder -- and i may be wrong about what I'm            s       A    Yeah, I'm pretty certain.
      6            saying, buT., if S am, you'll correct me.   You        6       Q    Okay, during your. pregnancy, did you use any
      ~            told Dr. Bolder that you were using narcotics;         ~            hydrocodone?
      e            is that right?                                         e       A    Yea, I was proscribed it.
      9   A       In the beginning of my pregnancy, I did.                9   Q        Okay, and who prescribed it for you?
  io      Q        Okay, did you tell him that, or did he do a        ~~      A        Chattanooga, tho -- the high risk hospital in
  ~1               blood test and determine that?                     11               Chattanooga.
  1z      A       I told him that.                                    12      Q        Okay, and did they prescribe that for you Lo
  13      Q       Okay, and did you tell him what you were            13               wean you off the oxycodone7
  14              using?                                              14      A        Yes.
  15      A       Opiates.                                            i$      Q        And what dosage did they tell you take of
  is      Q       Okay, what kind of opiates?                         16               that?
 17       A       Roxy, it just depends on what it was.   It          17      A        I think it was five milligrams -- or it was
 le               really didn't matter, Y guess.                      1B               three a day, five milligrams.
 19       Q       Okay, well, was it -- was it oxycodone3             19      Q        Okay, and that helped you with ---
 Zo       A       Sometimes.                                          20      BY THE COURT:
 z1       Q       Okay, did you have a proscription for that?        Zi                Did you say three a day, five milligrams?
 22       A       Huh-uh. (Negative)                                 22       AY THE WITNESS:
 23       4       Did you use hydrocodone7                           23                Yes.
 24       A       No.                                                29       CROSS-EXAMINATION RESUMED BY MR. MCKINNEY:
 25       Q       Have you aver used any hydrocodonel                25       Q       and that helped you with orithdrawals?



                                                        Page 104                                                            Page 105
  1       A       Yes.                                                I       A       Sure.
  Z       Q       And, Ms. Greenlee, did you continue to take         z       Q       You would do that?
  ~               that down to the time the child was born?           3       A       Yeah.
  4       A       I did not.                                          4       Q       Okay, and where are you living right now?
  5       Q       when did you stop taking thc+ hydrocodone?          5       A       With my grandma.
  6       A       When my car had broke down and I couldn't make      6       Q       And how long have you been living there?
  7               it to my doctor's appointment.                      ~       A       Since I -- for about almost a month T would
  B       Q       And how -- how far before the child was born        8               say, since I started working.
  9               was that?                                           9       Q       Who else lives there?
 la       A       Maybe five months.                                 10       A       Just me and my grandma.
 11       Q       go you hadn't taken any hydr000done in five        11       Q       Okay, Ms. Greenlee, prior to this pregnancy,
 x2               months before the child was born; is that          12               have you had any previous involvement with the
 13               right?                                             13               Cherokee County Department of Social Servicos7
 i4       A       Uh-huh.    (Affirmative)                           14       A       Yes.
 15       Q       And you say you dop~t have any problem with        15       Q       Okay, and how long ago was that?
 is               your visitation being supervised at this           16       A       2014.
 i~               pointiy                                            17       Q       Md what was the occasion for you to be
 ze       A       No.                                                18               involved with the Department of Social
 19       Q       Ms. Greenlee, would you be willing to make         19               Services at that point in time?
 Zo               your visitation with the child contingent on       20       A       Eor a dxug test, I guess.   Bllegations of drug
 21               passing a five panel hair and urine drug           21               use,
 2z               screen ---                                         22       Q       And did -- did you take drug tests at that
 zs       n       yes,                                               23               time?
 ~4       Q       --- to be administered by a laboratory on the      24       A       I did.
 zs               federal registry?                                  25       Q       And did you fail?



                                                                                                      27 (Pages 102 to ]_05)

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                                                       Page 106                                                       Page 107
      1   'A     I did.                                                1         was David Hughes?
      z    4     And where were those drug tests administered?         2    n    [3ecause that's what he told me.
      3    A     The Health Department.                                3    Q    He told you khat he prepared it7
      4    Q     Here in Cherokee County?                              4    A    He -- ~~hen we -- when he told me about the
      5    7,    Yes.                                                  5         papero-rork, he told me that he was going to fix
      6    Q     Okay, did you have other children at that             6         -- get the paperwork together. and he could,
      ~          tima7                                                 '~        you know ---
      8    A     I did.                                                e    Q    Okay, how -- ho~a much time elapsed between the
   9       Q     And wera they removed from your care?                 9         time he told you that and the time you signed
  to       p     yes.                                              la            the agteemenY7
  11       Q    And how old are they?                              11       A    Maybe a week.
  12       A    Two, ona, and five months, I think.                12       Q    Fxom the time that you were conCacted abouC
  13       Q    Did you ever have any discussions with any         13            your pregnancy by the Cherokee County
  19            attorney with -- from the Cherokee County          14            Department of Social Services until the child
  z5            Department of Social Services about this           15            was born, were you offered any servicos by the
  16            matter?                                            i~            Chorokee County Department of Social Services?
 17        A    Can you repeat that, I'm sorzy?                    17       A    i don't think so.
 le        Q    Okay, did you ever talk with the Cherokee          18       Q    After the child arcs born, were you offered any
 19             County Department of Social Services' attorney     19            services by the Cherokee Counhy Department of
 Za             about that custody agreement you signed?          20             Social Services?
 21        p    I don't think so.                                 Zi        A    No.
 22       Q     Do you know who prepared that Plaintiff's         22        Q    Did anyone discuss the need with you for drug
 ~3             Exhibit No. 1, the custody agreement?             23             rehab?                   -    ~
 z4       A     To my knowledge, it was David Hughes.             24        A    No.
 z5       Q     Okay, and how do you -- why do you think it       25        Q    Did you take any drug screens for the Cherokee


                                                      Page 108                                                        Page 109
  1             Department of Social Services after the child      1        A    As far as I seen.
  z             was born?                                          z        Q    Wall-fed?
  3       A     I did.                                             3        A    As far as I seen.
  4       Q     And what were the results of L•hoae drug           4        Q    Taken to the doctor when she was sick?
  5             screens?                                           5        A    I do not know.
  6       A     My first one Che day I got out of the hospital     6        BY MR. MCKINNEY;
  7             was dirty, but the rest them were clean,           ~             That would be all my questlons, Your Honor.
  8       Q     And what did you test positive for?                e        BX THE COORT:
  9       A     T can not remember what it was.                    9             Followup7
 to       Q     Was it hydrocodone?                               10        REDIRECT EXAMINHTION BY MS. JACKSON:
 11       A     It might have bean,                               li        Q    Ms, Greenlee, would you have signed that
 12       Q     Your daughter is being well taken care of;        xz            agreement, Plaintiff's -- or Plaintiff's
 13             isn~t she?                                        13            Exhibit 1, if you knew that you were not going
 14       A     I wouldn~t know.                                  14            to be able to get visitation with Alana?
 z5       R     Well, when you would exercise your visits at      15        A   No.
 16             Michael's where he was living with his mother,    i6        Q   Did you go to law school?
 i~             was the child being taken well -- taken good      17        A   No.
 le             care of?                                          1e        Q   Do you understand -- do you understand legal
 19       A     I mean, I guess.    They weren~t really around    1~            terminology?
 z0             when .I was in there.   They would just sit on    z~        A   No.
 21             the couch there.    I don't know.                 Zi        Q   Did anybody tell you to talk to an attorney
 22       Q     Well, did your daughter seem to be happy          22            before you signed that?
 23             there?                                            23        A   No.
 24       A     Yeah.                                             24        Q   At any time, did you talk to anybody at the
 z5       Q     She was safet                                     25            department about the fact that they may file a


                                                                                                  28 (Pages 106 to 109)
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                                                               Page 110                                                              Page 111
          1            petition to go to court?                                  1       RY MS. JACKSON:
          z       A    No.                                                       2            I am.   Your Nonor., I'm going to briefly recall
          3       Q    So nobody ever talked to you about that?                  3            Ms. Shalees Greenlee.
          ~       A    Z don't think so.                                         4       BY TFSE COURT:
          5       Q    When you signed that agreement, Plaintiff's               5            All right.
          6            Exhibit 1, were you told by Mr. Nughes that               6       aY MS. JACKSON:
          ~            this would keep you out of court?                         ~            Just for one followup.
          8    A       Yes.                                                      e       BY THE cOUtiT:
          9    BY MS, JACKSON:                                                   9            tor. McKinney, do you wish for she -- for her
      l0               I don'Y have anything else, Your Honor.               10               to be re-sworn?
      11       gy THE COURT:                                                 11      BY MR. iQCKINNEY:
      i2              Any followup7                                          i2               No, Your Honor.
      11       py MR. MCKINNEY:                                              13      BY THE COURT:
      14              I don't have any further questions, Your               14               Ms. Greenlee, come on around for me.     I will
      is              honor.                                                 15               advise you that you remaSn under oath.
      16       gy THE COURT:                             ~                   16      RF,DIRECT EXlitQINATION RESUMED BY MS. JACKSON:
      i~              Ms. Greenlee, you may step down,       If I may see    1~      Q        Ms. G=eenlee, I just had one followup question
      1e              counsel at the bench just for a second.                1e               for you.     Ta your knowledge, did DSS or the
    ' 19       (BENCH CONFERENCE)                                            19               Department of Social Services here in~Chezokee
      ~~       BY THE COURT:                                                20                County ever make any efforts to reunify you
      Zi              So, ladies and gentlamen, we'll be at ease for        21                with your daughter?
      22              just a few minutes.                                    22      A        No, ma'am.
      z3      (OFF THE RECORD)                                              23       BY MS. JACKSON:
      24      aY THE COURT:                                                 24                Z don't have anything else, Your Honor.
      25              Aze you ready to call your next witness?              25       BY MR. MCKINNEX:


                                                              Page 112                                                              Page 113
      ~               X don't have any further questions.                    1       Q       And how long have you been employed with the
      z       .BY THE COURT:                                                 2               department?                               ~
      3               Ms. Greenlee, you may stap down.                       3       A       Going on seven years.
      ~       BY MS. JACKSON:                                                9       R       And what -- in what capacity are you employed
      5               Your Honor, the next witness would be David            5               there currently?
      6               Hughes.                                                6       A       I'm the Child Protective Service Unit
      ~       BY THE COURT:                                                  ~               supervisor.
      8               All right', Sheriff, if you will, bring Mr.            8       Q       How long have you been the supervisor?
      9               Hughea in for vs, please.     Mr. Mathieu, you         9       A       This year will be two years.
     10               can come back around iF you want to sit at the        10       R       Do you recall when you became the supervisor?
     11               table with Mr. McKinney.                              li       A       Yes.
     IZ       (OFF THE RECORD)                                              12       Q       When was that?
~    13       BY THE COURT:                                                 13       A       It was in September of `16.
     ~~               Come on around, Mr, Hughes.                           1~       Q       And you said you've been employed there total
     i5               DAVID HUGHES, being duly sworn Co tell the            15               for seven years?
     is       truCh, the whole txuth, and nothing but the truth             xb       A       Going on seven years.
     1~       of his own knowledge concerning the within matter,            17       Q       Going on seven years, okay.     So for the five
     le       testified as follows:                                         18               years prior to September 2016, in what• -- what
     19       DIRECT EKAMINATTON HY MS. JACKSON:                    ~       19               was your status there?
     20       Q       Good afternoon, Mr. Hughes.    Would you please       z0       A       I was a social worker.
     zl               state your full name fox the Court?                   21       Q       A social worker.     What is your educational
     2z       A       David Allen Hughes.                                   22               background?
     2j       Q       And, Mr. Hughes, how are you currently                Z3       A       I have a bachelor's degree in business
     2<               employed?                                             24               administration,
     25       A       Cherokee County Department of Social Services.        zs       Q       And is that a four-year degree?


                                                                                                                29 (Pages 110 to 113)

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         1   'n   Yes.                                                    1       A    Yes.
         2    Q   As part of. your work at the department, do you                 Q    Do you recall when you f r.st began working on
         3        reyularly go Co any type of training ox in-             3            that specific case?
         9        services?                                               4   n        Well, i was -- i was not directly involved
         5    A   Yes.                                                    5            with the case initially -- at initiaCion
         6    Q   Can you tell me about that?                             6            because there was another. social ororker that
         ~    A   Well, we have certain courses that Che state            ~            worked that case.
         8        requires that we have.     I think it's maybe 2A        8   Q        And do you know who that was?
         9        hours minimal continuing education each year..          ~   A        That was Social Worker Kat1.e Johnson.
     io           At the office, I have a list of all the             i~      Q        Do you recall what, if any, involvement that
     li           courses and classes that I've attended, but Y       it               you had in the case?
     1z           don't have them with me.                            12      A        On that particular report?
     13      Q    Okay, have you kept that current?                   13      Q       Coxrect.
     14      A    Yes.                                                14      A       Sorte.   I mean, not everything.
     15      Q    Okay, and have you always kept that cuxrent in      15      Q       Can you tell me what you recall?
    16            your seven years of employment?                     16      A       I remember that there were -- a child was born
    17       A    Yes.                                                17              and we had received a report, and I think
    le       Q    And are those trainings -- do you go to those?      18              there were ongoing substance abuse issues.
    19            Axe they at the department?                         19      Q       And do you recall if you worked any with t4s.
    Zo       A    Usually we go Yo them, but -- occasionally, if     Zo               GreQnlee, or would that have been somebody'
    Z1            it's some type of short training, it might be      21               e1seT
    22            at the department, but -- but they're usually      22       A       Well, during -- during that particular report
    z3            hold in Asheville or Charlotte.                    23               -- report, it would have been Social Worker
    24       Q    Axe you familiar with the case involving           24               Johnson.
    zs            Shalees Greenlee and her daughter A1ana?           25       Q       Do you recall ---


                                                        Page 116                                                             Page 117
     1       BX MS. JACKSON:                                          i       Q       Okay, and when you Eiist saw one of those, do
     2            Your Honor, if I may approach the witness?          2               you remember how that Dame about?
     3       BY THE COURT:                                            3       A       i don't remember the first time I was exposed
     4            You may.                                            4               to one of Chese, how it came about.     i do know
     5       DIRECT EXAMINATION RESUMED BY MS. JACKSON:               5               that, you know, there have been -- they've
     6       Q    I'm going to hand you what's been previously        6               been used in the agency ovar Lhe years.
     ~            markad as Plainttff.'s Exhibit 1.    Do you         7       Q       Okay, did you ,ever draft one of these?
     e            recognize that document?     (Tenders) .            8       A       I have, and then usually in the cases that --
     9       A    (Upon raview)   Yes.                                9               that we use them, once the -- the changes were
~   i~       Q    What -- what is that document called at the        so               made, then -- then our attorney would look the
    it            depaztment7                                        11               -- the fozm over.     Sometimes he created them.
    12       A    Custody and visitation agreement or commonly       1z       Q       Do you know who originally created that?
    13            referred to by you all as a CVA.                   ii               Because they all -- all the ones that I've
    14       Q    Okay, so exactly what it says there at the         1~               seen seem to sort of have the same format.     Do
    x5            top?                                               15               you know who originally created the document?
    16       p    yes.                                               is       A       I do not know.
    i~       Q    Do you remember when the First time is that        1~       Q       BUC you did not originally create it7
    le            you saw one of those agreements?                   ie       A       No.
    19       A    i don't remember exactly.                          19       Q       3o you said the casos that would use them,
    20       Q    Can you estimate?                                  Zo               what did that mean?
    21       A    Years ago.                                         zl       A       Well, it wasn~t something that was used on a
    22       Q    When you say years -- T'm going to try to          zz               regular basis:   Sometimes there were cases
    23            narrow it down just a little bit -- would you      23               that involved grandpaxenCs having a lamporary
    24            say five years ago or more than that?              za               custody of a child and.-- or another family
    zs       A    Probably flue years ago.                           2s               member, and somatimea they were just done to


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      1        set it up so that the other family member              1        -~- due to the situation ~ahere the family no
      2        would have permanenC custody, or so we thought         z       longer had room for this child, they wanted to
      3        at the time, without having court involvement.         3        transfer custody to another adult sibling, an
      4    Q   Were they typically cases that you oiould havo                 aunt, and so it alas created on that occasion.
      5        a report on already, or how did Lhat work?             5   Q   Okay, and so Y.haF. was done withouC a report?
      ~    A   Usually.                                               6   A   Right.
      ~    Q   okay, when you say usually, were there ones            ~   Q   Okay, and under whose authority do you recall
  8            that that Dias not the caseY                           8       that that was done?
   9       A   There have -- thew has been one in particular          9   A   Well, that -- that particular one, the family
  to           that T knoor.                                      ~o          came Lo DSS and asked us about what they could
 11        Q   And under what circumstances do you know would     li          do.     We -- we referred them to attorneys.
 12            that be done?                                      17          They said, "We don't have the money to pay an
 33        A   Like a case that- did not involve court, I         33          attorney.     We just paid for the funeral
 14            mean, whore there was not a case?    Is that       14          expense oP our father.     Is there anything that
 15            what you're asking?                                Is          ya'll can do to help us7"     Our attorney at the
 is        Q   yes,                                               is          time, Scott Lindsay, and I mot with the family
 17        A   We had a family approach us on one particular      17          on that particular day and ---
 le            occasion where the uncle had been granted          le      Q   Okay, and do you remember who -- who put the
 19            custody of the child, and the Family no longer     19          details in that ox who drafted that one?
 Zo            had room for the child in their home.    And in   20       A   I'm pretty sure that Scott did.
 Z1            fact, it turned out that the unclo had allowed    Zi       Q   Was there a template for these that you would
 2z            the child to live with the -- with the            2z           just go in and fill out?
 23            grandparent.    The grandparent died and they     23       A   Well, I would say yes, but the template might
 z4            came to us and asked ua iP there was something    24           be one that you had just saved, and you went
 25            that we could do to help them, that they wero     25           in and change things.


                                                     Page 120                                                       Page 121
  1        Q   So like from a previous case?                      1           would not have ended up in -- in -- I say
  Z        A   Right.                                             z           moat.     A lot of the cases would not heve ended
  3        Q   And you indicated that these were used             3           up in court, and it was at the request of the
  4            oftentimes to go to grandparents or family         4           family to -- to help them place the child in -
  5            members.    Were these ever used to kransfer       5             somewhere that was safe and that -- so that
  6            custody to a non-Family member?                    6           the -- whether it be grandparents or family
  ~        A   It's possible.                                     ~           members had a right to be ablo to obtain
  B        Q   I know I've already sort of touched on this,       e           medical care, enroll them Sn school, and do
  9            but were these cases that- were sta££ed on a       9           things such as that.
 to            regular basis where these would be used?          io       Q   After Yheso were completed, were there ever
 it        A   Probably.                                         is           any -- was there ever any followup?    So after
 IZ        Q   so I guess what I'm trying to figure out is;      az           a cVA was signed, all the parties signed it,
 13            Whoae decision was it ultimately whether or       13           was the case eJ.osedT
 14            not to use one of these?                          i4       A   Usually its closed soon aftezwatds.
 15        A   Well, it would be -- it would be a discussion     is       Q   So let's say a month later, would DSS still be
 16            held between the social worker, the               i6           involved or doing any followup?
 17            supervisor, the attorney, and the -- and many     x~       A   Usually by that Yime the case would have been
 le            times the family, you know, weze all, you         1e           closed.
 19            know, in on the discussion.                       iy       Q   so the signing of the CVA closed the case?
 20        Q   So I guess what I'm asking -- if there had        zu       A   Usually.
 21            been a report within the department and you       21       Q   When you say usually, what does that mean?
 22            were working with, let's say, a mother, how       22       A   Unless there happened to bo other children
 2~            would you determine on which cases it was         23           that were -- that were not placed in that CVA
 29            appropriate to use one of these?                  Zd           and the case was maintained opened to deal
 25       A    Most cases were -- were cases that probably       2s           with that situation.


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      1        Q    4lere -• how many of. these mould you say that          1            been done.
      2             ypu have completed in -- during your time at            Z       Q    4lere that' saved to a computer or anythiny of
      3             the department?                                         3            that nature, like of a lisC oP these?
      4     A       Maybe three as a social worker, you know.               4   A        They were saved probably until the point that
      5     Q       Okay, and how many do you think, and if you             5            that particular template was used again, and
      6             know, were completed at the department while            6            then it was cleared.      They weze -- they were
      ~~            you've been there whother or not you may have           ~            put in the -- in the case file.
      B             been directly or not directly involved?                 e   Q        What about ones like the case where you said
      9     A      Probably 3omewhore in the neighborhood of 20             9            there was noC a cur=enL case file, that a
  x~               or low ttaenties.    Somewhere between pzobably      io              family just came to you?       Do you recall what
  11               20 and 24.                                           11               was done with that parCicular one?
  12       Q       And when these v+ere completed, did all of them      12      A       That particular file was located i.n our filo
  i3               -- did all of them have to be appzoved by            13               room, and it was -- and it was put in that
  14               Scott Lindsay, the athorney7                         14              £ile.
  15       A       I do know that on occasion there was a couple        15      Q       Okay, ao you did make a file on that?
  is               that he seemed to not be aware of because he         16      A       Yeah.
 i~                had made mention to me later that he did not         17      Q       Okay.     When these cases were staffed, who
 1e                have a copy o£ a certain one.     So I feel like     ~B              would be in the staffings?
 19                Lhat there ore re some that -- that were done        19      A       It would usually be the -- the supervisor, the
 Za                without his knowledge.                              20               social worker -- well, maybe all the social
 zl        Q       Hopi did the department keep track of theae2        21               workers might be -- you know, wp have a group
 22        A       Well, honestly, we didn't keep track of them.       22               staffing every -- every week.      3o it's more
 23                I mean, they were done, they were puC 1n each       23               than likely that it was probably taken care of
 24                file, and -- and they were there, but we            24               during those staff meetings because Scott
 z5                didn't keop a running tally of how many had         25               Lindsay would be in aCtendance to our group


                                                          Page 124                                                              Page 125
  1                staffings as well.                                   1               department not file a petition?
  Z        Q       So he would be present when these were               z       A       Well, for example, in the -- in this
  3                discussed?                                           3               particular case of Alana Roberts, Shalees had
  4        A       Yes.                                                 4               asked for something to be done.      She wanted to
  5        4       When you did these, because I know the               5               assign custody over to Michael Mathieu,
  6                department has particular ways of coding and         6       Q       You indicated in the beginning that you -- or
  ~                billing, how would the case be closed?     How       ~               during the beginning of your testimony rather
  8                would it be closed out with the state?               8               that you do typically 24 hours of training a
  9        A       Well, it may have been the services provided.        9               year?
 to                It depends on what all -- what all took place       to       A       Uh-huh.    (AEfitmative)
 li                during the course of the case, you know, if we      xl       Q       During any of that training, did they ever
 xz                have made referrals for assessments, weave          i2               discuss or talk about doing private custody
 13                done drug screens.     Many things come into play   13               agreements or CVAs7
 1~                other than just that CVA.                           1~       A       No.
 is        Q       And when you would have the ataffings, was the      15       Q       Did any of the training ever indicate that
 16                director typically there?                           16               that was a proper method of closing a case2
 1~        A       Typically, no.                                      1~       A       No.
 1e        Q       sut Mr. Lindsay was?                                1e       Q       Did you ever question doing these or question
 19        A       In -- on most occasions.                            19               whether ox not they were proper?
 2~        Q       Are you aware -- when these were done, were         20       A       Well, T'm not an attorney.      I figured this is
 Zx                they ever emailed to Mr. Lindsay for his            21               a legal form.    We had an attorney, and that~s
 22                approval?                                           22               -- I just don't feel like that's my role.
 23        A       They probably were for him to look over and         21       Q       Okay, so as far ae you knew, these were
 24                make any changes.                                   Z<               proper?
 ZS        Q       On these specific cases, why would the              ZS       A       They had been used at the agency bePore I came


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      1            to the agency.    So I didn't -- I didn't really         1       A    i don't know what all the discussion was that
      2            see that: there caas a problem.                          2            day.    We informed her that it was taking care
      3       Q    So when you said that the ones Lhat you were             3            of what she wanted, that it was a custody and
      4            aware of are probably somewhere between 20 to                         visitation agreement.    We went ovar it, and
      5            24 -- so that would be since your time with              5            she signed it.
      6            the agency?                                              6   Q        And on that day, did she question you about
      ~    A       Well, no, I think that's how many cae have been          ~            whether or not she would continue to have
      8            able to locate that has been done.                       8            visitation?
   ~       4      Okay.   Do you know when those date back?                 ~   A        Yes, and visitation was addressed in Lhere, if
  10       p       For probably about ten years.                        to               I'm not mistaken.
  11       Q      In the specific case that we're here about            li      BY MS. JACKSON:
  12              today, Shalees Greenlee, did you along with          12               11nd, Your Honor, if I may briefly approach?
  13              the social workers qo to Ms. Greenlee's               13      BY THE COURT:
  14              residence?                                           1~                You may.
  15      A       Yes.                                                 15       BY MS. JACKSON:
  16      Q       Can you tell me about that?                          16               If i may approach, Your Honor, I'm sorry.
  17      A       A social worker and myself, and we also took a       17       DIREC2 EXAMINATION RESUMED BY M5. JACKSON:
  1e              notary with us -- we took it out and went over       le       q       If can point you to No. 2, the only visitaCion
 19               it, and she said that's chat she wanted to do.       19               that Ms. Greenlee was allowed was in fact at
 Z~               She signed it.     it was noCarized.   We took it    Z~               the placement's discretion; would that be
 21               back and put it in the £ile once it was signed       21               correct?    (Tenders)
 2z               by the -- by the father.                             ZZ       A       (Upon review)     I think that's correct.
 23       Q       And did -- did you give her the impression or        23       Q       So •in fact she -- she hypothetically didn't
 24               tell her that that was a legally binding             ?A               have any visitation?
 zs               documentY                                            25       A       47e11, it saga that she shall have the right Lo



                                                         Page 128                                                              Page 129
  1               visitation with her children at reasonable            1       Q       Do you recall if you told hex that she would
  2               times and for reasonable length of time.        We    Z               have to go to court?
  3               kind of leave it up to where it's up to them          3       A       I don't remember the conversation exactly, I'm
  4               to work it out.                                       d               sorry.
  5       R       So if the placement provided doesn't want to          5       Q       Were any of these ever signed by a judge?     Do
  ~               allow visitation, then they don't have to?            6               you know4
  ~       A       Well, 2 guess it's not set up on specific             ~       A       Not --'not that I'm aware of.
  8               dares, specific time for each week.                   8       Q       Were any of them ever Filed at the clerk's
  9       Q       At some point after this was signed in                9               o£ficel
 to               November of 2016, did Ms. Greenlee contact you       to       A       There was one that we -- we did filo, and I
 11               in regards to the fact that she was not              li               remember talking Yo the clerk of court's
 12               getting visitation?                                  32               offica about it.     And they informed me that --
 is       A       Yes.                                                 is               that it couldn't be file-stamped.. It would
 1a       Q       And what did you tell her?                           la               just be basically there.     Tt wasn't someehing
 ~5       A       I don't remember exactly what I L-old her.      I    15               that they were accustomed to doing.
 1s               just remember her calling about that.     You        1s       Q       Why was that specific one filed with the
 17               know, t just -- z can't remember the                 i~               clerk's office?
 le               conversation exactly.                                le       A       Because somebody had asked us if -- i£ it
 19       Q       So do you recall that she was concerned --           19               would be filed there, and I told them that
 20               that she still wanted to see Alana and wasn't        zo               typically they were not fi19d there, that they
 21               being allowed to                                     Zi               were dust in the file at Ds5 office and i
 22       p       Yes.                                                 2z               would look into the process of filing it in
 z3       Q       So she was making efforts to continue to see         23               the clerk's office.
 24               her?                                                 24       Q       5o in this specific case with Ms. Greenlae,
 z5       A       Yes.                                                 25               did you tell her that if this was signed, she



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      1            orouldn't have to do anymore drug acreens7             ~   Q    In this specific case -- it's been cleared up
      2       A    I think we probably told her. that the case            z        now, but at the time, Diichael Mathieu was noC
      3            would be closed.                                       3        the legal father; is that correct?
      4       Q    And that thore wouldn't be any court                   4   A    There was always aomo discrepancy about who
      5            involvement?                                           5        the father was.
      6       A    Yes.                                                   6   Q   4lho was the leyal father?    Who was on the
      7       Q    And that there would be no chance that the             ~        birth certificate?
      e            child would go to foster. care?                        8   A   I think Cody Roberts was on the birth
      9       A    I don't -- I don't know that that Baas the             9       certificate.
  10               extent of the discussion, but     pause) ---       10      Q   When this was signod, was L-here any
  31       4       Do you know why there isn't a minimum              it          communication vtith him?
  1z               visitation pui into those CVAs7                    12      A   To the best of my knowledge, I think he was
  11       A       No.                                                13          there whon it was signed by Shalees.     I can't
  in       Q       Was she aver advised to speak with an              14          remember, but he -- he did -- Cody dill play a
  is               attorney?    Do you know?                          15          role -- he will be active fora while and then
  16       A       She was.                                           ~6          -- and then you won't see him for a whits.
 17        Q       You did tell her to talk to an attorney?           17          tie's -- he's in and out.    So you never -- you
 ie        A       We talked with her one time and -- and cihen      18           never really knew what the relationship was
 19                she was first asking about signing over           19           going to be like from one month till to the
 20                custody to Michael, we advised that she           Za           next.
 zi                probably should talk to an attorney.              21       Q   So at the time this was signed to Michael
 z2       Q       And why did you advise hex of that?                ZZ           Mathieu, the department did not know who the
 23       A        Well, that~s just usually what we do.             23           actual father oP tho child was?
 2n       Q       Because signing custody is a pretty big deal?      24       A   It was 'just based on what the birch
 25       A       Sure.                                              25           certificate said, you know.


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  1       Q       So at that time, you thought it was David Cody      1           being placed?
  2               Roberts?                                            Z       A   Usually they were because in many times there
  3       A       Well, at some point along the way, I think          3           was alraady a -- a kinship placement or a -- a
  4               that 3haleea had indicated that -- that             4           temporary parental safety agreement in place,
  s               Michael was the father.                             5           and that's where the children were already
  6       Q       Do you know if the department ever did any DNA      6           staying.
  7               testing or anything of that naturo7                 ~       Q   And when these wero used, was there ever -- I
  e       A       I don'Y think it was done by the department,        e           know that we kind of touched on it, but was
  9               It was talked about, but Z don't think that it      9           there ever any followup7
 io               was ever done.                                     io       A   After the case was closed, no.
 11       Q       Since David Cody Roberta was on the birth          it       Q   So for example, like if there eras a child t1iaL
 1z               certificate, did you have him sign anything?       12           was meth addicted that was taken from the
 13       A       I don't think thaC he signed this CVA.             13           hospital and placed via a CVA, was there any
 11       Q       When the child was 'placed through the CVA with    1<           followup because of medical reasons?
 15               Mr. Mathieu, was there any home study done?        15       A   No.     Once the case was closed, there was no
 16       A       I would have to look at the documentation and      ib           followup.
 17               see.    I don't -- I don't know right off hand,    1~       Q   Why did the department not follow up7
 ie       Q       Was there any drug testing on Mr. Mathieu?         is       A   Well, once -- once our case is closed, we --
 19       A       I don't know if a drug teat was done.    Z do      19           we work with open cases.
 zo               remember seeing somewhere in the notes that        20       Q   so is this a way Co close cases fast?
 zi               Katio Johnson had done background checks and       21       A   I wouldn't say that.    I think Yhat most of
 z2               RIL checks on, I think, he and his parents.        22           these agreements wera done in what wQ thought
 23       Q       So looking at the broader picture, whan these      23           was the bast interest of the ch11d at Che
 24               CVAs were used, were there typically home          z4           time.
 25               studies done on where these children were          25       Q   po you know if anybody at tt~e department ever


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      1            questioned the legality of these?                              ~            about, I guess that's    47~IP.R   wo really •~- it
      z       A    Not while T~ve been there.                                     Z            came to light. abort the -- the legality part
      3       Q    Did you ever talk directly tiaith Mr. Lindsey                  3            of it.
      4            about these?                                                   4       Q    After these CVAs are signed and Che files are
      5       A    Usually just oihen we were doing one, I mean                   5            closed, where were the files placed?
      6            (pause) ---                                                    6       A    In our file room at DSS.
      ~    Q       And would he approve of them?                                  ~       Q    Othar than that one occasion oihen Ms. Greenlee
      e    A       Yes.                                                           e            tried to get in contact with you about
      9    Q       Did you rely on his legal advice?                              9            visitation, did you have any contact with her,
  10       A       Yea.                                                       10               Alana, or Mr. Mathieu after this document was
  it       Q       Did you think L-hat cuhat you were doing was in            it               signed?
  12              the beat interest?                                          IZ      A        No.    I mean, occasionally I mighk run in to
  13       A       Yes.                                                       13              Shalees somecuhere in the community or here at
  14       Q      When was the first time that you discovered                 14               the courthouse or something, but -- but not on
  1s              that these were not in fact binding documents?              15              DSS business.
  16       A      Well, I -- I knew all along that they were noC              ib      Q       47hen you would specifically do one of these,
  i~              r.ecorded in the clerk's office,            So probably     i~               would you present it to Mr. Lindsay?
  1e              from as fax back from when we -- when I was                 1e      A       Yeah.
 19               first exposed to one.    I knew Chat they were             19       Q       And would he approve of it?
 20               not filed, but -- as far as legally binding,               2~       A       Well, he would -- he would look over them and
 Z1               you know, both -- both parties Z should say,               21               make any changes that he felt like were
 2z               all the parents that signed 1Y -- that usually             22               necessary.
 ~3               constitutes that you know what you're signing              23       Q       Was there ever one that was presented Yo him
 24               and you're agreeing to it.    So until, I guess,           29               that he disapproved of?
 75               this lawsuit and everything started coming                 25       A       Not that I'm aHiare of.



                                                                Page 136                                                                  Page 137
  1       Q       Did he ever tell you how -- or did you aver                 1       Q       Do you know how long the department maintains
  Z               tell people when they signed these how they                 2               their files -- or keeps them rather?
  3               could terminate them?                                       3       A       T think that they just stay on, you know,
  4       A       No.                                                         4               until the state decides that you might be able
  5       Q       How D5S maintain their files?                               5               to purge them, but T've -- we talked about
  6       A       I'm not sure what you~re asking.                            6               that recently, and I think that you pretty
  ~       Q       After a case is closed, what happens wil-h the              ~               much have to keep CPS files.
  8               file?                                                       8       Q       You indicated earlier in your testimony that
  9       A       The social worker completes all the                         9               you thought that there was somewhere around 20
 io               appropriate paperwork, turns it in to the                  x~               to 24 of these; is that right?
 ii               supervisor.    The supervisor goes through it to           11       A       Yes.
 12               verify that everything is in the file that's               12       Q       Now did the department determine that?
 13               supposed to be.    The case is closed out                  13       A       We have gone through the files.
 14               through the state, and the file is then filed              14       Q       Were you present when Mr. Lindsay stated in
 x5               away 1n our file room.                                     15               open court that he brought 30 oP these with
 16       Q       After -- probably the same thing -- but after              16               him todaya
 1~               these weze signed, were there any mote                     17       A       Y heard that.
 1s               services provided to the parents?                          1e       Q       Were you aware of that?
 19       A       I£ the case was closed, no.     ~       ~                  19       A       No.
 20       Q       Do you have electronic filing, ox is it all                z0       Q       Do you know if they~ze the same ones that you
 21               paper filing still?                                        21               have?
 2z       A       Its still paper.                                           22       A       I would assume that they -- that thoy make up
 23       BY MS. JACKSON:                             ~                      23               the same number that we have been able to
 2~               I£ I could have one moment, Your Honor?                    z4               locate in the files.
 25       DIRF.C't EXAMINATION RESUMED BY M5. JACKSON:                       25       Q       But have you talked to him about that



                                                                                                                35 (Pages 134 to 137)
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                                                                                                                                               i
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                                                                                                                                               t
      1             directly?                                                  1            Sheriff, if we'll £ind Mr. Hughes, I believe
      Z       A     No.                                                        z            Mr. Hughes rias on the stand, David Hughes.
      3       Q     Tn regards to the specific case on hand,                   3            You did have questions for cross-examination
      4             Shalees Greenlee, the child in that case, that             4            or no7     Wait Just a second, Sheri£f.   Mr.
      5             child was born with some dependency; tuould                5            McKinney is hesitating foz a moment.      Do you
      6             that be correct?                                           6            have any questions?
      ~       A     That would be correct.                                     7       BY MR. MCKINNEY:
      e   Q        Is it typical in a case like that. to close it              e            I'm just trying to think abput wtieie we were.
      9             with no followup?                                          9       BY MS. JACKSON:
  to      A        Well, we worked with the family for -- from             to               I had just quit.
  li               probaUly July till November.    So once the             li          BY THE COURT:
  1z               child was in what we felt like was a safe              i2                He had just ---
  13               place, that's when the case was closed.                13           HY 14R, MCKINNEY:
  14      gy MS. JACKSON:                                                 19                Yes.
  15               I don't have anything further, Your Honor,             is        BY THE COURT:
  16      BY T}IE COURT:                                                  16                She had just finished.
  i~               All right, it's -- would this be a good place          1~        BY MR. MCKINNEY:
  le               to break before you start cross-examination?           le                I have a couple of questions for him.
  19      BY MR. MCKINNEY:                                                i9        BY THE COURT:
 20                (Affirmative nod)                                      Zo                Okay, bring Mr. Hughes in, pleaso.     Mr.
  Zi      BY TfiE COURT:                                                  Zi                Hughes, you remain under oath.
 2z                All right, we' 11 be at ease for our J.unch            ZZ       BY THE WI'PNESS:
 23                break until 2:15.                                      z3                okay, thank you.
 24       (OFF THE: RECORU)                                               Z4       BY THE COURT:
 25       BY THE COURT:                                                   25                You may have a seat.



                                                         Page 140                                                                 Page 141
  i       CROSS-EXAMINATION BY MR. MCKINNEX:                               i               for?
  2       R        Mr. ifughes, as a part of the D55 investigation         Z       A       I just assumed that ha was her OB doctor,
  ~                related to the complaint 3n this case, did the          3       Q       Do you have a record oP any other drug screens
  ~                Department of Social SetviCes requlrB Sh8188s           4               that she was administered?
  5                Greenlee to submit to any drug screens?                 5       A       Not in this particular case file.    I do in
  6       A        I'm certain that we did.                                6               othex case files.
  ~       Q        Could you ---                                           ~       Q       And had the Cherokee County Department of
  B       A        i would have to verify in the file, but -- but         8                Social Services previously removed children
  9                I think that we did.                                   9                from Shalees ~reenlee's care?
 to       Q        Could you do that and, if you could, let me           la        A       We had placed Lhe children in kinship ca=e
 11                know what the results of those teats were?            11                several timas previous to this.
 1z       A        And I assume thaC you're talking about the            12        Q       Were there civil custody agreements used --
 13                latest report that- involved when the -- where        13                and I'm calling Plaintiff's Exhibit No. 1 --
 14                the CVA came out of7                                  1~                tliat's what I'll refar to by as a civil
 15       Q       ' Yes, sir.                                            15                custody agreement.
 is       p       Okay, I have found where we have made three            16        BY THE COURT:
 i~               separate referrals on three dates, but Y only          1'+               You mean the CVA7
 la               see the drug screen results on two dates.       2'he   le        BY MR. MCKINNEY:
 19               first one was on 7-25, 2016.    It was negative        19                Yea, CVA.
 Zo               for all substances.     The one on July 14, 2016,      20        CROSS-EXAMINATION RESUMED BY MR. MCKTNNEY:
 21               was positive for oxycodone.     However, I do          Z1        4       Wero there CVAs used in those casae7
 22               believe that she had a prescription Por that.          22        A       No, there were not.
 23       Q       Do you know who that prescription was from?            z3        9Y MR. MCKINNEY:
 24       A       I think Dr. Holder.                                    24               That will be all my questions, Your Honor.
 25       Q       Do you know what Dr. Holder was treating her           25               Well, wait, i have one more question.



                                                                                                             36 (Pages 138 to 141)
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      1       CROSS-E)(HMINATION RESUMED BY MR. MCKINNEY:                     1         management file was when the CVA iaas created.
      Z       Q    Mr. Hughes, Cohen the bopartment of Social                 2         So it was done during the in-home service.
      3            Services closed this case -- okay, when you                3    BY MR. MCKINNEY:
      4            folks closed this case, were you required to               4         That will be all my questions.
      5            file a form with tho people in Raleigh ---                 5    BY MS. JACKSON:
      6    A       NO.                                                        6         Just a few more, Your Honor.
      ~    Q       --- indicating that the case had been closed?              ~    REDIRECT EXAMINATION BY MS. JACKSON:
      8    A       Well, I say no.    In our system, ona of the               e   Q     You indicated earlier that you do training
      9            clerks codes that the system is closed on a             9            yearly, 24 houza,      Did any o£ the trainings
  io              particular date.     So that indirectly does go         to           that you ever -- that you ever attended
  11              to Raleigh at some point in time.                       li            provide you with any way to remove a child out
  12       Q      Is there a reason given taken they code it?       Is    12           o£ the home othar than what was contained
  13              there a reason given for why the case was               13           within Chapter 707
  1~              closed?                                                1~       A    No.
  15       A      It is -- it is noted as how the case was               is       Q    And when we talked earlier, you testified
  16              staffed.     Like if it were staffed as a              1s            about what efforts were made to locate Eiles
  i~              substantiation or a -- or. services need or a          17            of the CVAs.     What efforts ware made, just
  1e              services provided, we have different codes for         le            physical inspection?
 19               each one of those.     So it is noted in that          39       A    Yes.
 ~o               mannar.                                                 Zo      Q    Anything else?
 Z1        Q      And how was this case closed?                          Z~       A    No, we've -- we've just gone through the file
 22        A      It was staffed as services needed, but it was          2z            room.
 23               placed into case management after that.     So we      23       Q    And are all the files in the file zoom?
 24               didn~t close the case completely until the             24       A    Yes.
 25               case management -- that -- during the case             25       Q    Are there missing filas?


                                                         Page 144                                                              Page 145
  1        A      It appears that there are some missing files.           1       (DEFENDANT'S EXHIBIT NO. 2 MARKED)
  2        Q      Do you know how many?                                   2       REDIRECT EXAMINATION RESUMED BY MS. JACKSON:
  3        A      No.                                                     3       Q    T'm going to hand you what's been marked as
  4        Q      Do you know from what years?                            4            Defendant's 2 Eor identification purposes.         Is
  5       A       No.     i do know that there was some from 2009         5            that -- or do you recognize that rather?
  6               because that -- thaL dust came up one day when          6            (Tenders)
  ~               we were in the file room.                               ~       A    (Upon review)    Yes.
  e       Q       row did you discover that there were missing            e       Q    And is that the subpoena with which you were
  9               fi189?                                                  9            86 LV2f~Y
 to       A       We had a -- we had a list of cases, and we             la       A    Yes.
 li               were using that list Co cross-reference and            11       Q    Tend that was served on February 5th?
 12               check.                                                 12       A    I gue8s.
 13       Q       and we talked earlier about ata£fings of these         13       Q    Or early February?
 14               CVAs.    Was Cindy Palmer ever pxeaenC oY did          14       A    Yoah.
 15               you ever discus the CVAs with har7                     15       Q    And there was a list of documents that you
 16       A       She was not present when we staffed these, and         16            were asked to bring?
 17               T'm not sure that she was ever notified when           i~       A    Yea.
 zB               one was being done.    We consulted with our           le       Q    Did you bring those documents?
 19               attorney.                                              19       A    Yes.
 Zo       Q       And I know that you had received a subpoena,           Za       BY M5. JACKSON:
 Zi               and you were served with that subpoena on              Zi            Xour Honor, at this time, I iaould ask that
 22               February 5th; is that correct?                         ZZ            those documents be turned over to the Court
 za       A       I've had it a while.                                   23           for an inspection -- or for an in camera
 z4       BY MS. JRCKSON:                                                2A            inspection.
 25               Your Honor, if I may approach?                         ZS       BY THE COURT:


                                                                                                         37 (Pages 142 to 145)
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                                                          Page 146                                                        Page 147
      1            Okay, do you have any responae7                         1        And we already have a proCective ozder 9.n
      2       BY MR. MCKINNF.Y:                                            2         place.    So then the Court can make an in
      3            T don't know what he brought, Judge.      So I          3        camera inspection.
      4            don't know whether I consent or object.      Mr.            (DEFENnANT'S EXIiIAIT N0. 3 MARKED)
      5            Hughes, oihat documents did you bring to court          5   BY MS. JACKSON:
      6            pursuant to the subpoena?                               6        Your Honor, I don't havo anything else.
      ~       BY THE VIITNESS:                                             ~   RF:CROSS-EXAMINATION BY MR. MCKINNEY:
      B            I have the entire case files from all of our            B   Q    Mr. Hughes, with respect to the Department of
      9            involvement with Shalees Greenlee and her            9           Social Services files, are those files put on
  io               children,                                           to           microfiche?
  11          gy THE COURT:                                           11       A    The CPS files are not.
  1z               On Lhe three children that there were prior         1z      Q    So the files that you say are missing, those
  1~               CPS history and on Alana ---                        13           fi7.es don't exist anywhere else; is that what
  14          gy THE WITNESS:                                         14            you're tolling the Court?
  15               Ye„                                                15       A    That's what I'm saying.
  16       gy THE COURT:                                              16       Q    Okay, what documents that DSS has possession
  17               --- the child that's subject to this ---           1'~           of -- what documents are microfilmed?
  le       gy TtIE WITNCSS:                                           ie       A    I think they do -- T don't work in thal-
  19               yes, that's correct.                               19            department, but I think L•hey do things for
  Zo       BY THE COURT:                                              20            food stamps and Medicaid.
 21                Okay, so basically Lhe Department of Social        21       Q    Do you know+ why the CPS files are noL
 ZZ                Services records on those fouz juveniles.          Zz            microfiched7
 z3        BY MR. MCKINNFY:                                           23       A    Well, the state is in the process of workl.ng
 ?~                I don't think I have a dog in that fight.          24            out what is.r~ferred to as NC FAST where
 25       6Y THE COURT:                                               75            everything will become digital.


                                                       Page 148                                                          Page 149
  1       Q       online?                                              1            So -- I mean, we re all tied together, but
  2       A       Yas.                                                 Z            (pause) ---
  3       Q       Accessible?                                          3       Q    You're all tied together, and you can access
  4       A       Yeah, it's -- its in the procasa of being put        4            Katie Johnson's files and Kat.te Johnson can
  5               in place now.   3o many counties are at              5            aaceas your files?
  6               different times becoming active, and ours is         6       A    No, no.
  ~               not scheduled until near tho end of the year,        ~       Q    okay, why not?
  B               and it possibly could even bo put off past           e       A    It's not set up that way.
  9               then.                                                9       Q    So you're not networked?
 3a       Q       When you all transfer information -- this           to       A    We're not -- we're noL networked, if that's
 xi               particular case here, when you all transfer         11            what you're asking.
 12               int'ormation interoffice, is that done through      12       Q    Okay.     All right, so nobody in the Department
 i~               a network?                                          13            of Social Services can access your working
 14       A       No, it's just -- I mean, there -- there can be      x4            files except for you?
 is               smarts from -- from a social worker to a            15       A    Correct.
 is               auporvisor, but we tend to copy any email and       1s       BY MR. MCKZNNEY:

 17               put it in the file because we -- we have to         i~            That will be all my questions.
 1e               clear out our smarts periodically as oux --         le       RE-REDIRECT EXAMINATION BY MS. JACKSpN:
 1s               you know, as it gets £ull.                          J9       Q    So does the department use a file sharing

 Zo       Q       I did a bad job asking that question.               20           system?
 2i                                                                   zi       A   We have recently set up to where the
          A       Okay.
 22       Q                                                           ZZ           supervisor can look at documentation fxom the
                  Aro your computers at the Department of Social
 23                                                                   23           other social woxkers, but that has just been
                  Services networked?   Do you understand what I
 24                                                                   24           recently set up, and that's all that we have
                  mean by that?
 zs                                                                   Z5           access to.     Now, once the NC FAST system goes
          A       I'm not sure what you're wanting out of this.


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      ~         on live, then sae ~~iill be networking and have             1    A    No, I'm not aware of that.
      2         access to basically anybody within the state.               z    BY MS. JACKSON:
      3    Q    And do you use like any type of corporation or              3         Okay.
      4         program w}iere the DSS files are downloaded to              4    BY MR. MCKINNGY:
      5         -- to like a hard drive or something?                       5         I don't have any other questions.      Thank you,
      6    A    NO.                                                         6         Mr. Hughes.
      ~    Q    So it's just a paper file?                                  ~    BY TfIE COURT:
      B    A    Yeah, it's just a paper file.                               8         All right, Mr. Hughes, if you will, hand over
      9    Q    Has there been any other effort to locate the               9         the file so I can --
  to            missing files?                                          io      BY THE WITNESS:
  11       A    We have looked in the file room.       We have          z1            Can I ask something about the -- the reporter
  12           looked in all the offices.        Wa ve tried to         1z            letters are still in the Liles.     We have
  13           turn up those -- those missing files, but --             i3            removed the roporter page from the reports,
  14           but we haven~t bean able to Lind any.                    14            but the letters thaC go out to the reporters
  1s      Q     xs thore any indication that those files were           15            ate still in the files.     So (pause) ---
  1s           kept at Mr. Lindsay's home office or office              16      BX MR. DAVID MOORE:
  1~           here in town?                                            1~            I think we would simply ask the Court that if
  1e      p    No ,                                                     1e            you deem that as a document that should be
  19      Q    You've never been provided that information?             19            produced that we would have the opportunity to
 Zo       A    I've never been provided that information, and           20            redact the reporter information.
 21            I've never known any files to leave the office           21      BY THE COURT:
 22            with the exception of coming to court.                   22           that's -- I mean, I'm Che only one that's
 z3       q    So you've never known Mr. Lindsay to have to            23            going to see iY.
 24            leave the office to go get files Prom his home          24       BY THE WITNESS:
 25            office or from his office located in Murphy?            25            Oh, okay, okay.



                                                        Page 152                                                             Page 153
  1       BY MS. JACKSON:                                               i            capacity.      I'm not sure how her testimony is
  2            I've actually marked those for identification            2            relevant to a private custody action bore.          I
  3            purposes.                                                3            understand Mr. Hughes' and the documents that
  4       BY THE COURT:                                                 4            he was asked to produce.      So it is my concern
  5            Why donut we make that, a collective exhib3t7            5            at this point in time -- it is not -- it's
  6       HY MS. JACKSON:                                               6            obvious that there is -- there i.s other
  ~            If ,I may approach?                                      ~            litigation elYher pending or going to happan
  e       BY THE WITNESS:               ~                               e            with regard to the CVAs.      My concern is that
  9            Okay, here's both.                                       9            this is essentially turned into a discovery
 i0       BY MR. RON MOORS:                                            10            deposition without the Aepartment o£ Social
 11            is it the one child, the child we're here on,           11            Servicas being able to defend itself or
 12            and the other three all together in the other           12            represent iL'self.     So that~s my objection to
 la            file?                                                   13            Ms. Palmer and her testimony at this timo,
 14       BY THE WITNBSS:                                              1/       BY THE COURT:
 15            I think the Yhinner file is for A1ana, and the          1s            Response?
 ib            other is for the othor three.                           16       BY MR. RON MOORS:
 17       BY MR. RON MOORS:                                            17            Judge, I don't believe he has any standing to
 18            Your Honor, we call Cindy Palmor.                       1e            object.      She's been subpoenaed as a witness.
 19       gy THE COURT:                                                19            He's not a party.     She's not a party,    She's
 zo            All right.                                              20            got a subpoena to bring some documents that
 Z1       BY MR. DAVID MOORS:                                          Z1            ralate to what we just talked about, and we've
 22            Your Honor, I'm going to -- I don't know what           ZZ            now found some documents are missing -- that
 23            grounds I've got here.       I'm not a party.     But   z3            some files are missing.     So wo re entitled to
 2~            ehe is the director of Department of social             z<            explore things liko that.     We also are asking
 25            Services,    She (inaudible) her official               ZS            the Court to declare these unconstitutional or



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      i         111ega1, Lhe CVAs in This case, and I'm                 i           You have no standing to object to a witness.
      2         entitled to explore what she knows about it,            2       BY THE COURT:
      3         crhat the policy is, what the procedure is, and         3           Ho~iever, Mr. McKinney's client is a party.      So
      4         so I think she's a relevant witness.                    4           I'm going to ask Mr. McKinney.    Just hang
      5    BY MR. DAVID MOORE:                                          5           tight, ML. MOOTP..    DO you have a response?
      6         I just want to clarify the Department of                6   BY MR. MCKINNEY:
      7         Social Services is not a party, correct                 ~           Your Honor, my client finds himself having to
      e    BY MR. RON MOORE:                                            e           pay my law firm to come into court to try to
      9         You had a chance to bo a party, but you chose           9           retain custody o£ the child Chat he thought he
  10            not to because you didn't -- you didn't go          to              had custody of under a document that had been
  11            file a petition in front of the Court.    You       lx              prQsented to him by the Cherokee County
  iz            should have been a party,    this -- yes, you're    12              Department of Social Services, and T think the
  13            not a party, that's correcC.                        13              Court ought to hear why my client is in this
 14       BY MR. DAVID MOORE:                                      i4               situation and why Your Honor is having to do
 is             I'm not represented by counsel.                     is              this now under these circumstances.
 16       BY MR. RON MOORS:                                         i6      By THE COURS:
 i~             Nor were the -- Ms. Greenlee or Mathieu or any     1~               Can I see all the attorneys at the bench?
 18            of the other people.                                19       (BENCH CONFERENCE)
 19       BY MR. DAVID MOOAE:                                      19       RY MR. DAVID MOORS:
 zo            Ism not able to ecoss=axamine, correct?             20               Your Nonor, am I allowed up theto, or are you
 21       BY MR. RON MOORS:                                        Zi               jusC chatting with these parties?    Because 2
 22            You're noY a party.                                 z2               hear me being mentioned.
 23       BY MR. DAVID MOORF.:                                     23       BY THE COURT:
 24            okay.                                               z9               I'm going to put what we said at thQ bench on
 zs       BY MR. RON MOORS:                                        25               the rocord.    The Court is going to allow Ms.


                                                      Page 156                                                            Page 157
  1            Palmer to be called fox the limited purpose --       1               I'm here on behalf of Lhe Department• of Social
  z            I indicated at the bench this is not a fishing       2               Services.
  3            expedition.     The Court has had the opportunity    3       BY THE COURT:
  9            to review the £ile.    There has not been a          4               I knew that.
  5            motion to quash the file.     There has not been     5       BY MR. DAVID MOORS:
  6            a notice entered by an attorney on Ms.               6               I just needed that as parr of the record since
               Palmer's behalf.    There is a valid subpoena        ~               we are recordi.nq.
  8            subpoenaing her to count.     So I will allow her    e       BY THE COURT:
  9            to be called.                                        9               Yes.
 io       BY MR. DAVIA MOORS:                                      io       gy MR. DAVID MOORS:
 11            That's fine, Your Honor.     I just -- I do wanC    11               Thank you.
 iz            it noted for the record that we are not a           12       BY THE COURT:
 13            party to the action.                                13               Ms. Palmer, please.
 is       BY TILE COURT:                                           1a               CINDY PAI.MER, being duly sworn to tell the
 15            Absolutely.                                         is       truth, the whole truth, and nothing but the truth
 16       6Y MR. DAVID MOORS:                                      16       of her own knowledge concerning the within matter,
 i~            And we do not have the -- whether I had filed       i~       testified as follows:
 ie            a motion to quash or not, I would not have the      ie       DIRECT EXAMINATION BY MR. MOORS:
 19            opportunity to cross-examine or to examine any      19       Q      Ms. Balmer, my name is Ron Moore.     Would you
 20            witnesses or to ---                                 Z~              state your name and where you work for the
 zi       BY THE COURT:                                            21              record, please?
 z2            However, you are not Ms. Palmer's personal          22       A      Cindy Palmer.    i work at the Department of
 23            attorney.                                           Z3              SOCi31 S@YYlCBS.
 24       6Y MR. DAVID MOORS:                                      24       Q      And in what capacity?
 zs            I undarsl:and I'm not her personal attorney.        2b       A      Airector.


                                                                                                      40 (Pages 154 to 157)

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                                                     Page 15fl                                                             Page 159
      1   'Q    Hoor long leave you been dixector7                         1        a report of abuse, neglect, or dependency, you
      2    R   How long?                                                   2        have to look into it, and then you have to
      3    Q   Yes, ma'am.                                                 3        decide whether to close tt~e case or ~ihether
      4    A   Two and a half years.                                       4        you proceed with the case, whether you open a
      5    Q   And prior to that?                                          5        case, whether you file a petition, etcetera?
      6    A   I started in 1998 ~iith the department.                     ~   A    Yes, six.
      ~   Q    As a social worker?                                         ~   Q    All right, and Z assume that you have Co go
      e   A    I did, income maintenance and then social o~ork             8        get training on a regular basis on terms of
      9        and than business officer.                                  9        what the law requires, if there are any
  to      Q    And so you worked there £or 19 years -- almosC          3o           changes in the laws or things like that?
  11           20 years, two and a half as director?         Did       li      A    Yes, sir.
  12           that include interim director time also?                12      Q    And also your social worker supervisors have
  13      A    No, I was interim director for about nine               13           to do a certain amount each year?
  14           monChs prior to that.                     ~             14      A   Correct.
 15       Q    All right, and could you just tell us your              15      Q   Do you receive training on iasuea in the law
 16            educational background?                                 ib          such as how you're able to remove children
 i~       A    I have a bacheloz's in business                         17          from their homos, what situations?
 1e            administration.                                         1e      A   Yes.
 19       Q    Any post graduate?                                      19      Q   And is that a seminar -- have you been to some
 ?~       A    No.                                                     20          seminars, or do you do it on webinar or
 21       4    All sight, and I believe that -- I'm sure               21          download things on the computer2      How do you
 ZZ            you're familiar with 7B in the statutes and            22           do that?
 z3            tha authority that a director has, that                 23      A   There are trainings Chat are required within
 24            basically you decide in cases how you proceed,          24          the first year, and it's part of those
 25            you have obligations under the law if you get          25           traininga.    So there's only one training if



                                                     Page 160                                                              Page 161
  i            they have changes in policy.                            1       A   2007, 2008.
  2       Q    Okay, did it require training -- it required            Z       Q   Right now the state also mandates training for
  3            training for you to become director tha first           3           your workers, and they qo and learn the same
  4            year also, I would assume; is that right?               4           types oP things that you have.      Do you sharp
  5       A    There is.                                               b           information that you learn aC these Chings
  6       Q    Different training?                                     6           since obviously everybody can't go at the same
  ~       A    Yes.                                                    7           time?
  8       Q    All right, have you had training on the types           8       A   Wo do share information.      If they -- if
  9            of methods that you can use to take children            9           thero's new policy that comes about, we try to
 io            out of the home?                                       10           get everybody into that training,     eut the
 11       A    I have had legal basics -- it's been a few             1x           othor training is required within tho first
 12            years -- when T beoame a social worker.         I've   s2           year.
 13            also had legal basics for directors.      They         13       Q   Doea your lawyer give you training at ASS?       Do
 14            didn't dri11 down specifically to that                 1~           they tell you about new trends or what the law
 15            information.                                           i5           iyp
 16       Q    Now, you got there in 1998.    What time frame         i6       A   Yes.
 i~            were you a social worker?                              i~       Q   Do you have some kind of ataFf trainings, or
 le       A    T was a social worker for -- are you .looking          1e           how do you do that?
 19            fox dates or a period?                                 i9       A   We -- we try to schedule those certain times
 Zo       Q    Roughly.                                               Zo           based on what -- if new policy was coming out.
 zl       A    About two, two and a half years.                       2i           We don't have a set schedule for that, if
 zz       Q    And were CVAs being used then when you were a          22           that's what you're asking.
 23            social woxker7                                         y3       Q   No.    Do you have records for the seminars that
 24       A    Not that I recall.                                     Z~           everybody takes each yea r7    Do you have to
 25       Q    So abouk what year was that?                           2s           keep records?



                                                                                                     41 (Pages 158 to 161)
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                                                        Page 162                                                            Page 163
       1   'A    Yes, sir.                                                1         duties and your responslbililies kind of like
       Z    Q    Nora, o~ith regard to the training for your              2         what we talked about earlier, and so can you -
       3         lawyer, they have specialCy training.      Social        3         - can you walk us through -- and let's take --
       4         worker attorneys have a group, the InsCiCute                       are you familiar with the Greenlee case, the
      5          of Government, give seminars.   Do you keep              5         one we're here on today?
      6          records for the ---                                      6    A    Yes.
      ~     A    I do not specifically keep records of those.             ~    Q    Could you walk us through how you would
      8     Q    Did the DSS atCorney in this case, Mr. Lindsay           B         respond in a case like that?     You first get a
      9         -- did he turn in vouchers asking for                     9         call -- i think we've heard testimony the gist
  to            reimbursement fox travel to seminars and              to            of which was hare's a baby in L•he hospital
  it            payment of thesa2                                     it            that may have some ayrtpLoms of being addicted
  1z        A   He would not turn thosa in directly to me, but        12            to drugs.    What does the Cherokee Department
  13            would have turned them in to the finance              13            of Social Services do in a case like that?
  14            office.                                               14       A    We would send a worker out that will talk to
  is       ¢    Okay, so would that be paid by the county or          is            the family members if tl~e child is of age,      of
  16            by the Department of Social Services?                 16            course if it's a baby in a hospital, they
 17        A    They -- if it was a Social Services evenC, it         i~            would not be, but -- you know, talk to all the
 le             would come out of our budget, ao out of our --        le            parties involved.     We would then make a
 19             _                                                     19            docision as to whether or not that child was
 Zo        Q    You turn it in the samo place; they 3ust             zo             safe to remain in that home.     If not, ore ~rould
 21             allocate it to whichever budget that ---             21             contact our attorney who would then contact a
 zz        A    Correct.                                             2z             judge to attempt to get a non-secure custody
 z3        Q    Okay, Chank you,    And of course going back Yo      z3             ordor.
 ZA             the authority of the director, basically Che         24        Q    All right, and in this particular case, have
 25             DIMS pate out manuals that outlines all your         25             you reviewed the file?



                                                      Page 164                                                             Page 165
   i       A    I have nor specifically reviewed this file,           1             involvement.
  Z             no.   I have looked at pieces of it, but not          Z        BY MR. RON MOORE:
                the entiro file.                                      3             Okay.    Judge, aze we on 47   Did you mark that
  4        Q    We know no petition was ever filed.     And are       4            37
  5             you familiar with the custody agreements that         5       8Y THE COURT:
  6             were involved in this case?    Theta were a           6            Yes, sir.
  7             couple of them.                                       ~       'BY MR. RON MOORE:
  8        A    Yea, sir.                                             e            Okay, thank you.
  9        Q    Have you reviewed it enough to know why a             ~       (DEFENDANT'S EXHIBIT NO. 4 MARKED]
 to             petition was not filed?                              xo       BY MR. RON MOORE:
 11        71   Not specifically as to why a petltlon was not        it            May I approach, Your Honor?
 12             filed.    I do know that Ma. Greenlee had asked      ~Z       SY TliE COURT:
 i3             for this agreement to be signed.                     13            You may.
 1a        Q    All right, I have -- I have some portion of          14       DIRECT EXAMINATION RESUMED BY MR. MOORS:
 1s             the file that, since we represent Ms.                is       Q    Let me show you what I've marked ae
 ifi            Greenlee, was provided.    And I want to show        16            PlaintifP~s -- or Defendant's Exhibit 4.      I'll
 17             you -- it's a portion of it -- I think it's          17            just ask you to look at it.     Does that look
 le             eight pages -- and its entitled, "In-Home            le            like your in-home service agreement that you
 is             Family Services Agreement."   When do you use        19            use?     (Tenders)
 20             those, in what scenario?                             zo       A    (Upon review)    Yea, sir.
 21        A    Once the -- if -- if we substantiate the case,       21       Q    And it's dated 10-14, 2016.     Do you see that
 ?2             it gets moved to in-home services, and at that       22            on the top corner?
 23             point they create those in-home service              23       A    Yes.
 24             agreements with the fami.liea in order Lo            2~       Q    And this is an eight-page document?     its all
 25             correct the issues Lhat caused our                   ZS            part of the in-home family services agreement;



                                                                                                        42 (Pages 162 to 165)
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                                                           Page 166                                                          Page 16'7
      i             is that right?                                           i        housing, transport-aLion, support from extended
      Z        A    Uh-huh.     (Affirmative)                                2        family; Cody and Shalees love their children."
      3        Q    All right, no~i, can you look at thaC and just           3        Do you recognize that to be in Ms. -- I guess
      4             tell me ~ihat -- this is the front page.     So          4        Ms. Johnson's handwriting?
      5             what is -- what is happening here?     You have          5   A    Yos.
      6             Alana Roberts, the baby, and the birth date.             6   Q    Okay, and then looking over -- and again some
      ~~            You have Ms. Greenlee and Mr. Roberts.      Of           ~        of this says that they were going to have
      8             course, Mr. Roberts was on the birth                    8         urine tests and, you know, they've admitted to
      9             certificate; are you aware of that?                     9         using pi11s and stuff.     So you eiere, I guess,
  10           A    Yes.                                                io            coming to some agreement or -- I don't know
  11           Q    Okay,'there hadn't been a DNA test at that          11            what you call it -- trying to get them to
  12                point, or maybe that was about the time that        12            straighten up their actl
  13               it was going on.     IIut Cody Roberts was           x3       A    Uh-huh.    (Affirmative)
  14                actually on L•he birth certificate, and Lhen        14       Q    And so they're going Co seek to get
  is               Kathy Rogers apparently was the grandmoLher          15           employment.     But then you look over on Page --
  16               that was helping with the baby; I assume             16           I believe it's Page 5, and it talks about what
  17                that's why she's listed?                            17           services are being provided, Medicaid, food
  le       p       Sho oiould have been involved in the                 le           stamps -- is that WIC or ---
  19               development of this plan.                            19       A   WIC, yes.
 20        Q       Okay, and as -- then your social worker is Ms.       20       Q   Daycare, drug screens, kinship placement, case
  21               Johnson?                                             zl           management.     So case management, what does
 ZZ        A       Uh-huh.     (Affirmative)                            ZZ           that -- what does that entail?
 73        Q       And so she writes, I guess, notes, "family           z3       A   It's the 1.n-Home services which is -- once
 29                strengths and resources, strong relationship         29           they're substantiated and they go into in-home
 25                and support, communication, sense of humor,         z5            services, that is considered case management.



                                                          Page 168                                                          Page 169
  1        Q       Okay, and so is -- is that services that are         1            it was apparently Ms. Greenlee found it on the
  2                being provided?     You've actually got the child    z            Internet, and she and Mr. Mathieu went to
  3                on Medicaid. and you're -- is that what that         3            Quick Lube or somewhere and got a notary to
  ~                means?                                               4            execute it.     So that was on the 6th of
  5        A       Uh-huh.     (Affirmative)                            5            Octobex.     So Lhe document Z've asked you about
  6        Q       All right, so then you -- you guys note -- or        6            what we've been talking about, Defendant's
  ~                Ms. Johnson noted, "Mr. Mathieu is the               '+           Exhibit 4, that~s dated eight days later, 10-
  8                biological father but has no custody rights.         e            14.     And under the services you're providing,
  9                Shaleee signed a temporary guardianship              9            you note, "What will happen if the child
 to                agreement for Alana.    Alana currently with        to            safety is no longer asaured7     The department
 11                Michael and his family."     So this ie dated 10-   1i            will file a juvenile petition and take case to
 IZ                14.     And there was testimony earlier, I think,   12            juvenile court."     And then aC the end, it
 13                when Mr. Mathieu testified ---                      13            says, "Under what circumstances will the
 14        BY MR. RON MOORE:                                           14            agency and services" -- "end aervicea and
 15                Your Honor, do we have Exhibits 1 and 27            15            close the case?     When the case plan has been
 1s        gy TFIE COURT:                                              16            sucoeasfull.y completed and no safety concerns
 17                The clerk has the exhibits.                         1~            exist regarding Alana being in the physical
 1e        6Y MR. RON MOORE:                                           iB            area of Cody and Shalees."     So they've agreed
 L9                Okay, thank you.                                    19            to share custody.    Eight days late, your
 Zo        DIRECT EXAMINATION RESUMED BY MR, MOpRE:                    20            report says you will file a juvenile petition
 Zi        Q       So looking at Plaintiff's Exhibit 2, you see        ZL            and -- and then six weeks latex, people from
 z2                that there was a temporary guardianship             22            your office go to the -- or have Shalees come
 23                agreement.    Do you see thatl   (Tenders)          23            to the Department of Social    -- no, they qo to
 24        A       (Upon review)    Yes, air.                          24            Shaleea' house and have her sign a CVA.     Now,
 25        Q       And again, you wexen't here, but Che gist of        z5            any idea why you didn~Y file a petition in



                                                                                                       43 (Pages 166 to 169)
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                                                            Page 1'70                                                             Page 171
      1            Yhis case?                                                 i            Social Services?
      2       A    It waa my understandiny that Ms. Greenlee at              2        A    More specifically?    I'm not sure what you're
      3            that point had asked for tho CVA.     She wanted          3             asking.
      4            to siyn over cu3tody to Mr. Mathieu.                       4       Q    When was the first time you ever heard of one?
              Q    Okay, well, now, here's a baby that's in                  5        A    The first time I ever recall hearing o£ one
      6            distress clearly because it was born info the             6             was December 6, 201'!, when T received a call
      ~            world with some -- apparently some Problems               ~             £iom Mr. Lindsay about a ei~rtilar agreement.
      B            with drug abuse.    I mean, isn't that the kind           e        Q    That was when Ma. Jackson had called Mr.
   9               oP case that Social Sezvices designed to help?            9             T,indsay because she had come upon one in this
  Io       A       Xea, sir.                                             10                case?
  11       Q       So, again, ashy would you let her give the            11       A        Not this case, no.
  12               child to somebody who may not have any ability        12       Q        No, actually Ftogan case?
  13               eo help a kid like that?                              13       A        Yes.
  14       A      I was not specifically involved in that                14       Q        Now, you were familiar with the xogan case?
  ~s              conversation.     So I can not attest to what Ma.      is       A        Was I at the time or am I now?
  ib              Johnson's thinking was on that case.                   ib       Q       No, ware you -- you had had some contact with
  17       Q      Nobody has talked about it since this came to          i~               the Hogan case?
  le              light?                                                 1B       A       I had not had contact with the Hogan case as
  19       A      Well, we've talked about the fact that -- Ms.          19               of December 6th, no.
  20              Johnson is no longer in Lhe agency.       So we --    z0        Q       When Judge Sellers signed an order giving Mr.
  21              I have not specifically talked to her about            21               Hogan ---
 2z               it, no.                                               22        AY THE COURT;
 23       Q       All right, wall, let's talk about the CVAs.           23                Move on.
 24               Can you tell us what you know about the use of        ~9        DIRECT EXAFIINATION RESUMED BY MR. MOORE:
 25               CVAs at the Cherokee County Dapar~ment of             25        Q       Going back to the -- so you didn't know


                                                         Page 172                                                               Page 173
  1               anything about any CVAa prior to December?              1               counting the Family CVA or if he's counting
  z       A       Not that I recall, n0.                                 2                tho child?
  3       Q       Do you aver sit in on the staff meetings?              3        A       Correct.
  4       A       I do occasionally.     I had not been sitting in        <       Q       Okay.    All right, so after -- afL•er the CVA
  5               on them as of late ---                                 5                came to light in the Hogan case, the State
  6       4       Mx. Lindsay was here earlier this morning.             6                Department of Health and Human Services was
  ~               Hell be here shortly.      I think I heaxd him         ~                notified, and I believe you got a lotterP
  8               say that he had found 30 CVAs that he's                8        A       Yes, sir.
  9               prepared to, I guess, turn over in response to         9        Q       And subsequently, they indicated that they
 Io               a subpoena.    How many have the Department of        10                were going to investigate.    And whaC, if
 ~1               Social Services found?                                11                anything, were you directed Co do in terms of
 12       A       That have been executed?    I can't say               12                trying to get information for them?
 13               specifically, but -- it depends on whether            13        A       I received a list from the state of cases for
 14               you're looking at actual cases or if you're           14                the past ten years, and I and my staff had
 1s               looking at children.    There~s about 25 that         is                gone through all of those cases and attempted
 16               have been executed that I have located.               ib                Yo locate any CVAs that are involved.
 17       4       And again, can you help me distinguish between        17 _      a       And that's w}~ere you came up with the number
 le               children and ---                                      1e                that --- .
 19       A       Well, there are some that involve more than           19        A       Yes, air.
 Zo               one child.    So I don't know if his number is,       z~        q       Now, there was never any discussion amongst
 21               you know, specific betwoen children.                  21                your social workers asking you about whether
 22       Q       The ones you've found, each child has Cheir           22                they should be using CVAs?
 23               own CVA; is that what you're saying?                  23        A       Not that i recall.
 2~       A       No, not always.                                       24        Q       So you had never heard of CVAs until December?
 25       Q       So you're saying you don't know if he's               ZS        A       Correct.


                                                                                                            44 (Pages 170 to 173)
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                                                          Page 1%4                                                            Page 175
      i   'Q       How could 20 or 30 be executed and you not              L       Q    Df.d Mx. Lindsay ever tell you how they goC
      2            know anything about it'1                                Z            started with those theze?
      3       A    P7oll, a lot of them were even before 7 became          3       A    Yes, he said that he received T.he agroement
      9            director, and they don'C come to me with every          4            from some 4~orkshop or training that he went Lo
      5            case.     T -- I don't handle or see or discuss         5            many years ago.
      6            every case with them.                                   6       Q    And did -- did you find out the procedure that
          Q        Now, in order to get paid in cases, you have            ~            he used?    Because apparently he created a
      e           some kind of billing code, is that correct ---           ~            template thah your -- your folks could fill in
      9   A       Uh-huli.    (Affirmative)                                9            the names and the dates of birth and he would
  10      Q       --- which pot of money that your refund comes        to               revieor them.
  11              out or whatever?     Now would you code a CVA?       11      A        Yes.
  u       A       We don't code -- coding is based on what             1z      Q        Is that basically the procedure?
  13              sorvice they're providing, like 210 is               13      A        Yes.
  1~              investigation, 215 is case management,     So wo     14      Q       And you had never heard of Yhat either?
  is              have different funding sources that go along         is      A       No.
  16              with those.                                          16      Q       Now, Mr. Lindsay was the attorney for Social
 17       Q       So, again, in this case, it would have been a        17              Services as well as the county.     Did he have
 ie               215.     5o it was -- what did you say, in-homes?    18              an office in Social Services' space2
 19       A       In-home servicos.                                    19      A       Yes, sir.
 20       R       Home service?                                        20      Q       Did he have a Social Services computer?
 21       A       Yes, case management and home services.              Z1      A       Yes, sir.
 22       Q       A11 right, havo any of your social caorkers          22      Q       Did he ever do work at homo that you know
 23               talked to you about the use of CVAs since            23              about, exchanging information?
 21               December?                                           24       A       Not that I'm aware of.
 25       A       Wo ve had somo discussions about them, yes.         25       Q       So your workers -- well, have you since found



                                                         Page 176                                                            Page 177
  z               out Yhat your workers would email these to him       i       A       (Affirmative nod)
  2               sometimes for his approval?                          2       Q       Okay, so he had no computer at home, just --
  3       A       Yes.                                                 3               okay.
  4       Q       Ao you know whether all that was done when he        4       A       I have no idea.
  5               was in the Social Service building or was he         5       R       All right.    Okay, did -- in your search for
  6               in the county building or was he at home or          6               trying to find the CVAs, were you able to look
  7               did he have an office?                               ~               into the information on his computer?
  s       A       i would imagine a lot of it was done during          e       A       Our county IT has.
  9               the day where he would have either been at his       9       Q       Okay, and did -- how many did they find on his
 io               office at Department of Social Sorvices or in       i~               oomputer7
 ii               the courthouse office.                              xi       A       I don't have that information.
 1z       Q       Is the courChouae office -- is that the county      12       Q       Okay, what ---
 13               attorney office?                                    13       A       He had sent me the ones that he had drafts of,
 14       A       Yes.                                                14               and we found a lot of them -- the drafts in
 15       Q       Now, did he also have a computer that belonged      lb               his office that were printed that had noC been
 16               to the Department of Social Services?               16               signed.
 x7       A       That belonged to Che county.                        i~       4       Were those the ones yet to be used, or were
 ie       R       Okay, assigned to Social Services?                  le               those just copies of the ones that wore
 19       A       Well, he used iC for both.     He didn't have       19               actually signed?
 zo               separate computers.                                 20       A       Copies of ones that were actually signed.
 zi       Q       okay, and where was that located?                   21       Q       But then you were able to qo into the file and
 2z       A       Zt was a laptop, and he carried it back and         ZZ               find ---
 23               forth.                                              23       A       The signed copy, correct.
 29       Q       So he carried it home and may have worked on        Zd       Q       in every case?
 zs               it from there also?                                 25       A       Not every case.    Some cases, there was a draft



                                                                                                          45 (Pages 174 to 177)
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                                                        Page 178                                                           Page 179
      i         copy, but it may have been a POA that Sias              1        Get to the heart of it ---
      2         signed and not actually a CVA, power of                 2   BY MR. RON MOORE:
      3         attorney.                                               3        Sure.
      4    4    no you provide power of attorneys for peoplo                8Y THE COURT:
      5         to sign?     I'm just curious.                          5        --- for me, please.
      6    A    Mr. Lindsay did.                                        6   BY MR. RON MOORE:
      7    4    All right.     Now, in this particular case ---         ~        Sure.    Give me a moment.   I lost ---
      e         and let me just say Mi. Mathieu presented               e   DIRECT EXAMINATION RESUMED BY MR. MOORE:
      9         himself very well today, as did Ms. Greenlee.           9   Q   Oh, in a situation like that, what would --
  io            What type of assessment would be done in a          lo           what oiould the PepartmenC of Social Services
  1z            case like this where you had a caso open whez~      11          do in ordez to make sure that the custody
  12            Me. Greenlee had done, I think, the temporary       12          agreement that she was signing was -- or had
 13             placement agreement?     You file says you're       la          tho child going to a good environment?
 14             thinking about filing a petition if there's         14      p   If we do -- if sae do the actual placement,
 zs             any problems, and then she wants to sign or --     is           then we qo into the homo to do a kinship study
 16             or she wants to give him custody ---               ib           -- kinship assessment where we go and look at
  x'7      BY THE COURT:                                           17           the house and do background checks on the
 18             Mr. Moore, I'm sorry, can you ask a question?      le           family members.
 19        BY MR. RON MOORE:                                       19       ~   There was testimony earlier today that thore
 z0             Yes, ma'am,                                        20           wasn't any type of stuff like that in this
 zl        BY THE COURT:                                           Zx           case done.
 z2             I mean just ask a quaetion.                        2z       A   In this case, there probably was not since Che
 23        DY MR. RON MOORS:                                       23           CVA was signed rather than us placing the
 24            Sure.                                               24           child with someone else.
 25        8Y THE COURT:                                           25       Q   So even though you created the CVA, you don'C


                                                        Page 180                                                        Page 181
  1            do any kind of background to see if you're           i           complete the assessments or whatever they have
  z            sending the child Co a good place?                   2           put in -- in this agreement.
  3       A    Beat practice would be yes, we would.                3       Q   Can you tell me in a situation likQ this case
  4       Q    Yes, you would look at it7                           4           where the mother ie asking to place the child
  5       A    We would do background checks, yes.                  5           with the father -- the biological father, why
  6       Q    And what about -- how do you deal with               6           you wouldn't do a kinship placement there so
               offering services when you place a child into        ~           you could provide services?
  8            a new family environment, you know, whether          B       A   Provide services to ---
  9            it~a medical or whether it's food stamps?            9       Q   The child or new family,      I mean, you have a
 io       A    If we do the kinship assessment or the way it       10           child that is a baby with drug problems at the
 11            was done with the CVA7                              11           time she is born.
 12       Q    Well, again, you placed the child via the CVA,      12       A   The beat example that Y can gSve is i£ -- i£
 13       A    if we do a kinship placement, then we go into       13           someone is arrested and Chat -- that person
 U             the home and do the checks.       I'm not -- I'm    14           calls Gxandma or biological dad or whoever to
 1s            not sure i understand what you're asking.           15           come and get that child.      They have that: right
 16       Q    Wall, it would appear in this case that the         is           to make that placement without our
 17            CVA was executed and Mr. Mathieu or Ms.             i~           involvement.     That~s kind of what Ms. Greenlee
 1s            Greenlee ox the juvenile never heard from           le           did.     She made that decision to place the
 19            Social Services again, and S'm asking you --        19           child with the biological father.
 zo            there apparently is no vehicle for you to           Zo       Q   eut you did get involved?
 21            follow up, is that correct, when you use a          21       A   Weli, we were involved, yes.
 zx            CVAY                                                2z       Q   And again ---
 23       A    Not with the CVAs.     If we do a kinship           23       A   We did noC forne her to make that.
 24            placement, then we continue to work with that       2<       Q   Right, but you had a case file on the baby,
 25            parent who the child was removed from to            z5           knowing the baby had issues.     So why wouldn't


                                                                                                   46 (Pages 178 to 181)

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                                                          Page 7.87_                                                          Page 1.83
      i            you say, "[9e11, let's do a kinship placement            1          47hy didn't- you seek the help Co legitimize ---
      z            so we can provide services Lo that client or             2     A    Again, I o-iasn'l involved in those
      3            child"?                                                  3          conversaCions, so I don't -- I can't ansoier
      4       A    Typically, that -- that is o-ihat we do.                 4          that question.
      5    0       Well, you've got 70-some CVAs, and in each of            5     Q    So, again, these kinds of things aren't talked
      6            those you wouldn't have provided any se=vices;           6          about at staff meetings?
                   would you?                                               ~     A    They may have beon, but T -- I tua3n't
      e       A    There 4iere no services provided when the CVA            e          necessarily at that sCaff meeting.     Sometimes
      9            was signed.                                              9          they are just discussed one-on-one between the
  10          Q    so, again, can you tell me why that would not        to             supervisor and the social worker and not
  11               -- v~ould noC have been the better practice to       11             actually in a staff meeting.
  1z               -- let's do a kl.nshi_p agreement?                   12        Q    Now, when DSS came in after Chis case ralsed
  1i       A       Looking back, it was -- it is the better             i3             its head in December, did they do an
  19               practice, but we were acting upon what our           1~             investi.gation?
  15               attorney said Yo do in a situation where Ms.         15        A    DHHS7
  16              Greenlee wanted to voluntarily allow the child        16        Q    Yes, ma'am.
  i~               to go to its biological father.                      1~        A    They have sent me the list of cases to go
  ie       Q      And when you have a case like where -- 11ke in        1e             through, and I have sent them the information
  19              this case where you have a legal father who's         19             that I have.   So they're in the process of an
  xo              on the birth certificate and a biological             20             investigation, but they're not -- that has nol-
 u                fathex who has not been legitimized at the           Z1              been completed.
 22               time, how do you handle that?     I mean, oihat's    2z        Q     Does DSS come in and do random audits?
 23               -- you know, Mr. Roberts was not asked to sign       23        A     They do.
 za               the cVA, and he's, under North Carolina law,         24        Q     Well ---
 25               Y.he legal father.    So why was he not involved?    25        A     Well, audits is not tho right term, but ---


                                                         Page 184                                                            Page 165
  i       Q       Were Chere -- were there -- anything they             i        Q     There has been soma discussion.    Apparently,
  2               could look at to soe that CVAs were being used        Z              some of the folks who worked there in the past
  3               in cases?     Is there any kind of list or code       3              indicate that maybe cases that were weak or
  4               or anyChing?     Ox did they just happen to have      4              you didn't have enough information to ---
  5               an open file that had one in 1Y and discovered        5        BY THE COURT:
  6               it7                                                   6              Mr. Moore, I'm going to ask you to move on to
  7       A       They would have just needed to open a file to         ~              what we have here before us today.
  e               see one in it.                                        e        BY MR. RON MOORS:
  9       Q       And when you got the letter from DHHS saying          9             Okay.    May I have juat a moment, Your Honor?
 10               that this is against policy and law, what did        to             That's all, Your Nonor.     Thank you, ma'am.
 li               you do?                                              11        IIY MR. MCKINNEY:
 12       A       I told the social workers -- Z had already           iZ             Mr. Moore, I don't know i.f you offered those
 13               told the social workers not to be using that         13             documents that were shown into evidence or
 1/               agreement.                                           1~             I10~~
 15       Q       And did you have discussion with Mr. Lindsay?        15        BY MR. RON MOORS:
 16       A       Yes.                                                 16             I have not, but I would.    T don't think wo'vo
 i~       Q       And what did he say about using it?                  i~             offered -- Staters Exhibit 3 ---
 ie       A       He said as Far as hays concerned that he             1e        BY THE COURT:
 19               thinks they are legal agreements.                    19             Four.
 zo       Q       Now, have you reviewed the cases that you have       Zo        BY MR. RON MOORS:
 21               found?    Have you looked in the cases to see --     zi             Four, sorry.
 2t                                                                    22       ~ BY THE COURT:
 23       A       I have looked in them.    I haven't, per sa,         23             So you are asking it to be admitted into
 24               reviewed them because i haven't had time, but        24             evidence?
 25               (pause) ---                                          25        DY MR, RON MOORS;


                                                                                                         47 (Pages 182 to 185)

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                                                        Page 186                                                            Page 18'1
      1   ~        Yes, ma'am.                                           1       Q    was t~.hat -- was that Uecemberl
      2       BY TliE COURT:                                             2       A    It ioould have been late December.
      3            Any objection?                                        3       BY MR. MCKINNEY:
      4       BY MR. MCKINNEY:                                           9            T don't have any further questions, Your
      5            No objection, Your Honor.                             5            Honor.
      6       BY THE COURT:                                              6       BY THE COQRT:
      ~            So admitted.                                          ~            Mr. Mooro.
      8       (DEFEND7INT'S EXHIBIT N0. 4 ADMITTRD)                      8       BY MR. RON MOORS:
   9          CROSS-EXAMINATION BY MR. MCKINNEY:                      9               Nothing further.
  to          Q    Ms, Palma r, after you were informed by the       io      8Y THE COURT:
  it               state department in Ralaigh that these            11               Thank you, Me. Palmer.      You may step down.
  12               documents that the Cherokee County Department     ~2      BY MR, RON MOORS:
  13               of Social Services had been using were not        la               Scott Lindsay, Your Honor.
  14               legally binding documents, did you notify --      x9      BY THE COORT:
  xs               did your department notify my client, Michael     is               Sheriff, if you will, bring Mr. Lindsay in.
  is               Mathieu, of such fact?                            x6               Before we proceed with Mr. Lindsay's
  17          A    We have not notified anyone at this point.       17                testimony, we'll take about a five-minute
  le          Q    And when did you find ouC that a CV1~ had been   18                break.
  19               used to close the Alana Roberts file?            19       BY MR. RON MOORS:
 20           A    I don'C specifically remember the date, but      Zo                Thank you, Your Honor.
 zl                Ms. Greenlee came Into the office to talk        21       (OFF THE RECORD)
 ZZ                about it after she had been contacted by t4s.    22       HY THE COURT;              -
 23                Jackson.    And that was the date that we had    23                I~m ready when you.:_re rea4ly.
 z4               the discussion with her, and I found out that     24       BY MR. RON MOORS:
 z5               it had been executod in Y.his case.               25                Yes, ma'am.     Judge~ one bit of housekeeping.


                                                        Page 188                                                            Page 189
  i               T asked Mr. Moo=e -- Ms. Palmor, I think, was      1       of his own knowledge concerning the within matCer,
  2               supposed to bring a list of names and -- Mr.       2       testified as follows:
  3               Moore indicates on a Plash drive that he's         3       DIRECT EXAMINATION BY MR. MOORS:
                  going to print off a copy and provide the          4       Q       Would you state your name for ---
  5               Court -- I'll get that on .the record.             5       A       My full name ie Ronnie Scott Lindsay.
  6       BY MR. DAVID MOORS:                                        6       Q       Mx. Lindsay, you were served a subpoena, and T
  ~               We w1.11 Vender those to the Court afCer the       ~               believe you brought some docpments to provide
  e               Court has signed that protective order for the     8               the Court concerning some CVAs that you -- you
  9               in camera ---                                      9               found?    Could you describe what you have
 10       gy THE COURT;                                             xo               brought before the Court?
 11               And it's already -- its already been signed.      ii       A       Approximately 30 custody visitation
 12       BY MR. DAVID MOORS:                                       12               agreements.    They're all blank.   They~re --
 13               We'l1 provide this to the Court, thank you,       13               none of them are signed.     They~re just what I
 1~       BY THE COURT:                                             14               had.
 15               Thank you, Mr. Moore.                             is       Q       Wera those copies of some that have been
 16       gy MR. RON MOORS:                                         16               s~gnedl
 17               And now We call Mr. Lindsay, Your Honor.          1T       A       I have no copies that have been signed.
 ie       gy THE COURT:                                             18       Q       No, I'm saying:    Ware.those copies of some
 19               All right, before Mr. Lindsay takes the stand,    19               that were actually signed?    Is that what
 20               I want to speak with counsel at the bench.        Zo               you're saying?
 zl               Juat -- Mr. Lindsay, just have a seat for just    21       A       I believe so, yes.
 22               a moment.                                         22       Q       nil right, and what time period?
 23       (BENCH CONFERENCE)                                        23       A       They would have been from July 1, 2014,
 24               SCOTT LINDSAY, being duly sworn to tell the       z4               through -- I'm not sure of the last date, but
 z5       truth, the whole truth, and nothing but the truth         25               my last date at DSS was January 10, 2018.


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      i            There axe none in here that were done in 2018.         1            services.
                   7'he last one mould have been done in lace             z       Q    And prior to Chat, you had worked past-time on
      3            2017.                                                  3            retainer on contract?
      4       ~Y MR. RON MOORE:                                           4       A    T was on retainer for the county and hourly
      5           And, Judqe, we would ask the Court to take              5            for the Department of Social Services.
      6           possession of those since they're -- they're            6    Q       In what time period did you do DS5 work?
      ~            the CVAs from -- that he has found.    I don't         ~    A       I'm not sure of the exact date, but it was
      e            kno4i if we should mark the exhibit -- I'll put        8            either late -- well, 1999, early 2000s,
      9           in here ---                                             g   Q        And turning your attention Lo -- and in this
  10       gy MR. MCKINNEY:                                           la               case, we're talking about the Greenlee case.
  it              i have no objection.                                it               Do you have some familiarity with that case?
  12       BY THE COURT:                                              12      A       Only that there's an agreement.     I don't know
  13              No objection?   Since I -- this would be also       13              the parties or the individuals involved in it.
  la              included into what I~11 make an in camera           1a      Q       All right, could you explain for us how the
  is              inspection on, I'm just going to include it in     15               CVA came into being at the Charokoe County
  16              Defendant's No. 3.                                 16               Department of Social Services?
  ~T       BY MR. RON MOORS:                                         17       A       Looking at it, it appears L-hat it was drafted
  1e              Thank you, Your Honor.                              1e              by a social worker supervisor.    It o+as -- the
  19       DIRECT EXAMINATION RESUMED BY MR. MOORS:                  19               normal course was they would have sent that to
 Z~       Q       And, Mr. Lindsay, could you for the record         Zo               me to review and make changes if necessary.
 21               state your place of employment prior to            Z1               After that, I didn't see the agreements again.
 22               January the 10th, 20187                            2z       Q       It would be aent to you by email?
 z3       n       From July 1, 2014, through January 10, 2018, I     23       A       For the -- yes.
 24               was full-time county atto=ney with duties          24       Q       Is that a DSS email that ---
 25               assigned Co represent the Department of Social     25       A       It was a county email system.


                                                         Page 192                                                             Page 193
  i       Q       So you just had one address?                        i       A       Whoever the supsrvisox was at that time.
  z       A       Yes.                                                2               Sometimes a social worker, but -- on this --
  3       Q       But you were also full-Cime county attorney?        3               on this particular case, I -- if I would have
  4       A       Xes,                                                4               spoke to anybody, i would have spoke, I think,
  5       Q       Now, what is the origin of the CVA agreement?       5               with navid Hughes who was the -- I don't know
  6               I mean not -- how did you develop it or -- you      6               if he was a supervisor at that time or not,
  ~               developed it, I take it1                            ~               but I would have spoke to him.
  8       A       Yeah, I was at a CLE and -- I'm not sure What       e       Q       What about Ms. Palmer?   Did you have
  9               the date was, but it would have been 2010 or        9               conversations with her about the CVAs7
 10               2007, porltaps earlier.   I just got a form or a   to       A       Only two.    Not this one.
 11               copy from another attorney, and we started         it       6Y MR. DAVID MOORS:
 lZ               using that --- or Y started using that.   And at   12               I'm not sure where attorney-client privilege
 13               some point -- and I'm not sure at what point -     13               comes in.    At some point in time, somebody is
 1~              - it was -- I gave the form or the form was         19               going to have to make an objection with his --
 is               taken by a supervisor or someone at DSS            15               as the attorney for the department, whether or
 16               because -- they had the form themselves            1s               not Ms. Palmer was the dixector at the time or
 17               because at some point they started sending         x~               not -- i don't know when and where, but I just
 le              forms to me with names and dates and --             le               had L•o say something for this proceeding.
 i9              already filled in.                                  19       BY THE WITNESS:
 zo       Q      And like -- in a case like the one in this          20               I did not have any diacusaion with Ms. Palmer
 zl              case, the Greenlee one, was there some              21               on this agreement.
 2z              discussion that you would have with the social      2z       DIRECT EXAMINATION RESUMED BY MR. MOORS:
 23              workers or supervisors or anybody about this?       23       Q       But to others ---
 24       A      On soma of them I did, yes.                         24       BY THE COURT:
 25       Q      Who would you talk to?                              zs               Move on.


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                                                           Page 194                                                         Page 195
      1       BY THE WITNESS:                                              1         who had been born o~iti~ symptoms of being
      z            Yes.                                                    2         addicted to drugs, and DSS opened a case and
      3       BY 'PHE COURT:                                               3         there was some indication in the file that
      4            Move on.                                                4         there might be a petition filed.     Ms. Greenlee
      S       DIRECT EXAMINATION RESUMED BY MR. MOORE:                     5         had done a custody ---
      6       Q    Now, did you at some point or different limes           6   BX THE COURT:
      ~            -- did you give, for lack of a better word,             ~         Ask a question, please, Mr. Moore.
      e            education about how to handle thesa CVAs or             8   DIRECT EXAMINATION RESUMED BY MR. MOORS:
   9               how to address people caho wanted them or how           9   Q     Why in a case like the Gzeenlee case would the
  to               to effectuate them?                                 10           department not file a petition?
  11      A        To whom?     To ---                                 ~~      A    I don't know.
  12      Q        To the people that worked with you.                 xz      BY MR. llAViD MOORS:
  13      p        I don't have -- I don't have a recollection of      13           2 don't when ---
  14              a specific gathering of people where Mre             14      6Y THE COURT:
  15               talked.     47e did talk at some point in cPS       15           Okay.
  1s              staffings which took place usually on a weekly       16      BY MR. DAVID MOORS:
  i~               basis, most of wh3.ch I attended, some which I      17           I am -- on behalf of the department, 2'm
 1e               did not.     sometimes the information came that     1e           involving attorney-client privilege in this
  ~9               the folks didn't want to sign or had                L9           specific case with this individual.
 Z~               questions.     My advice was they needed to         20       BY THE COURT:
 77               contact an attorney.      I would not speak with    21            I need to see counsel at the bench.     Mr.
 ZZ               them.   I could not speak with them or advise       ZZ            Lindsay, step down.    No, I cant to see you in
 23               them.   They needed to qet an attorney if they      ?3            chambers.
 24               had questions.                                      24       BY THE WITNESS:
 25       Q       Now, in the Greenlee case, there was a baby         ZS            Does that mean I can shay?


                                                          Page 196                                                         Page 197
  i       (oE'F THE RECORD)                                            1       Q    Personal computer?
  Z       BY THE COURT:                                                Z       A    Yeah.
  3               After conferring with counsel in chambers, I         3       Q    Sir?
  A               will put on the record the Court has in the          <       A    The county computer which I was assigned was
  5               Court's possession the documents that Mr.            5            subsequently -- I am in the process of
  6               Lindsay was asked by subpoena to bring Eor the       6            purchasing from the county, but it's there.
  ~               Court to look at for in camera review as well        ~       aY MR. RON MOORS:
  B               as the documents that were provided by Mc.           8            Thank you, sir.    No further questions, Your
  9               Hughas from the Department of Social Services.       9            Hono=.
 10               Th6 Court lrtfOrmOd counsel that we Would           1~       BY THE COURT:
 11               continue L•he questioning with Mr, Lindsay in       xl            Mr. McKinney, do you have questions?
 12               specifics to the case before the Court today        12       BY MR. MCKINNBY:
 13               and no othex proposition.      Are there any        13            I have no questions.
 14               further questions, Mr. Moore?                       11       BY THE COURT;
 15       gy MR. RON MOORS:'                                          15            All right, Mr. Lindsay, you may step down.      Do
 is               i have one question, Your Honor.                    16            you have any ocher questions?
 1T       BY THE COURT;                                               17       BY MR. RON MOORS:
 le               Yes, sir.                                           1B            No, ma~am.
 i9       bIRECT BXAMZNATION RESUMED BY MR. MOORS:                    19       BY THE COURT:
 Zo       Q       The CVAs that ypu brought today and turned in       20            Any further evidence, Mr. Moore?
 Zi               to the judge, did that Pile include the CVA in      21       BY MR. RON MOORS:
 ZZ               the Greenlee case?                                  22            No, ma'am.
 23       A       Tt does.                                            23       BY THE COURT:
 2~       Q       Where did you find that?                            Z+           Any further evidence, rebuttal't
 z5       A       It was -- the form, it was on my compul:er.         25       BY MR. MCKINNEY:


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      1    ~        No, Your Honor.                                          1    BY MR. RON MOORE:
      Z        BY THE COURT:                                                 z         WLich ---
      3             Z have a number oP documents that I'm going to           3    F3Y THE COURT:
      4             have to make an in camera inspection of.                 4         DSS records that I have.
      5             Procedure for time purposes, iL you all mill             5    BY MR. RON MOORE:
      6             approach.                                                6         What about ---
      ~~       (BENCH CONFERENCE)                                            ~   9Y THE COURT:
      8        BY THE COURT:                                                 e         Well, I'm going to make an in camera
      9             All right, we're going to 6e at ease until               9         inspection of these in the back.
  ~a                about 9:30 so that the Court can review any          10      BY MR. RON MOORE:
  11                documentation that's been presented.                 li            47e need to get ---
  12           6Y MR. RON tQ00RE:                                        ~Z       BY MR. WIJEWTCKRAMA:
  la                Judge, Ms. Jackson went Lo see if she could          i~            Your Honor, sae have one other issue.    Your
  14                make a copy of the list of ---                       14            Honor, if we're on the record, may we please
  15           BY TlfE COURT:                                            15            be allowed to dismiss the witnesses?
  16                That fine.      Somebody can bring it to me in       ib      BY THE COURT:
 i?                 chambers.                                           17             You may.
 le            gy MR. RON MOORE:                                        is       BY MR. WIJEWICKRAMA:
 19                 Thank you, Your Honor.                              19             Thank you.
 2~            BY MR. DAVID MOORE:                                      Zo       (OFF THE RECORD)
 2~                 Your Honor, unless you need me any further,         21       BY MR. MCKINNEY:
 2z                 may I be excused?                                   22             Your Honor, the parties have enterod f.nto a
 23            BY THE COURT:                                            23            temporary custody arrangement in this case by
 2A                 You may.    Mr. MoorQ, will there be somebody       24            memorandum of judgment.     The parties have
 z5                 here for these records?                             25            signad it along with counsels.      The substance


                                                            Page 200                                                        Page 201
  1                 of the agreement is Plaintiff shall have             3            That is correct, Your Honor,     I have signed.
  2                 temporary custody of the minor child, Alana          2            My client has signed as well.
  3                Roberta, subject to temporary visitation              3       BY THE COURT:
  a                 righCs of the defendant for seven hours each         4            And, Mr. McKinney, you and your cliont have
  5                Sunday for the next three months.      The            5            signed as well?
  6                defendant's visitation shall be supervised by         6       BY MR. MCKINNEY:
  ~                the defendants grandmother at the home of the         ~            Yes.
  B                grandmother.      This matter shall be reviewed at    B       BX THE COURT:
  9                the next session of district court after June         9            And Mr. McKinney, will you be typSnq this up
 la                1, 2018,     All the defendant's visitation under    z0            inYo a formal ---
 ii                this order is conCingent on the defendant            11       BY Mx. MCKINNEY:
 12                submitting to a five-panel urine and hair drug       12            Yes, Your Honor.
 13                screen and the results being negative for the        13       SY THE COURT:
 3~                presence of illegal drugs £or drugs for which        1/            --- judgment to present back to Ms. Jackson --
 15                the defendant does not have a prescription.          is
 1s                The parties waive child custody mediation.           16       BY MR. MCKINNBY:
 17                The defendant shall submit to the drug test          17            Yes, Your Honox.
 le                within seven days of the execution of this           le       BY THE COURT:
 19                memorandum of judgment at Alpha Drug Testing         19            --- in reference to this case?
 20                in Blairsville, Georgia.      The teat shall be      20       BY MR. MCKINNEY;
 21                paid fox by the plaintiff, and the results           Zi           I will.
 2z                shall be sent to counsel for the plaintiff and       22       BY THE COURT:
 z3                the defendant.      That's the substance of that -   z3            Ms. Jackson, I believe Lhat that only loaves
 2+                --                                                   2+           left for the Court to make the determination
 25        BY MS. JACKSON:                                              25           ~.n the declaratory 3udgmont ---


                                                                                                         51 (Pages 198 to 201}

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                                                       Page ?_02                                                       Page 203
      1    BY MS. JACKSON:                                          1         feels that .it o-~ould be premature to make a
      z         Correct, Your. Honor.                               2         decision on dither one of those matters.
      3    BY Tf1E COURT:                                           3         There's a number. oP documents iaithin
      ~         --- as well as the issue for. the designation       4         Defendant's No. 3 that has information Chat
      5         of a 2.1 fudge?                                     5         can't be provided to the parties because it
      6    BY MS. JACKSON:                                          6         will need to be redacted under the protective
      ~         That is correct, Your Ffonor.                       ~         order. and under statute, as well as thore were
      8    BY THE COURT:                                            e         a number of proposed CVAs that Attorney Scott
      9         At present, the Court is going to take both of      9         Lindsay presented to the Court today due to
  ~0            those matters under advisement and will be         to         subpoena, and the Court needs to make further
  11            presenting an order to the parties.                it         inquiry of the documentation that was
  12      gy ~qS. JACjCSON:                                        1z         presented here today before making a final
  13            Do you want to hear arguments?                     13         judgment in reference to those two particular
  14      AY THE COURT:                                            14         prongs that are still outstanding as
 15             Doos anyone want to heat -- does anyone Want       15         counterclaims.   Anything further for the
 lc             to put anything in particular on the record in     16         parties?
 ~~             reference to those mahlers?                        17    BY MS. JACKSON:
 1a       gy MR. RON MOORE:                                        18         Your Honor, my only other request would be --
 19            I don't think so.                                   19         or a question rather to the Court:       Is a copy
 20       DY THE COURT:                                            20         of thoso CVAs going to be pzovided to counselY
 ?1            After -- after the Court had the opportunity        21   BY THE COURT:
 22            for about a 45-minute break to review               z2         The clerk is in the -- tho clerk ie making
 23             Aefendant's No. 3, I did not get the               23         copies of those right now.    it is my
 z4            opportunity to review all of those records          24         understanding that Mr. Lindsay complied with
 ~5            within its entirety.     Therefore, the Court       ?5         the subpoena Coday.   So those will ba



                                                       Page 204                                                       Page 205
  ~            prasented heze shortly.                                                                                     205
                                                                                            CERTIFICATE
  Z       BY MS. JACKSON:
  3            Thank you, Your Honor.    You~re going to take                Z, Mai-Beth Ketch, CVR-M, CCR, Couxt Reporter

  ~            that under advisemanC on those?                          and Notary eublic, do hereby ceztify that the
  5       BY THE COURT:
                                                                        Foregoing is an accurate transcript, taken by me
  6            No, this is the other one.
                                                                        and ~ranacribed under my supezviaion.
  ~       BY MS. JACKSON:
  8            Okay, okay.                                                   I further certify that I am not financially

  9       BY MR. MCKINNEY:                                              interested in the outcome of this action, a
 to            Thank you, Your Honor.
                                                                        relative, employee, attorney or counsel of any of
 11       gy THE COURT:
                                                                        the parties, nor am I a relative or employee of
 12            This was the preliminary order.    Mr. Mathieu.
 13       gy MR. MATHIEU:                                               such attorney or counsel.
 14            Yes?                                                          This is the 7th day .of March, 2018.
 15       BY THE COURT:
 16            Good luck to you, sir.
 17       BY MR. MATHTEU:                                                         MAI-BETH KETCN~ CVR-M, CCR
 le            Thank you, Your Honor, I appreciate it.
                                                                                  Notary Public No.: 19981410006
 1s       gy THE COUR'P:
                                                                        (The foregoing certification of this transcript
 Zo            Ma. Greenlee ---
                                                                        does not apply to any reproduction of the same by
 21       BY M5. JRCKSON:                                               any means, unless under the direct control and/or
                                                                        supervision o£ the certifying reporter.)
 z2            Your Honor, Ma. Greenlee only had one ride and
 23            that ride was not able to stay.    So she had to
 24            step out.                                                          Asheville Reporting Secvlce
 25       (PROCEEDINGS WRRE CONCLUDED AT 5:08 P.M.)                         ill McDowell Street, nsheville, NC 28801
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